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    1.2. Summary of opinions

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FOHDUIDFWDERXW+DUYDUG¶VDGPLVVLRQVSURFHVVDQGDVVHUWV²FRQWUDU\WRWKHIDFWV²WKDWKLVPRGHOLV
VXIILFLHQWO\UREXVWWRUHOLDEO\PHDVXUHUDFLDO³ELDV´LQWKHSHUVRQDOUDWLQJ$PRUHREMHFWLYH
LQWHUSUHWDWLRQRI3URI$UFLGLDFRQR¶VSHUVRQDOUDWLQJVPRGHOLVWKDWLWLVQRWFDSDEOHRIUHOLDEO\
GHWHUPLQLQJZKHWKHUWKHSHUVRQDOUDWLQJLVLQIDFW³ELDVHG´RUZKHWKHUKLVPRGHOLVVLPSO\PLVVLQJ
FULWLFDODVSHFWVRIWKHDGPLVVLRQVSURFHVV HJWKHSHUVRQDOHVVD\DQGRWKHUUHODWHGLQIRUPDWLRQ WKDW
FRXOGH[SODLQWKHGLIIHUHQFHVLQSHUVRQDOUDWLQJVLIDYDLODEOH$V,H[SODLQHGLQP\ILUVWUHSRUWWKLVLV
DYHU\VWDQGDUG³RPLWWHGYDULDEOHELDV´SUREOHPWKDWDULVHVLQVWDWLVWLFDOPRGHOLQJZKHUHNH\SLHFHVRI
LQIRUPDWLRQDUHQRWLQFOXGHGLQWKHPRGHO

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SURYLGHVHYLGHQFHRIUDFLDO³ELDV´LVWKDWKHUHDFKHVWKHRSSRVLWHFRQFOXVLRQZLWKUHJDUGWRWKH
GLIIHUHQFHVKHILQGVLQIDYRURI$VLDQ$PHULFDQDSSOLFDQWVLQKLVDFDGHPLFDQGH[WUDFXUULFXODUUDWLQJV
PRGHOV6SHFLILFDOO\LQKLVUHEXWWDO3URI$UFLGLDFRQRDUJXHVWKDWWKHSRVLWLYHELDVLQIDYRURI$VLDQ
$PHULFDQDSSOLFDQWVWKDWKHILQGVLQKLVDFDGHPLFDQGH[WUDFXUULFXODUUDWLQJVPRGHOVUHIOHFWVQRWKLQJ
PRUHWKDQ$VLDQ$PHULFDQDSSOLFDQWVEHLQJ³VWURQJHURQXQREVHUYDEOHFKDUDFWHULVWLFV´WKDWDUH
PLVVLQJIURPKLVPRGHOV7KLVRIFRXUVHLVWKHH[DFWH[SODQDWLRQKHUHMHFWVZKHQLQWHUSUHWLQJWKH
QHJDWLYHXQH[SODLQHGJDSEHWZHHQ$VLDQ$PHULFDQDQG:KLWHDSSOLFDQWVLQWKHSHUVRQDOUDWLQJVDV
UDFLDO³ELDV´HYHQWKRXJK DV,VKRZLQP\ILUVWUHSRUW $VLDQ$PHULFDQDSSOLFDQWVDUHOHVVVWURQJRQ
DYHUDJHRQWKHQRQDFDGHPLFGLPHQVLRQV+DUYDUGHYDOXDWHV)RUH[DPSOHDV,VKRZEHORZ:KLWH
DSSOLFDQWVDUHPRUHOLNHO\WKDQ$VLDQ$PHULFDQDSSOLFDQWVWRKDYHVWURQJVFRUHVDFURVVWKHWKUHH
UDWLQJVWKDW+DUYDUG¶VLQWHUYLHZHUKDQGERRNLGHQWLILHVDVDPRQJWKHLPSRUWDQWLQSXWVWRWKHSHUVRQDO
UDWLQJ²WKHWHDFKHUUDWLQJWKHJXLGDQFHFRXQVHORUUDWLQJDQGWKHDOXPQLUDWLQJ:KLWHDSSOLFDQWVDUH
DOVRPRUHOLNHO\WRKDYHVWURQJVFRUHVDFURVVWKHWKUHHQRQDFDGHPLFSURILOHUDWLQJV H[WUDFXUULFXODU
DWKOHWLFDQGSHUVRQDO 

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College (Harvard Corporation)-DQXDU\ ³$UFLGLDFRQR5HEXWWDO´ S

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+DUYDUGLVELDVHGagainst$VLDQ$PHULFDQDSSOLFDQWVRQWKHSHUVRQDOUDWLQJDQGELDVHG in favorRI
$VLDQ$PHULFDQDSSOLFDQWVRQWKHDFDGHPLFDQGH[WUDFXUULFXODUUDWLQJVRUKLVUDWLQJVUHJUHVVLRQV
UHIOHFWPLVVLQJIDFWRUVWKDWDUHKDUGWRPHDVXUH±DVKHDVVHUWVDERXWWKHDFDGHPLFDQGH[WUDFXUULFXODU
UDWLQJV7KHIDFWWKDWWKHVLQJOHUDWLQJWKDW3URI$UFLGLDFRQRFRQFOXGHVLV³ELDVHG´LVWKHUDWLQJ
ZKHUHRQDYHUDJH$VLDQ$PHULFDQDSSOLFDQWVIDUHVOLJKWO\OHVVZHOOWKDQRWKHUJURXSVPDNHVFOHDU
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H[FOXGHWKHSHUVRQDOUDWLQJIURPKLVRYHUDOODGPLVVLRQVPRGHOLVHYHQPRUHSUREOHPDWLFZKHQZH
FRQVLGHUWKDWGRFXPHQWVIURP+DUYDUG¶V$GPLVVLRQV2IILFHLGHQWLI\³XQXVXDOO\DSSHDOLQJSHUVRQDO
TXDOLWLHV´DQG³RXWVWDQGLQJFDSDFLW\IRUOHDGHUVKLS´DVWZRW\SHVRIGLVWLQJXLVKLQJH[FHOOHQFH
+DUYDUGVHHNVDQGWKDWWKHSHUVRQDOUDWLQJLVWKHPRVWUHOHYDQWSLHFHRIDYDLODEOHGDWDWKDWFDSWXUHV
VXFKIDFWRUV$VVXPPDUL]HGLQP\ILUVWUHSRUW+DUYDUG¶VWUDLQLQJPDWHULDOVIRUDGPLVVLRQVRIILFHUV
SURYLGHQXPHURXVWDQJLEOHH[DPSOHVRIWKHLPSRUWDQFHSODFHGRQSHUVRQDOTXDOLWLHVLQHYDOXDWLRQVRI
LQGLYLGXDOFDQGLGDWHV<HW3URI$UFLGLDFRQRH[FOXGHVWKHSHUVRQDOUDWLQJZLWKRXWSURYLGLQJDQ\
REMHFWLYHHYLGHQFHRIELDVDQGDVVHUWVWKDWKLVPRGHOZLWKRXWWKHSHUVRQDOUDWLQJLVPRUHUHOLDEOHWKDQ
RQHWKDWLQFOXGHVLW1HLWKHUFKRLFHLVGHIHQVLEOH

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LQWKHDGPLVVLRQVPRGHOLVIODZHGEHFDXVHWKHUHLV³QRHYLGHQFHLQWKHUHFRUGVWKDW+DUYDUG¶V
DGPLVVLRQVRIILFHFRQVLGHUVSDUHQWDORFFXSDWLRQLPSRUWDQWDVLGHIURPLWVYDOXHDVDPHDVXUHRI6(6´
DQGEHFDXVHLWDOOHJHGO\³RVFLOODWHVZLOGO\IURP\HDUWR\HDU´$V,H[SODLQLQ6HFWLRQEHORZ
GHSRVLWLRQWHVWLPRQ\DQGRWKHUHYLGHQFHLQWKHUHFRUGLQGLFDWHWKDWSDUHQWDORFFXSDWLRQLVDQ
LPSRUWDQWSLHFHRILQIRUPDWLRQWKDW+DUYDUGDGPLVVLRQVRIILFHUVFRQVLGHUZKHQUHDGLQJDSSOLFDWLRQV
DQGGLVFXVVLQJFDQGLGDWHVDWDGPLVVLRQVPHHWLQJV)XUWKHURIWKHDYDLODEOHYDULDEOHVWKDWUHIOHFW
VRFLRHFRQRPLFVWDWXVLQ+DUYDUG¶VGDWDLWFRQWDLQVWKHPRVWGHWDLOHGLQIRUPDWLRQ7KHUHLVVLPSO\QR
EDVLVIRUH[FOXGLQJDQLPSRUWDQWSLHFHRILQIRUPDWLRQWKDW+DUYDUGFRQVLGHUVLQLWVSURFHVV3URI
$UFLGLDFRQRDOVRRYHUVWDWHVWKH\HDUWR\HDUIOXFWXDWLRQVLQWKHRFFXSDWLRQGDWD,UHO\RQDQGIDLOVWR
UHFRJQL]HWKDW\HDUWR\HDUIOXFWXDWLRQVDUHQRWRIFRQFHUQVRORQJDVWKHPRGHODOORZVWKHHIIHFWRI
SDUHQWDORFFXSDWLRQWRYDU\IURPRQH\HDUWRWKHQH[W DVPLQHGRHV 7KHUHLVQRREMHFWLYH
MXVWLILFDWLRQIRUH[FOXGLQJWKLVLPSRUWDQWLQIRUPDWLRQIURPWKHPRGHO3URI$UFLGLDFRQR¶V
PHWKRGRORJLFDOPRWLYDWLRQDSSHDUVWREHWKDWH[FOXGLQJSDUHQWDORFFXSDWLRQVXEVWDQWLDOO\LQFUHDVHV
WKHDOOHJHGGLVSDULW\EHWZHHQ$VLDQ$PHULFDQDSSOLFDQWVDQG:KLWHDSSOLFDQWV$V,H[SODLQLQ
6HFWLRQ3URI$UFLGLDFRQRDSSOLHVVLPLODUO\IODZHGUHDVRQLQJLQDUJXLQJWKDWVWDIILQWHUYLHZ
UDWLQJVDQGWKHDSSOLFDQW¶VLQWHQGHGFDUHHU²WZRYDULDEOHVWKDW+DUYDUGXVHVLQLWVSURFHVV²VKRXOG
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$UFLGLDFRQR¶VDQDO\VLVZKLFKDOVRVWHPIURPKLVDSSDUHQWPLVXQGHUVWDQGLQJRIKRZ+DUYDUG¶V
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DGPLVVLRQVSURFHVVZRUNV)LUVW3URI$UFLGLDFRQRFRQWLQXHVWRSRRODOOWKHDSSOLFDQWVZKRDSSO\LQ
GLIIHUHQW\HDUVLQWRDVLQJOHUHJUHVVLRQPRGHOHYHQWKRXJK+DUYDUG¶VDGPLVVLRQVSURFHVVLVGLVWLQFWLQ
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DVVXPSWLRQWKDWDSSOLFDQWVIURPWKHFODVVRIIRUH[DPSOHDUHFRPSHWLQJIRUVORWVZLWK
DSSOLFDQWVIURPWKHFODVVRI7KHUHLVVLPSO\QRHYLGHQWLDU\RUORJLFDOGHIHQVHIRUVXFKDQ
DVVXPSWLRQ7KHRQO\FUHGLEOHPHWKRGRORJLFDOUHDVRQ3URI$UFLGLDFRQRRIIHUVIRUSRROLQJWRJHWKHU
DSSOLFDQWVIURPVL[GLIIHUHQWFODVVHVLQWRDVLQJOHPRGHOLVWKDWHVWLPDWLQJDVHSDUDWHPRGHOIRUHDFK
VHSDUDWH\HDURIDSSOLFDQWV³UHGXFHVWKHVWDWLVWLFDOSRZHURIWKHVDPSOH´$V,H[SODLQHGLQP\ILUVW
UHSRUWDQGDJDLQEHORZE\HVWLPDWLQJDVHSDUDWHPRGHOIRUHDFKFODVVRIDSSOLFDQWVDQGWKHQWDNLQJ
WKHDYHUDJHRIWKHUHOHYDQWUHVXOWVDFURVVDOO\HDUVRIGDWD,UHVROYHWKLVSUREOHPZLWKQRUHGXFWLRQLQ
WKHVWDWLVWLFDOSRZHURIWKHVDPSOH,QIDFWWKHVWDWLVWLFDOSRZHURIP\PRGHO²DVVXPPDUL]HGE\WKH
SUHFLVLRQRIWKHHVWLPDWHGDYHUDJHPDUJLQDOHIIHFWRI$VLDQ$PHULFDQHWKQLFLW\²LVDFWXDOO\VOLJKWO\
KLJKHUWKDQWKDWRI3URI$UFLGLDFRQR¶VSRROHGPRGHO

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 HJUHFUXLWHGDWKOHWHVOLQHDJHDSSOLFDQWV VKRXOGEHH[FOXGHGIURPWKHDGPLVVLRQVPRGHOEHFDXVH
+DUYDUGDOOHJHGO\FRQGXFWVD³VSHFLDO´DGPLVVLRQVSURFHVVIRUVXFKFDQGLGDWHV$V,H[SODLQLQ
6HFWLRQ,KDYHVHHQQRHYLGHQFHWKDW+DUYDUGFRQGXFWVDVHSDUDWHDGPLVVLRQVSURFHVVIRUVXFK
FDQGLGDWHVQRUKDV3URI$UFLGLDFRQRSUHVHQWHGDQ\VXFKHYLGHQFH:KLOHLWLVWUXHWKDW+DUYDUGJLYHV
D³WLS´LQLWVDGPLVVLRQVSURFHVVWRFDQGLGDWHVZKRKDYHFHUWDLQFKDUDFWHULVWLFVWKDW³WLS´LQQRZD\
JXDUDQWHHVWKHLUDGPLVVLRQQRUGRHVLWUHPRYHWKHQHHGIRUVXFKFDQGLGDWHVWRSRVVHVVRWKHU
FKDUDFWHULVWLFVYDOXHGE\+DUYDUG)RUH[DPSOHDV,VKRZEHORZHYHQDPRQJFDQGLGDWHVZKR
SRVVHVVWKH³VSHFLDO´FKDUDFWHULVWLFVWKHVXEVHWZKRDUHXOWLPDWHO\DGPLWWHGDUHWKHRQHVZKRSRVVHVV
PDQ\RWKHUFKDUDFWHULVWLFV+DUYDUGYDOXHV)XUWKHUP\DGPLVVLRQVPRGHOVKRZVWKDWVXFKFDQGLGDWHV
KDYHVWURQJHURYHUDOOSURILOHVDQGPRUHYDOXHGFKDUDFWHULVWLFVWKDQRWKHUDSSOLFDQWVHYHQZKHQWKHLU
³WLS´LVUHPRYHG,QRWKHUZRUGVQRDSSOLFDQWLVJXDUDQWHHGDGPLVVLRQVLPSO\EDVHGRQRQHWUDLW²
HYHU\DSSOLFDQWVWLOOKDVWRFRPSHWHZLWKWKHODUJHUSRRORQRWKHUGLPHQVLRQV$VZLWKWKHLVVXHV
GLVFXVVHGDERYH3URI$UFLGLDFRQR¶VGHFLVLRQWRH[FOXGHWKHVHFDQGLGDWHVIURPKLVPRGHOLVQRW
FRQVLVWHQWZLWKKRZWKHDGPLVVLRQVSURFHVVZRUNVDQGUHPRYHVLPSRUWDQWLQIRUPDWLRQIURPKLV
PRGHOWKDWKHOSVTXDQWLI\KRZ+DUYDUGPDNHVGHFLVLRQVDFURVVWKHPDQ\FKDUDFWHULVWLFVLWYDOXHV

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LQFOXGHGLQP\DGPLVVLRQVPRGHO,FRQWLQXHWRILQGQRHYLGHQFHRIELDVDJDLQVW$VLDQ$PHULFDQ
DSSOLFDQWV,QGHHGP\PRGHOVKRZVQRHYLGHQFHRIELDVHYHQZKHQ,LQFRUSRUDWHWKHYDULRXV
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PDWWHU,GLVFXVVWKHLPSODXVLELOLW\RIVXFKDWKHRU\RIGLVFULPLQDWLRQ:KDWLVWKHEDVLVRI3URI
$UFLGLDFRQR¶VQHZFODLP":KDWHYLGHQFHLQWKHUHFRUGVXSSRUWVLW":K\ZRXOG+DUYDUGSXUVXHVXFK
DFRPSOH[IRUPRIGLVFULPLQDWLRQ"3URI$UFLGLDFRQRGRHVQRWSURYLGHDQVZHUVWRWKHVHTXHVWLRQV

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LVHYLGHQFHRIDpositive WKRXJKVWDWLVWLFDOO\LQVLJQLILFDQW HVWLPDWHGHIIHFWRI$VLDQ$PHULFDQ
HWKQLFLW\IRUWZRODUJHVXEJURXSV$VLDQ$PHULFDQZRPHQDQG$VLDQ$PHULFDQDSSOLFDQWVIURP
&DOLIRUQLDFRQWLQXHWRKROGHYHQDIWHU,PDNHPRGLILFDWLRQVWRDGGUHVV3URI$UFLGLDFRQR¶V
FULWLFLVPV7KHVHODUJHVXEJURXSVDFFRXQWIRUQHDUO\WZRWKLUGVRI$VLDQ$PHULFDQDSSOLFDQWV$V,
GLVFXVVHGLQP\ILUVWUHSRUWWKLVILQGLQJVWURQJO\VXSSRUWVP\EURDGHUSRLQWWKDWWKHXQH[SODLQHGJDSV
LQDGPLVVLRQUDWHVEHWZHHQ$VLDQ$PHULFDQDQG:KLWHDSSOLFDQWVDUHEHVWLQWHUSUHWHGDVUHIOHFWLQJ
GLIIHUHQFHVLQFKDUDFWHULVWLFVWKDWDUHQRWSHUIHFWO\PHDVXUHGE\WKHDGPLVVLRQVGDWDUDWKHUWKDQUDFLDO
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DGPLVVLRQVSURFHVV,QKLVUHEXWWDO3URI$UFLGLDFRQRRSLQHVWKDWLWLV+LVRSLQLRQLVSUHGRPLQDQWO\
GULYHQE\WKHUHODWLYHO\ODUJHHIIHFWRIUDFHIRUWKHVXEVHWRIFRPSHWLWLYH$IULFDQ$PHULFDQDQG
+LVSDQLFFDQGLGDWHV7KLVHIIHFWLVQRWDQHZILQGLQJ,GLVFXVVHGLWLQP\LQLWLDOUHSRUW:KDW,VKRZ
EHORZKRZHYHULVWKDWWKHPDJQLWXGHRIWKLVHIIHFWLVQRWXQLTXHWRUDFHDQGWKXVFDQQRWVXSSRUWWKH
LQIHUHQFHWKDWUDFHLVDGHWHUPLQDWLYHIDFWRULQWKHDGPLVVLRQVSURFHVV0RUHVSHFLILFDOO\ZKDWZHVHH
LQWKHGDWDLVWKDWIRUDQ\FDQGLGDWHZKRKDVDUHODWLYHO\VWURQJSURILOHWKHLQFUHPHQWDOPDUJLQDO
HIIHFWRIDGGLQJanyDGGLWLRQDOYDOXHGFKDUDFWHULVWLFWRKLVRUKHUSURILOH²HJDVWURQJDFDGHPLFRU
H[WUDFXUULFXODURUSHUVRQDOSURILOHUDWLQJ²FDQEHUHODWLYHO\ODUJHDQGLQVRPHFDVHVODUJHUWKDQWKH
HIIHFWRIUDFH7KLVSDWWHUQLVH[DFWO\ZKDWZRXOGEHH[SHFWHGJLYHQ+DUYDUG¶VZKROHSHUVRQ
DGPLVVLRQVSURFHVV,QRUGHUWREHDGPLWWHGIURPWKHKLJKO\FRPSHWLWLYHDSSOLFDQWSRRODW+DUYDUG
DQ\FDQGLGDWHPXVWKDYHmultipleDUHDVRIVWUHQJWKLQKLVRUKHUSURILOHZKLFKPHDQVWKDWFKDQJLQJ
DQ\VLQJOHFKDUDFWHULVWLFRIDFDQGLGDWHZKRLVRWKHUZLVHDOUHDG\FRPSHWLWLYHFDQVXEVWDQWLDOO\UDLVH
KLVRUKHUFKDQFHRIEHLQJDGPLWWHG,PSRUWDQWO\WKLVIHDWXUHRIWKHSURFHVVGRHVQRWLPSO\WKDWDQ\
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RSSRVLWH:LWKRXWEHLQJVWURQJRQPXOWLSOHGLPHQVLRQVYDOXHGE\+DUYDUGDFDQGLGDWHKDVOLWWOH
FKDQFHRIDGPLVVLRQ7KLVLVFOHDUO\HYLGHQWIURPWKHODUJHIUDFWLRQRI$IULFDQ$PHULFDQDQG
+LVSDQLFDSSOLFDQWVZKRDUHUHMHFWHGLQWKHDGPLVVLRQVSURFHVV2QO\ZKHQDFDQGLGDWHUHDFKHVD
FHUWDLQOHYHORIRYHUDOOVWUHQJWKFDQDQ\DGGLWLRQDOFKDUDFWHULVWLFKHOSKLVRUKHUFDQGLGDF\
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LQWKHGDWDWKDW3URI$UFLGLDFRQRFODLPVDVHYLGHQFHRIPDQLSXODWLRQFRXOGEHH[SODLQHGE\FKDQFH
$V,GLVFXVVLQ6HFWLRQEHORZJLYHQWKDW+DUYDUGKDVXVHGDWOHDVWWKUHHGLIIHUHQWFODVVLILFDWLRQVRI
UDFH 1HZ0HWKRGRORJ\2OG0HWKRGRORJ\,3('6 GXULQJWKHSHULRGLQTXHVWLRQDQGWKDWHDFK
FODVVLILFDWLRQLQFOXGHVPXOWLSOHUDFLDOJURXSVDILQGLQJWKDWWKHDGPLVVLRQUDWHIRUDUDFLDOVXEJURXSLV
FORVHWRWKHRYHUDOODGPLVVLRQUDWHLVQRWDVXQXVXDODV3URI$UFLGLDFRQRZRXOGKDYHRQHEHOLHYH
)LQDOO\DV,QRWHGLQP\ILUVWUHSRUWLI+DUYDUGKDGLQIDFWLPSRVHGDIORRURQ$IULFDQ$PHULFDQ
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UDFHQHXWUDODOWHUQDWLYHVDUHDYLDEOHZD\IRU+DUYDUGWRDFKLHYHLWVGLYHUVLW\JRDOVZKLOHDOVR
PDLQWDLQLQJWKHRYHUDOOTXDOLW\RILWVVWXGHQWERG\$V,VKRZEHORZWKHWZRDGGLWLRQDOUDFHQHXWUDO
DOWHUQDWLYHV0U.DKOHQEHUJSUHVHQWVLQKLVUHEXWWDOGRQRWDOORZ+DUYDUGHLWKHUWRDFKLHYHLWV
GLYHUVLW\JRDOVRUWRPDLQWDLQWKHRYHUDOOTXDOLW\RIWKHVWXGHQWERG\%RWKDOWHUQDWLYHVJHQHUDWHD
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OLWHUDWXUHKDVHVWDEOLVKHGWKDWUDFHQHXWUDODOWHUQDWLYHVFDQDFKLHYHUDFLDOGLYHUVLW\DWVHOHFWLYH
LQVWLWXWLRQVRQO\DWDFRVWWRWKHTXDOLW\RIWKHDGPLWWHGFODVV1RQHRIWKHDQDO\VHV0U.DKOHQEHUJ
SUHVHQWVLQKLVUHEXWWDOFKDQJHVWKHFHQWUDOILQGLQJRIP\ILUVWUHSRUWWKHRYHUDOOSURILOHRIWKHVWXGHQW
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7KLVDVVHVVPHQWLVQHFHVVDU\WRHQVXUHWKDWP\PRGHOFDSWXUHVDVPXFKLQIRUPDWLRQDVSRVVLEOHWKDW
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    2.1. Harvard’s admissions process seeks to find candidates with “distinguishing excellences” across
    a variety of dimensions, not just academic achievement

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WUDGLWLRQDODFDGHPLFDFKLHYHPHQWVOLNHKLJKWHVWVFRUHVDQG*3$VDUHVRPHRIWKHPRVWDEXQGDQW
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Academic excellence is abundant in Harvard’s applicant pool




Source: Arcidiacono Data

Note: Data are from applicants to the class of 2019 in Prof. Arcidiacono’s original expanded sample including athletes. Harvard converts
applicant GPAs to a 35-80 scale.



       2.2. Harvard’s admissions process collects a lot of information on non-academic performance

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                       VXEFRPPLWWHHIRUWKDWGRFNHWPHHWVWRGLVFXVVWKHDSSOLFDWLRQV0\
                       XQGHUVWDQGLQJLVWKDWGXULQJWKLVSURFHVVWKHILUVWUHDGHUVXPPDUL]HVWKH
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                      TXDOLWLHVDUHOHVVFRPPRQLQWKHDSSOLFDQWSRROWKDQH[FHSWLRQDO
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      2.3. Asian-American and White applicants possess different qualifications and backgrounds, on
      average, across a variety of dimensions

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White and Asian-American applicants excel in different dimensions




Source: Arcidiacono Data

Note: Data are from applicants to the classes of 2014 – 2019 in Prof. Arcidiacono’s original expanded sample including athletes. Ratings of
2- and above are considered “2 or Better” in this analysis. +/- rating designations were introduced beginning with the class of 2019.



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For a given academic rating, White applicants tend to have better non-academic ratings than
Asian-American applicants




Source: Arcidiacono Data

Note: Data are from applicants to the classes of 2014 – 2019 in Prof. Arcidiacono’s original expanded sample including athletes.



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      3.1. The personal rating is an important factor in admissions decisions, and excluding it from the
      admissions model is not justified

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            3.1.1. Prof. Arcidiacono’s personal ratings regression is missing critical information

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FRQWDLQVWZRUHFRPPHQGDWLRQVIURPWHDFKHUV DW+$59± DVZHOODVDOHWWHURIUHFRPPHQGDWLRQIURPWKH
VXSHUYLVRURIDODEDW                ZKHUHWKHDSSOLFDQWFRQGXFWHGUHVHDUFK DW+$59± 




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UDWLQJIURPZKLFKLWLVLPSRVVLEOHWRVHSDUDWHWKHDFDGHPLFTXDOLWLHVIURPWKHSHUVRQDOTXDOLWLHV

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56TXDUHG DVFRPSDUHGWRKLVDFDGHPLFUDWLQJUHJUHVVLRQ PHDQWKDW3URI$UFLGLDFRQR¶VSHUVRQDO
UDWLQJVUHJUHVVLRQFDQQRWHVWDEOLVKWKDWGLIIHUHQFHVDFURVVHWKQLFJURXSVLQWKHSHUVRQDOUDWLQJDUH
FDXVHGE\UDFLDOELDV DVKHFODLPV UDWKHUWKDQE\DYHUDJHGLIIHUHQFHVLQRWKHUSHUVRQDO
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LVKRZKHUHDFKHVWKHRSSRVLWHFRQFOXVLRQIRUWKHDFDGHPLFDQGH[WUDFXUULFXODUUDWLQJVHYHQZKHQWKH
SDWWHUQRIHPSLULFDOHYLGHQFHLVWKHVDPH)RUH[DPSOH3URI$UFLGLDFRQRLQWHUSUHWVWKHXQH[SODLQHG
UDFLDOJDSVLQKLVDFDGHPLFDQGH[WUDFXUULFXODUUDWLQJVWKDWfavor $VLDQ$PHULFDQDSSOLFDQWVDV
HYLGHQFHWKDWKLVPRGHOLVPLVVLQJLPSRUWDQWLQIRUPDWLRQUDWKHUWKDQWKDW+DUYDUGLVELDVHGLQIDYRU
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WKLVVDPH³XQREVHUYHGFKDUDFWHULVWLFV´H[SODQDWLRQDQGLQVWHDGMXPSVWRWKHFRQFOXVLRQWKDWWKHUHLV
ELDVDJDLQVW$VLDQ$PHULFDQDSSOLFDQWV,QOLJKWRIWKHNQRZQIDFWRUVWKDWLQIRUPWKHSHUVRQDOUDWLQJ
EXWDUHQRWFDSWXUHGLQ3URI$UFLGLDFRQR¶VSHUVRQDOUDWLQJPRGHODQGWKHUHODWLYHO\ORZH[SODQDWRU\
SRZHURIKLVSHUVRQDOUDWLQJPRGHOLWLVLQGHIHQVLEOHIRU3URI$UFLGLDFRQRWRFODLPWKDWWKHGLVSDULW\
LQSHUVRQDOUDWLQJVEHWZHHQ$VLDQ$PHULFDQDQG:KLWHDSSOLFDQWVLVHYLGHQFHRIELDVZKLOH
VLPXOWDQHRXVO\DUJXLQJWKDWWKH FRQYHUVH GLVSDULW\LQKLVDFDGHPLFUDWLQJVPRGHOLVGXHWRRPLWWHG
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KLVUDWLQJVUHJUHVVLRQVUHIOHFWPLVVLQJIDFWRUVWKDWDUHKDUGWRPHDVXUH²DVKHDVVHUWVDERXWWKH
DFDGHPLFDQGH[WUDFXUULFXODUUDWLQJV²RUWKH\UHIOHFWDFRPSOH[ DQGXQXVXDO IRUPRIUDFLDO
GLVFULPLQDWLRQZKHUHE\+DUYDUGIDYRUV$VLDQ$PHULFDQDSSOLFDQWVRQDFDGHPLFDQGH[WUDFXUULFXODU


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WKHVWXGHQW¶VSHUVRQDOTXDOLWLHVVXFKDVKLVZLOOLQJQHVVWRKHOSRWKHUVWXGHQWVDQGKLV³SROLWHQHVVDQGUHVSHFWIRUKLV
IHOORZPDQDVZHOODVKLVVHQVHRIKXPRU´ DW+$59 1RWHWKDWWKHUHDGHU¶VVXPPDU\RIWKHJXLGDQFH
FRXQVHORU¶VOHWWHUPHQWLRQVERWKDFDGHPLFTXDOLWLHVOLNHLQWHOOLJHQFHDQGFXULRVLW\DVZHOODVPRUHSHUVRQDOGHVFULSWRUV
³*&GHVFULEHVKLVµLQVDWLDEOHFXULRVLW\¶DQGFDOOVKLPWKHPRVWZHOOPDQQHUHGSOHDVDQWDQGLQWHOOLJHQWVWXGHQWHYHU´ DW
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DFDGHPLFDFKLHYHPHQWVDQGSHUVRQDOTXDOLWLHVVRPHWKLQJERWKUHDGHUVFRPPHQWRQ2QHUHDGHUZULWHV³7HDFKHUVSUDLVH
KLVQDWXUDOLQWHOOLJHQFHEXWDOVRVSHDNWRKLVKDELWRIKHOSLQJKLVSHHUVDQGKLVVHQVHRIKXPRUDQGUHOD[HGSHUVRQDOLW\
RXWVLGHRIDFDGHPLFV7KHUH¶VDJUHDWGHDORIUDZWDOHQWDQGLQWHUHVWKHUHDQG,LPDJLQHKHZRXOGXVHWKLVSODFHZHOO´DQG
WKHRWKHUZULWHV³>5HGDFWHG@LVKLJKO\UHVSHFWHGE\KLVWHDFKHUVIRUKLVDFDGHPLFVWUHQJWKDQGJRRG34¶V 7KH\VD\KHKDV
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WKDW,LGHQWLILHGLQP\ILUVWUHSRUWDVHYLGHQFHDJDLQVWKLVFRQFOXVLRQRIELDVLQWKHSHUVRQDOUDWLQJ
SURFHVV$V,QRWHGLQWKDWUHSRUW

                       >6@XFKDSDWWHUQFDOOVLQWRTXHVWLRQZKHWKHUWKHHIIHFWV>3URI
                       $UFLGLDFRQR¶V@PRGHOVDWWULEXWHWRUDFHDUHPRUHSURSHUO\H[SODLQHGE\
                       IDFWRUVWKDWDUHPLVVLQJIURPKLVPRGHOV HLWKHUEHFDXVHKHGRHVQRW
                       LQFOXGHWKHPRUEHFDXVHWKH\DUHXQREVHUYDEOH ,I+DUYDUGZHUHLQIDFW
                       ELDVHGDJDLQVW$VLDQ$PHULFDQDSSOLFDQWVLWZRXOGPDNHOLWWOHVHQVHIRU
                       +DUYDUGWRJLYHDQXQH[SODLQHGDGYDQWDJHWR$VLDQ$PHULFDQDSSOLFDQWV
                       LQWKHDFDGHPLFDQGH[WUDFXUULFXODUUDWLQJV2QWKHRWKHUKDQGLI
                       +DUYDUGZHUHQRWELDVHGEXWWKHUDWLQJVPRGHOVZHUHVLPSO\PLVVLQJ
                       UHOHYDQWYDULDEOHVWKDWH[SODLQWKHGLIIHUHQFHVDFURVVUDFHLQUDWLQJV
                       DVVLJQPHQWVLWZRXOGQRWEHVXUSULVLQJWRVHHDQLQFRQVLVWHQWSDWWHUQRI
                       ³ELDV´DFURVVWKHSURILOHUDWLQJV

            3.1.2. The data show that, on average, Asian-American applicants are weaker on non-academic
            factors that affect the personal rating

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DFURVVWKHGLIIHUHQWUDWLQJVUHJUHVVLRQVLVWKDW³WKHFDVHIRUGLVFULPLQDWLRQLVYHU\VWURQJZKHQDJURXS
RIDSSOLFDQWVLVVWURQJRQWKHREVHUYHGFKDUDFWHULVWLFVDVVRFLDWHGZLWKDSDUWLFXODUUDWLQJ\HWIDFHVD
SHQDOW\´3URI$UFLGLDFRQRWKHQDUJXHVWKDWWKHUHLVQRHYLGHQFHWKDW$VLDQ$PHULFDQDSSOLFDQWV
DUHZHDNHURQDYHUDJHRQIDFWRUVDVVRFLDWHGZLWKWKHSHUVRQDOUDWLQJDQGWKXVWKDWLWLVSURSHUWR
LQIHUGLVFULPLQDWLRQ<HWDNH\GULYHURIWKLVFRQFOXVLRQLV3URI$UFLGLDFRQR¶VIRFXVRQ$VLDQ
$PHULFDQDSSOLFDQWVDFDGHPLFTXDOLILFDWLRQVUDWKHUWKDQRQWKHQRQDFDGHPLFIDFWRUVWKDWDIIHFWWKH
SHUVRQDOUDWLQJ7KLVORJLFGRHVQRWPDNHVHQVHEHFDXVHDVGLVFXVVHGDERYHWKHXQREVHUYDEOHIDFWRUV
WKDWDUHPLVVLQJIURP3URI$UFLGLDFRQR¶VSHUVRQDOUDWLQJVUHJUHVVLRQDUHQRWDFDGHPLFIDFWRUV7KH\
DUHQRQDFDGHPLFIDFWRUVOLNHWKHSHUVRQDOHVVD\RWKHUUHFRPPHQGDWLRQOHWWHUVDQGDQ\RWKHU
GLVFXVVLRQWKDWLQIRUPVDFDQGLGDWH¶VSHUVRQDOTXDOLW\7KXVWKHIDFWWKDW$VLDQ$PHULFDQDSSOLFDQWV
DUHVWURQJHURQDFDGHPLFIDFWRUVLVQRWVXIILFLHQWHYLGHQFHWRFRQFOXGHWKDWWKH\DUHDOVRVWURQJHURQ
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                      ZKLOHPDQ\$VLDQ$PHULFDQDSSOLFDQWVDUHVWURQJHURQDFDGHPLF
                      TXDOLILFDWLRQVWKH\DUHRQDYHUDJHZHDNHUDFURVVDOOQRQDFDGHPLF
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                      UHJUHVVLRQVWURQJO\VXJJHVWWKDW$VLDQ$PHULFDQDSSOLFDQWVDUHRQ
                      DYHUDJHZHDNHUDFURVVQRQDFDGHPLFPHDVXUHV,QWKRVHUHJUHVVLRQVWKH
                      HVWLPDWHGQHJDWLYHHIIHFWRI$VLDQ$PHULFDQHWKQLFLW\VKULQNVDVKHDGGV
                      QRQDFDGHPLFIDFWRUV6SHFLILFDOO\WKHORJLWFRHIILFLHQWIDOOVE\QHDUO\
                      SHUFHQWIURPWRZKHQKHDGGVFRQWUROVIRU
                      QHLJKERUKRRGDQGVFKRROEDFNJURXQGDQGIRUWKHUHOHYDQWUDWLQJVWKDW
                      IHHGLQWRWKHSHUVRQDOUDWLQJOLNHWKHWHDFKHUJXLGDQFHFRXQVHORUDQG
                      DOXPQLUDWLQJV7KLVLVDFULWLFDOO\LPSRUWDQWILQGLQJEHFDXVHDVQRWHG
                      DERYHWKHW\SHVRILQIRUPDWLRQPLVVLQJIURPWKHSHUVRQDOUDWLQJ
                      UHJUHVVLRQDUHQRQDFDGHPLFLQQDWXUH7KXVWKHIDFWWKDWWKHPHDVXUHG
                      GLVSDULW\LQUDWLQJVEHWZHHQ$VLDQ$PHULFDQDQG:KLWHDSSOLFDQWV
                      VKULQNVDVDGGLWLRQDOQRQDFDGHPLFIDFWRUVDUHDGGHGWRWKHUDWLQJV
                      PRGHOVXJJHVWVWKDWWKHGLVSDULW\ZRXOGVKULQNIXUWKHULIRWKHUQRQ
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                      DGGHG,QIDFWLWLVZHOOXQGHUVWRRGLQWKHDFDGHPLFOLWHUDWXUHWKDWWKLV
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                      PRGHOLVDUHGIODJWKDWRWKHUXQREVHUYHGIDFWRUVDUHSRWHQWLDOO\
                      FRUUHODWHGZLWKWKHYDULDEOHRILQWHUHVW,QWKLVFDVHLWVXJJHVWVWKDW
                      XQREVHUYHGIDFWRUVDUHFRUUHODWHGZLWK$VLDQ$PHULFDQHWKQLFLW\LQD
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                      DSSOLFDQWVDUHZHDNHURQDYHUDJHRQQRQDFDGHPLFGLPHQVLRQV,
                      FUHDWHGDQRQDFDGHPLFDGPLVVLRQVLQGH[WKDWVXPPDUL]HVWKHFROOHFWLYH
                      DGPLVVLRQVVWUHQJWKRIHDFKFDQGLGDWHDFURVVDOOQRQDFDGHPLFIDFWRUVLQ
                      3URI$UFLGLDFRQR¶VPRGHOXVLQJWKHVDPHPHWKRGRORJ\3URI
                      $UFLGLDFRQRXVHGWRFUHDWHZKDWKHFDOOHGDQ³DGPLVVLRQVLQGH[´
                      8VLQJWKLVQRQDFDGHPLFDGPLVVLRQVLQGH[,IRXQGWKDWWKH$VLDQ
                      $PHULFDQDSSOLFDQWVZHUHOHVVOLNHO\WKDQ:KLWHDSSOLFDQWVWREHLQWKH
                      WRSKDOIDVZHOODVWKHWRSGHFLOHRIWKLVLQGH[

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WKDWDUHPLVOHDGLQJRUIDFWXDOO\LQFRUUHFW)LUVW3URI$UFLGLDFRQRDVVHUWVWKDWWKHVFRUHV$VLDQ
$PHULFDQDSSOLFDQWVUHFHLYHRQWKHNH\UDWLQJVWKDWLQIRUPWKHSHUVRQDOUDWLQJ DOXPQLWHDFKHUDQG
FRXQVHORUUDWLQJV ³GLIIHUVLJQLILFDQWO\´IURPWKHRYHUDOOSHUVRQDOUDWLQJVFRUHVDVVLJQHGWR$VLDQ
$PHULFDQDSSOLFDQWV,QUHVSRQVHWRWKLVFODLP,KDYHDQDO\]HGWKHVXPRIWKHUDWLQJVIURPDOXPQL
LQWHUYLHZHUVWHDFKHUVDQGJXLGDQFHFRXQVHORUVDQGFRPSDUHGWKHPDFURVV$VLDQ$PHULFDQDQG
:KLWHDSSOLFDQWV7KHEHVWSRVVLEOHUDWLQJVVXPLVEHFDXVHWKHUHDUHILYHUDWLQJV WZRWHDFKHU
UDWLQJVRQHJXLGDQFHFRXQVHORUUDWLQJDQGSHUVRQDODQGRYHUDOOUDWLQJVIURPDQDOXPQLLQWHUYLHZHU 
DQGUDWLQJVYDU\IURPWR WKHORZHUWKHUDWLQJWKHVWURQJHULWLVZLWKDUDWLQJRIEHLQJWKHEHVW 
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VWUHQJWKRIHDFKFDQGLGDWHDVUHIOHFWHGLQWKHLQWHUYLHZVDQGPDWHULDOVVXEPLWWHGE\H[WHUQDO
UHYLHZHUV,I3URI$UFLGLDFRQR¶VFODLPWKDW$VLDQ$PHULFDQDQG:KLWHDSSOLFDQWVDUHRIVLPLODU
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Among applicants with an academic rating of 2, White applicants tend to have stronger school
support and alumni ratings than Asian-American applicants




Source: Augmented Arcidiacono Data

Note: Data are from applicants to the classes of 2014 – 2019 in Prof. Arcidiacono’s expanded sample including athletes.




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For a given academic rating, White applicants tend to have stronger school support and alumni
ratings than Asian-American applicants




Source: Augmented Arcidiacono Data

Note: Data are from applicants to the classes of 2014 – 2019 in Prof. Arcidiacono’s expanded sample including athletes.



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RI$VLDQ$PHULFDQDQG:KLWHDSSOLFDQWVZKRKDYHDUDWLQJVVXPRIRUOHVVE\DFDGHPLFUDWLQJ
$JDLQZHVHHWKDW$VLDQ$PHULFDQDSSOLFDQWVDUHZHDNHURQQRQDFDGHPLFTXDOLWLHVLHKDYHKLJKHU
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 WKDWRI$VLDQ$PHULFDQDSSOLFDQWV LVVKLIWHGULJKWLHWRZDUGODUJHUUDWLQJVVXPVUHODWLYHWRWKH
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Among applicants with an academic rating of 2, White applicants have stronger non-academic
ratings (school support, alumni, and profile other than academic)




Source: Augmented Arcidiacono Data

Note: Data are from applicants to the classes of 2014 – 2019 in Prof. Arcidiacono’s expanded sample including athletes.




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For a given academic rating, White applicants have stronger non-academic ratings (school
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Source: Augmented Arcidiacono Data

Note: Data are from applicants to the classes of 2014 – 2019 in Prof. Arcidiacono’s expanded sample including athletes.



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UHOLDEOHZD\WRWHVWKRZVXFKPLVVLQJLQIRUPDWLRQDIIHFWVWKHXQH[SODLQHGJDSLQSHUVRQDOUDWLQJVLVWR
WHVWKRZVLPLODUQRQDFDGHPLFYDULDEOHVWKDWZHFDQREVHUYHLQWKHGDWDLPSDFWWKHXQH[SODLQHGJDS
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SHUVRQDOUDWLQJ VHHWKLUGSDQHORI([KLELW RUGRLQJERWK VHHIRXUWKSDQHORI([KLELW ,QHDFK
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$UFLGLDFRQR¶VSHUVRQDOUDWLQJVUHJUHVVLRQDQGHVWLPDWHLW\HDUE\\HDU:KHQ,GRWKLV,FDQDGGDGGLWLRQDOYDULDEOHVWR
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       
White applicants rank higher than Asian-American applicants on non-academic admissions index


                   Non-Academic
                   Admissions                                     Asian-               African-
                   Index Decile                White             American             American             Hispanic
                   Without Removing Additional Effects
                1. 5 or lower                   46.46%               51.80%              55.27%               54.33%
               2. 6                             10.10%               10.35%               9.04%                9.48%
               3. 7                             10.12%               10.53%               9.00%                9.26%
               4. 8                             10.47%               10.10%               8.85%                8.90%
               5. 9                             10.81%                9.47%               9.06%                9.18%
               6. 10                            12.03%                7.75%                8.79%               8.85%
                   Remove Effect of ALDC “Tips”
               7. 5 or lower                    46.98%               51.28%              55.04%               53.81%
               8. 6                             10.20%               10.24%                8.95%               9.42%
               9. 7                             10.31%               10.25%               8.82%                9.39%
              10. 8                             10.69%                9.98%               8.80%                8.58%
              11. 9                             10.80%                9.56%               9.02%                9.02%
              12. 10                            11.03%                8.69%                9.37%               9.77%
                   Remove Effect of Personal Rating
              13. 5 or lower                    46.45%               51.59%              55.70%               54.63%
              14. 6                             10.36%               10.14%               9.02%                9.16%
              15. 7                             10.30%               10.19%               8.90%                9.27%
              16. 8                             10.34%               10.28%                9.13%               8.96%
              17. 9                             10.61%                9.84%                8.76%               9.02%
              18. 10                            11.94%                7.96%               8.50%                8.96%
                   Remove Effect of Personal Rating and ALDC “Tips”
              19. 5 or lower                    47.02%              50.92%               55.42%               54.20%
              20. 6                             10.46%              10.02%                8.89%                9.14%
              21. 7                             10.59%                9.91%                8.79%               9.06%
              22. 8                             10.53%              10.02%                 9.12%               8.77%
              23. 9                             10.84%                9.69%               8.64%                8.96%
              24. 10                            10.56%                9.42%                9.14%               9.88%


Source: Augmented Arcidiacono Data; College Board Cluster Data; U.S. Census Data

Note: Data are from applicants to the classes of 2014 – 2019 in Prof. Arcidiacono’s expanded sample including athletes. The non-academic
admissions index is constructed using the updated approach put forth by Prof. Arcidiacono in Tables 7.4R and 7.5R in Appendix C of his
rebuttal report. The shares within each panel for a given race sum to 100%.



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There is no consistent or statistically significant evidence of bias against Asian-American
applicants even adjusting for what Prof. Arcidiacono alleges as bias in the personal rating




Source: Augmented Arcidiacono Data; College Board Cluster Data; U.S. Census Data

Note: Table shows the average marginal effect of race on admission for Asian-American applicants relative to White applicants from
updated Card model using adjusted academic, extracurricular, and personal ratings. Data are from applicants to the classes of 2014 – 2019
in Prof. Arcidiacono’s expanded sample including athletes. An applicant’s adjusted rating is the rating with the highest predicted
probability according to Prof. Arcidiacono’s rating model excluding other profile ratings from the controls and turning off the effect of
race. * indicates significance at the 5% level. Marginal effects are reported as percentage point values.



      3.2. There is no basis for Prof. Arcidiacono’s decision to exclude parental occupation, intended
      career, or staff interviews

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VKRXOGQRWEHLQFOXGHGSDUHQWDORFFXSDWLRQLQWHQGHGFDUHHUDQGVWDIILQWHUYLHZV$VZLWKWKH
SHUVRQDOUDWLQJLQFOXGLQJWKHVHYDULDEOHVUHGXFHVWKHDOOHJHG³ELDV´3URI$UFLGLDFRQRILQGVLQKLV
UHJUHVVLRQPRGHO7KLVIDFWKHOSVWRH[SODLQZK\3URI$UFLGLDFRQRUHDFKHVDGLIIHUHQWFRQFOXVLRQ
DERXWWKHDOOHJHGELDVDJDLQVW$VLDQ$PHULFDQDSSOLFDQWVWKDQ,GR

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YDULDEOHVDUHLPSRUWDQWWR+DUYDUG¶VDGPLVVLRQVSURFHVVDQGWKDW+DUYDUGUHOLHVRQWKHLQIRUPDWLRQ
WKH\FRQWDLQLQGHFLGLQJZKRPWRDGPLW)RUWKHVHUHDVRQV,FRQFOXGHWKDWWKHUHLVQRREMHFWLYHEDVLV
IRUWKHLUH[FOXVLRQIURPWKHDGPLVVLRQVPRGHO$VZLWKWKHSHUVRQDOUDWLQJ3URI$UFLGLDFRQR¶V
IDLOXUHWRFRQVLGHULQSXWVWKDWDUHFULWLFDOWR+DUYDUG¶VGHFLVLRQPDNLQJSURFHVVZLWKRXWVXIILFLHQW
IDFWXDOEDVLVIRUGRLQJVRUHVXOWVLQDPRGHOWKDWIDLOVWRDFFXUDWHO\UHIOHFWWKHSURFHVVEHLQJPRGHOHG

           3.2.1. Parental Occupation

       3URI$UFLGLDFRQRDVVHUWVWKDWSDUHQWDORFFXSDWLRQVKRXOGEHH[FOXGHGIURPDPRGHORI
DGPLVVLRQVIRUWZRUHDVRQVLWLVDOOHJHGO\QRWLPSRUWDQWWR+DUYDUG¶VSURFHVVDQGLWEHKDYHVLQDQ
DOOHJHGO\XQUHOLDEOHPDQQHURYHUWLPH

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UHFRUGVWKDW+DUYDUG¶VDGPLVVLRQVRIILFHFRQVLGHUVSDUHQWDORFFXSDWLRQLPSRUWDQWDVLGHIURPLWVYDOXH
DVDPHDVXUHRI>VRFLRHFRQRPLFVWDWXV@´7KLVDUJXPHQWGRHVQRWMXVWLI\H[FOXGLQJLPSRUWDQW
LQIRUPDWLRQIURPWKHPRGHOIRUDWOHDVWWZRUHDVRQV

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FRQWH[WRIHDFKFDQGLGDWH¶VOLIHLVHVVHQWLDOWR+DUYDUG¶VUHYLHZSURFHVV+DUYDUGVHHNVWRDGPLW
FDQGLGDWHVZLWKDZLGHUDQJHRIH[SHULHQFHVDQGVNLOOVZKRFDQHQJDJHZLWKDQGKHOSHGXFDWH
FODVVPDWHVDQGIDFXOW\3DUHQWDORFFXSDWLRQLVDQLPSRUWDQWIDFWIURPZKLFK+DUYDUGJOHDQV
LQIRUPDWLRQDERXWIDPLO\EDFNJURXQGDQGVRFLRHFRQRPLFVWDWXV7KHLPSRUWDQFHRISDUHQWDO
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                      7KHVXPPDU\VKHHWLVYLHZHGE\DGPLVVLRQVRIILFHUVDVFRQWDLQLQJNH\
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                      FRQVLGHUSDUHQWDORFFXSDWLRQDUHOHYDQWSLHFHRILQIRUPDWLRQLQWKH
                      DGPLVVLRQVSURFHVV

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DSSOLFDWLRQZRXOGJRXSRQWKHVFUHHQ6RDOOWKHSDUHQWDOLQIRUPDWLRQ«HYHU\WKLQJZH YHGLVFXVVHG«´ 'HSRVLWLRQRI0DUO\Q
(OL]DEHWK0F*UDWK9ROXPH,-XQH ³0F*UDWK'HSRVLWLRQ´ SS± ³4$QG\RXVDLGDWWKHSRLQWWKDW
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\RXSOHDVHOLVWWKHP">«@$3URYLGHVDQRYHUYLHZIRUDQ\RQHZKRPLJKWYLHZWKDWDSSOLFDWLRQ4$Q\RWKHUV"$&RXOG
EHXVHGGXULQJWKHSUHVHQWDWLRQRIDQDSSOLFDWLRQ4$Q\RWKHUZD\V"$,EHOLHYHWKH\FDQEHXVHGIRUWUDLQLQJ
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RISDSHULQWKHSDSHUYHUVLRQZKHUHSHRSOHDVWKH\UHYLHZRQFHWKHIROGHU¶VFRPSOHWHWKDW,MXVWGHVFULEHGRQFHWKDW¶V
FRPSOHWHDQGEHJXQWREHUHDGWKHSHRSOHZKRUHDGWKHIROGHUWKHUHDGHUVPDNHWKHLUFRPPHQWVRQDVKHHWRISDSHU
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                      PRVWLQIRUPDWLYHPHDVXUHVRIVRFLRHFRQRPLFVWDWXVUHOLHGXSRQLQWKH
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DQLQGLFDWRURIVRFLRHFRQRPLFVWDWXV DV3URI$UFLGLDFRQRVHHPVWREH LWZRXOGVWLOOEH
LQDSSURSULDWHWRH[FOXGHLWIURPWKHPRGHO3URI$UFLGLDFRQRDQG,DJUHHWKDW+DUYDUGFRQVLGHUV
VRFLRHFRQRPLFVWDWXVLQLWVDGPLVVLRQVSURFHVVDQGZHERWKLQFOXGHPXOWLSOHPHDVXUHVRI
VRFLRHFRQRPLFVWDWXVEHVLGHVSDUHQWDORFFXSDWLRQ HJZKHWKHUWKHDSSOLFDQWKDVEHHQLGHQWLILHGDV
³GLVDGYDQWDJHG´ZKHWKHUWKHDSSOLFDQWUHFHLYHGDIHHZDLYHUDQGZKHWKHUWKHDSSOLFDQWDSSOLHGIRU
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VRFLRHFRQRPLFVWDWXV²DPHDVXUHWKDWLVFOHDUO\FRQVLGHUHGLQ+DUYDUG¶VDGPLVVLRQVSURFHVV²LV
XQZDUUDQWHGDQGLQFRQVLVWHQWZLWKKLVRZQPHWKRGRORJ\RILQFOXGLQJPXOWLSOHVRFLRHFRQRPLF
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and Social StatusHG$OEHUW-5HLVV-U )UHH3UHVV SS±*UHJ-'XQFDQDQG.DWKHULQH$0DJQXVRQ
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Parenting, and Child DevelopmentHG0DUF+%RUQVWHLQDQG5REHUW+%UDGOH\ /DZUHQFH(UOEDXP$VVRFLDWHV,QF
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DQGGLVDGYDQWDJHGIODJDUHDOVRVLPLODUO\OLPLWHGPHDVXUHVRI6(6OLNHWKHILQDQFLDODLGYDULDEOHERWK
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PRUHWKDQWZHQW\WLPHVDVPXFKDVIHHZDLYHUQHDUO\WZLFHDVPXFKDVILQDQFLDODLGDQGDOPRVWILYH
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GDWDEDVHVKRXOGEHH[FOXGHGEHFDXVHLWIOXFWXDWHV³ZLOGO\´IURP\HDUWR\HDUDSDWWHUQWKDWKHFODLPV
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IRFXVLQJRQDVPDOOQXPEHURIRFFXSDWLRQFDWHJRULHVWKDWH[KLELWFKDQJHVRYHUWLPH:KLOHLWLVWUXH
WKDWVRPHRFFXSDWLRQDOFDWHJRULHVGRIOXFWXDWHLQVL]HRYHUWLPHWKHPDMRULW\RIRFFXSDWLRQV²
LQFOXGLQJWKHPRVWFRPPRQ²EHKDYHLQDVWDEOHIDVKLRQ,QGHHGLIRQHORRNVDWWKHSDWWHUQVDFURVV
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and Social StatusHG$OEHUW-5HLVV-U )UHH3UHVV SS±*UHJ-'XQFDQDQG.DWKHULQH$0DJQXVRQ
³2II:LWK+ROOLQJVKHDG6RFLRHFRQRPLF5HVRXUFHV3DUHQWLQJDQG&KLOG'HYHORSPHQW´LQSocioeconomic Status,
Parenting, and Child DevelopmentHG0DUF+%RUQVWHLQDQG5REHUW+%UDGOH\ /DZUHQFH(UOEDXP$VVRFLDWHV,QF
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UHFRUGHGLQ+DUYDUG¶VGDWDEDVHVWDUWLQJLQ+DUYDUG¶VGDWDEDVHLQGLFDWHVDVZLWFKIURPXVLQJ
RQHVHWRIRFFXSDWLRQFRGHVLQWRXVLQJWZRVHWVLQZLWKWKHPDMRULW\RIDSSOLFDQWV
FODVVLILHGXQGHUWKHQHZV\VWHP$VDUHVXOWFHUWDLQRFFXSDWLRQDOFDWHJRULHVDSSHDUWR³IOXFWXDWH´
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SHU\HDUZHUHFRGHGDVVHOIHPSOR\HGLQHDFK\HDUIURPWRQRSDUHQWVZHUHFRGHGDVVHOI
HPSOR\HGLQWKLVLVEHFDXVH+DUYDUG¶VGDWDEDVHGLGQRWKDYHDFRGHIRUVHOIHPSOR\HGSDUHQWV
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EHFDXVH³ORZVNLOO´ZDVQRWDQRSWLRQXQGHU+DUYDUG¶VQHZPRUHSUHYDOHQWFRGLQJ7KHGDWDDOVR
VXJJHVWWKDW+DUYDUGVWRSSHGFRQVLVWHQWXVHRIWKH³XQHPSOR\HG´FRGHVWDUWLQJZLWKWKHFODVVRI
6XFKUHFRGLQJLVDFRPPRQLVVXHLQPDQ\GDWDVHWVWKDWDUHZLGHO\XVHGLQHFRQRPHWULFUHVHDUFK
VXFKDVWKH$PHULFDQ&RPPXQLW\6XUYH\3XEOLF8VHILOHVRIWKHGHFHQQLDOFHQVXVHVDQGWKH&XUUHQW
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PHWKRGRORJLFDODGYDQWDJHRIHVWLPDWLQJVHSDUDWHDGPLVVLRQVPRGHOVIRUHDFK\HDULVWKDWLWDFFRXQWV
IRUWKHIDFWWKDWWKHRYHUDOOFRPSRVLWLRQRI+DUYDUG¶VDSSOLFDQWSRROFKDQJHVVXEVWDQWLDOO\IURP\HDU
WR\HDU,QIDFW,SURYLGHGVHYHUDOH[DPSOHVRINH\YDULDEOHVZKRVHGLVWULEXWLRQVFKDQJHG
VXEVWDQWLDOO\RYHUWLPHLQFOXGLQJLQWHQGHGFRQFHQWUDWLRQGRFNHWDQGHDUO\DFWLRQ6XFK\HDUWR\HDU
FRPSRVLWLRQDOFKDQJHVDUHQRWDSUREOHPDWDOOVRORQJDVWKHDGPLVVLRQVPRGHOVDUHHVWLPDWHG
VHSDUDWHO\IRUHDFK\HDU6XFKDQDSSURDFKHQVXUHVWKDWDSSOLFDQWVZKRDSSO\LQD\HDUZKHUHVD\
WKHUHDUHDQXQXVXDOO\ODUJHQXPEHURIDSSOLFDQWVZKRVHSDUHQWVDUHHQJLQHHUVDUHFRPSDUHGRQO\WR
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%XUHDXRI/DERU6WDWLVWLFV³+LVWRULFDOFRPSDUDELOLW\RIRFFXSDWLRQDQGLQGXVWU\GDWDIURPWKH&XUUHQW3RSXODWLRQ
6XUYH\´DYDLODEOHDWKWWSVZZZEOVJRYFSVFSVRFFLQGKWPDFFHVVHG0DUFK,380686$³$&62FFXSDWLRQ
&RGHV´DYDLODEOHDWKWWSVXVDLSXPVRUJXVDYROLLFVVRFFXSVKWPODFFHVVHG)HEUXDU\
,QGHHG3URI$UFLGLDFRQRKLPVHOIKDVXVHGVRPHRIWKHVHGDWDVHWVDQGKDVDOVRPDSSHGRFFXSDWLRQDOFRGHVIURP
XQLYHUVLW\VSHFLILFGDWDWR$&6FDWHJRUL]DWLRQVVHH3HWHU$UFLGLDFRQRHWDO³5HFRYHULQJ([$QWH5HWXUQVDQG
3UHIHUHQFHVIRU2FFXSDWLRQV8VLQJ6XEMHFWLYH([SHFWDWLRQV'DWD´1%(5:RUNLQJ3DSHU2FWREHUS
 ³:HXWLOL]HGDWDRQZDJHVFROOHJHPDMRUDQGFXUUHQWRFFXSDWLRQIURPWKH$&60DMRUVLQWKH$&6ZHUH
FDWHJRUL]HGVLPLODUO\WRWKH'XNHGDWD6HYHUDOPDMRUVLQWKH$&6DUHQRWRIIHUHGDW'XNHWRWKHH[WHQWWKH\FOHDUO\IHOO
LQWRRQHRIWKHVL[PDMRUFDWHJRULHVWKH\ZHUHLQFOXGHGLQWKDWFDWHJRU\2FFXSDWLRQVZHUHFRQVWUXFWHGE\PDWFKLQJWKH
RFFXSDWLRQVFDWHJRULHVLQWKH$&6ZLWKWKHRFFXSDWLRQJURXSLQJVLQWKH'XNHGDWD´ DQGIRRWQRWH ³>V@FLHQFH
FRPSXWLQJDQGHQJLQHHULQJRFFXSDWLRQVZHUHFRGHGDVVFLHQFHDQGWHFKQRORJ\FDUHHUVPHGLFLQHZDVFRGHGDVDKHDOWK
FDUHHUEXVLQHVVDQGILQDQFHZHUHFRGHGDVEXVLQHVVFDUHHUVOHJDOZDVFRGHGDVDODZFDUHHUQRQSURILWRFFXSDWLRQVDV
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RZQDQDO\VLV6SHFLILFDOO\DIWHU,SRLQWHGRXWLQP\ILUVWUHSRUWWKDWYDULDEOHVOLNHLQWHQGHG
FRQFHQWUDWLRQGRFNHWDQGHDUO\DFWLRQEHKDYHGGLIIHUHQWO\DFURVV\HDUV3URI$UFLGLDFRQRFKDQJHG
KLVDGPLVVLRQVPRGHOWRDOORZWKRVHYDULDEOHVWRKDYHGLIIHUHQWHIIHFWVLQGLIIHUHQW\HDUV,QRWKHU
ZRUGVIRUVRPHFDWHJRULFDOYDULDEOHVZLWKFDWHJRULHVWKDWFKDQJHRYHUWLPH3URI$UFLGLDFRQRFKRVH
WRHPSOR\DVWDQGDUGPHWKRGRORJLFDOVROXWLRQWKDWDOORZHGKLPWRUHWDLQ WKRVHYDULDEOHV UDWKHUWKDQ
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LQFRQVLVWHQWDSSOLFDWLRQRIWKLVDSSURDFKDQGKLVLQVLVWHQFHRQOHDYLQJRXWSDUHQWDORFFXSDWLRQLV
QRWHZRUWK\EHFDXVHSDUHQWDORFFXSDWLRQLVDYDULDEOHWKDWUHGXFHVWKHDOOHJHG³ELDV´DJDLQVW$VLDQ
$PHULFDQDSSOLFDQWVIRXQGLQ3URI$UFLGLDFRQR¶VPRGHO DV,VKRZLQ6HFWLRQEHORZ 

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YDULDEOHVWRLQFOXGHRUQRWEDVHGRQWKHLUYRODWLOLW\RYHUWLPHLVWKHGLVDGYDQWDJHGIODJ$VQRWHG
DERYH3URI$UFLGLDFRQRYLHZVWKLVIODJDVDFULWLFDOLQGLFDWRURIVRFLRHFRQRPLFVWDWXVDQGUHOLHV
KHDYLO\RQWKLVYDULDEOHIRUKLVRSLQLRQV<HWOLNHSDUHQWDORFFXSDWLRQWKHFRGLQJRIWKH
GLVDGYDQWDJHGIODJYDULHVVXEVWDQWLDOO\RYHUWLPH)RUH[DPSOHWKHVKDUHRIDSSOLFDWLRQVIODJJHGDV
GLVDGYDQWDJHGQHDUO\GRXEOHVLQUHODWLYHWR\HDUVSULRU LQLWLVDQGLQLWLV
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SDUHQWDORFFXSDWLRQIURPKLVPRGHO,WLVWHOOLQJWKDWZKHQFKRRVLQJEHWZHHQWZRYDULDEOHVWKDW
H[KLELWVLPLODUYRODWLOLW\3URI$UFLGLDFRQRFKRVHWRLQFOXGHWKHIDFWRUWKDWOHDGVWRDQHVWLPDWHG
HIIHFWRI$VLDQ$PHULFDQHWKQLFLW\WKDWLVPRUHQHJDWLYH GLVDGYDQWDJHG DQGWRH[FOXGHWKHIDFWRU
WKDWOHDGVWRDOHVVQHJDWLYHHIIHFW SDUHQWDORFFXSDWLRQ 

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YDULDEOHOLNHSDUHQWDORFFXSDWLRQFKDQJHRYHUWLPHLQDQXQUHOLDEOHPDQQHULVWRLQFOXGHWKHYRODWLOH
FDWHJRULHV HJ³8QHPSOR\HG´ LQDFRPELQHG³PLVVLQJDQGXQVWDEOH´FDWHJRU\DFURVVDOO\HDUVDQG
OHDYHWKHRWKHUPRUHVWDEOHFDWHJRULHV HJ³/DZ\HUV-XGJHV´ LQWKHPRGHO7KLVVROXWLRQDOORZVWKH
PRGHOWRXVHWKHSDUHQWDORFFXSDWLRQLQIRUPDWLRQWKDW3URI$UFLGLDFRQREHOLHYHVLVUHOLDEOHUDWKHU
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RFFXSDWLRQDOFDWHJRULHVWRFUHDWHWKHLQGLFDWRUYDULDEOHVLQP\UHJUHVVLRQ,VKRZWKDWWKHILQGLQJVRIP\PDLQUHJUHVVLRQ
PRGHOVDUHUREXVWWRDYDULHW\RIUHDVRQDEOHZD\VRIFRQVWUXFWLQJRFFXSDWLRQFDWHJRULHV
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XVHIXOQHVVDVDFRQWURO,IWKHUHLVOLWWOHUHDVRQWRWUXVWWKHDFFXUDF\RIDIDFWRULQFRUSRUDWLQJLWLQWRDPRGHOZLOOQRW
LQIRUPWKHUHVXOWLQJHVWLPDWHV3URI&DUGQRZKHUHRIIHUVDQH[SODQDWLRQIRUZK\WKHVHGDWDZRXOGYDU\VRZLOGO\DFURVV
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DOWHUQDWLYHDSSURDFK$V,ZLOOGLVFXVVLQ6HFWLRQLQRUGHUWREHFHUWDLQWKDWWKHLVVXHV3URI
$UFLGLDFRQRUDLVHVGRQRWDIIHFWWKHILQDOFRQFOXVLRQVRIP\UHVXOWV,KDYHDOVRHVWLPDWHGP\
SUHIHUUHGPRGHOPDNLQJWKLVPRGLILFDWLRQ GHVSLWHWKHIDFWWKDWP\\HDUE\\HDUPRGHODOUHDG\
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           3.2.2. Intended Career

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IURPDPRGHORIDGPLVVLRQV$V,QRWHGLQP\ILUVWUHSRUWLQWHQGHGFDUHHULVDQRWKHUSLHFHRI
LQIRUPDWLRQ+DUYDUGUHOLHVRQWREHWWHUXQGHUVWDQGDQDSSOLFDQW¶VOLIHH[SHULHQFHDQGLQWHUHVWV7KLV
VKRXOGQRWEHVXUSULVLQJ$VWXGHQWERG\LQZKLFKDOOVWXGHQWVKDGWKHVDPHFDUHHULQWHUHVWVRUWKH
VDPHLQWHOOHFWXDOLQWHUHVWVZRXOGKDYHOHVVGLYHUVLW\RIWKRXJKW,LQFOXGHGLQWHQGHGFDUHHULQP\
DGPLVVLRQVPRGHOERWKEHFDXVHWKHUHFRUGLQGLFDWHVLWFDQPHDQLQJIXOO\LQIOXHQFHDQDSSOLFDQW¶V
FKDQFHRIDGPLVVLRQDQGEHFDXVHLWH[KLELWVGLIIHUHQFHVEHWZHHQHWKQLFJURXSV6SHFLILFDOO\,QRWHG

                       >$@QDSSOLFDQW¶VIXWXUHSODQVDQGILHOGVRILQWHUHVWFDQEHFULWLFDOWRWKH
                       DVVHVVPHQWRIKRZWKHDSSOLFDQWZLOOFRQWULEXWHWRWKH+DUYDUG
                       FRPPXQLW\ERWKLQVLGHDQGRXWVLGHWKHFODVVURRP)RUH[DPSOHWKH
                       &DVHERRN'LVFXVVLRQ*XLGHQRWHVWKHIROORZLQJDERXWRQHFDQGLGDWH




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FROOHJHIRXQGWKDW D RI:KLWHVWXGHQWVLQWKHVDPSOHZHUHLQWHUHVWHGLQ³LPSDFWFDUHHUV´
 GHILQHGDVHGXFDWLRQSXEOLFVHUYLFHQRQSURILWVDQGSKLODQWKURS\DQG³FUHDWLYHFODVV´FDUHHUVVXFK
DVDFDGHPLDDQGMRXUQDOLVP DVFRPSDUHGWRRI$VLDQ$PHULFDQVWXGHQWVDQG E RI$VLDQ
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FDUHHU³YDULHVLQKLJKO\XQXVXDODQGXQH[SODLQHGZD\VRYHUWLPHXQGHUPLQLQJLWVUHOLDELOLW\DVD
YDULDEOHDQGLWVXVHIXOQHVVDVDFRQWURO´$VQRWHGDERYHKRZHYHURQHRIWKHPDLQSXUSRVHVRI
HVWLPDWLQJWKHDGPLVVLRQVPRGHOVHSDUDWHO\IRUHDFKDGPLVVLRQVFODVVLVWRVROYHWKLVH[DFWSUREOHP
$V,GHWDLOHGLQP\RULJLQDOUHSRUWWKHH[DFWFRPSRVLWLRQRIHDFKDGPLVVLRQVFODVVFKDQJHVIURP\HDU
WR\HDURQDQ\QXPEHURIGLPHQVLRQV7KHVHW\SHVRI\HDUWR\HDUFRPSRVLWLRQDOFKDQJHVKRZHYHU
GRQRWSRVHDQ\PHWKRGRORJLFDOSUREOHPVIRUWKHDGPLVVLRQVPRGHOEHFDXVHWKHDGPLVVLRQVPRGHOLV
IRFXVHGRQFRPSDULQJDSSOLFDQWVZLWKLQWKHVDPH\HDU

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YDULDEOH3URI$UFLGLDFRQR¶V7DEOH1VKRZVKRZWKHLQWHQGHGFDUHHUYDULDEOHFKDQJHVRYHUWLPH
IRUDOOFDWHJRULHV$VLVFOHDUWKHELJJHVWFKDQJHRFFXUVLQRXWVLGHRIWKHYDOXHVDFURVV
DOORIWKHFDWHJRULHVDUHJHQHUDOO\VWDEOH$VZLWKSDUHQWDORFFXSDWLRQ3URI$UFLGLDFRQR¶VRPLVVLRQ
RILQWHQGHGFDUHHULVQRWGHIHQVLEOH$PRUHUHOLDEOHVROXWLRQZRXOGEHWRVLPSO\DOORZWKHYDULDEOHWR
KDYHGLIIHUHQWHIIHFWVLQGLIIHUHQW\HDUVDVKHGRHVZLWKRWKHUYDULDEOHVWKDWFKDQJHVXEVWDQWLDOO\RYHU
WLPHDQGDV,GREHORZLQ6HFWLRQZLWKP\\HDUE\\HDUPRGHO

           3.2.3. Staff Interviews

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LQWHQGHGFDUHHU3URI$UFLGLDFRQRGRHVQRWGLVSXWHWKHLPSRUWDQFHRIVWDIILQWHUYLHZVWRWKH
DGPLVVLRQVSURFHVV,QVWHDGKHDUJXHVWKDWWKHYDULDEOHVKRXOGEHH[FOXGHGEHFDXVHKHXQGHUVWDQGV
WKDWVWDIILQWHUYLHZVDUHJLYHQWRRQO\DVPDOOSRUWLRQRIWKHDSSOLFDQWSRRODQGDUHOHVVOLNHO\WREH
JLYHQWR$VLDQ$PHULFDQDSSOLFDQWVDQGEHFDXVHSHRSOHUHFHLYLQJVWDIILQWHUYLHZVKDYHDJRRG
FKDQFHWREHDGPLWWHG

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VXIILFLHQWEDVLVWRH[FOXGHVWDIILQWHUYLHZUDWLQJVIURPWKHPRGHO*LYHQWKHFRPSHWLWLYHQDWXUHRIWKH
SURFHVVDQGWKHPDQ\GLPHQVLRQVRYHUZKLFK+DUYDUGWULHVWRGLVWLQJXLVKEHWZHHQVRPDQ\VWURQJ
DSSOLFDQWVDGGLWLRQDOLQIRUPDWLRQ OLNHWKHVWDIILQWHUYLHZ KHOSVLPSURYHWKHPRGHO

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H[FOXVLRQRIWKHVWDIILQWHUYLHZLQP\PRGHOLQDQ\ZD\FKDQJHVWKHRYHUDOOFRQFOXVLRQVIURPP\NH\
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VLJQLILFDQWO\FKDQJHWKHHIIHFWDVVRFLDWHGZLWK$VLDQ$PHULFDQHWKQLFLW\

     3.3. Prof. Arcidiacono’s use of a pooled model is inconsistent with an essential feature of Harvard’s
     admissions process and thus has no methodological basis

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IRUWZRUHDVRQV)LUVWKHFODLPVWKDW,DPLQFRUUHFWLQDVVHUWLQJ³DOODSSOLFDQWVHDFK\HDUDUH
FRPSDUHGWRDOORWKHUDSSOLFDQWV´6HFRQGKHDVVHUWVWKDWHVWLPDWLQJPRGHOVVHSDUDWHO\E\\HDU
³UHGXFHVWKHVWDWLVWLFDOSRZHURIWKHVDPSOH´3URI$UFLGLDFRQR¶VFODLPVODFNDQ\IDFWXDOVXSSRUW
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$SSOLFDQWVIURPWKHFODVVRIDUHQRWFRPSDUHGWRDSSOLFDQWVIURPWKHFODVVRIDQGDQ\
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DOODSSOLFDQWVHDFK\HDUDUHFRPSDUHGWRDOORWKHUDSSOLFDQWV´ ZKLFK,ZLOOWXUQWRLQWKHQH[W
VHFWLRQRIWKLVUHSRUW FRPSOHWHO\PLVVHVWKLVSRLQW:KDWLVUHOHYDQWLVQRWZKHWKHUHYHU\FDQGLGDWH
within a year LVFRPSDUHGWRHYHU\RWKHUFDQGLGDWHLQWKDW\HDUEXWZKHWKHUDSSOLFDQWVin different
years DUHFRPSDUHGWRHDFKRWKHU$JDLQLWLVQRQVHQVLFDOWRDVVXPHWKDWDQDSSOLFDQWIRUWKHFODVVRI
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$UFLGLDFRQRLPSRVHVLQKLVRZQPRGHO2QWKLVFULWLFDOLVVXH3URI$UFLGLDFRQRRIIHUVQRUHEXWWDO

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LQWRDVLQJOHPRGHOLVWKDWHVWLPDWLQJDVHSDUDWHPRGHOIRUHDFK\HDU³UHGXFHVWKHVWDWLVWLFDOSRZHURI
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SURPRWLRQVDWDODZILUPRYHUDVL[\HDUSHULRGDQGDVVHUWVWKDWLQWKDWK\SRWKHWLFDOH[DPSOH
SHUIRUPLQJWKHDQDO\VLV\HDUE\\HDUZRXOG³UHGXFHWKHVWDWLVWLFDOVLJQLILFDQFHRIILQGLQJVRI
GLVFULPLQDWLRQEXWLWZRXOGQRWPDNHDQ\VHQVH´)LUVWLWLVZRUWKQRWLQJWKDWWKHH[DPSOHRI
SURPRWLRQWRSDUWQHUDWDODZILUPLVIXQGDPHQWDOO\GLIIHUHQWIURPDGPLVVLRQVWR+DUYDUGEHFDXVH

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W\SLFDOO\DUH FRQVLGHUHGDJDLQIRUSURPRWLRQLQIXWXUH\HDUV6HFRQGDV,H[SODLQHGLQP\ILUVW
UHSRUW,UHVROYHWKHSXUSRUWHGSUREOHPRIUHGXFHGVWDWLVWLFDOVLJQLILFDQFHE\WDNLQJWKHDYHUDJHRIWKH
HVWLPDWHGUDFHHIIHFWV HJWKHHIIHFWRI$VLDQ$PHULFDQHWKQLFLW\ IURPWKHPRGHOVIRUHDFK\HDURI
GDWDZKLFKLVDVWDQGDUGVWDWLVWLFDODSSURDFKWRWKLVLVVXH,QRWKHUZRUGV3URI$UFLGLDFRQR¶V
K\SRWKHWLFDOLVWKRURXJKO\PLVOHDGLQJ+HLJQRUHVWKHLPSRUWDQWIDFWWKDWDIWHUGRLQJWKHDQDO\VLVE\
\HDU,DYHUDJHWKHUHVXOWVDFURVV\HDUVWRHQVXUHVWDWLVWLFDOSRZHU

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HWKQLFLW\FDQEHHVWLPDWHG LHWKHVWDQGDUGHUURU E\3URI$UFLGLDFRQR¶VSRROHGPRGHOYHUVXVP\
\HDUE\\HDUPRGHOLQZKLFKWKHVL[\HDUO\HVWLPDWHVDUHDYHUDJHGLQWRDVLQJOHHIIHFWUHSUHVHQWLQJ
WKHDYHUDJHHIIHFWRYHUWKHVL[FODVVHVRIDSSOLFDQWV$VZHFDQVHHLQ([KLELWWKHSUHFLVLRQRIWKH
WZRDSSURDFKHVLVQHDUO\LGHQWLFDO6SHFLILFDOO\LQWKHILUVWWZRSDQHOVRIWKLVH[KLELW,HVWLPDWH3URI
$UFLGLDFRQR¶VPRGHOSRROHGDQGWKHQDOVRVHSDUDWHO\\HDUE\\HDU7KHDSSURSULDWHPHDVXUHRI
SUHFLVLRQIRUHDFKPRGHOLVWKHVWDQGDUGHUURU$VDJHQHUDOPDWWHUVWDQGDUGHUURUVGHFUHDVH DQG
SUHFLVLRQLQFUHDVHV ZKHQDPRGHOKDVPRUHGDWD:KDWZHVHHLVWKDWWKHVWDQGDUGHUURUIURPWKH
SRROHGPRGHODQGWKH\HDUE\\HDUPRGHODYHUDJHGDFURVV\HDUVLVQHDUO\LGHQWLFDODW7KH
UHDVRQIRUWKLVLVVLPSOHE\DYHUDJLQJWKHHVWLPDWHVDFURVV\HDUV,DPWDNLQJDGYDQWDJHRIWKHVDPH
QXPEHURIREVHUYDWLRQVDV3URI$UFLGLDFRQRGRHVE\SRROLQJWKHP3URI$UFLGLDFRQR¶VDVVHUWLRQ
WKDWWKHUHLVDUHGXFWLRQLQVWDWLVWLFDOSRZHUIURPILWWLQJ\HDUE\\HDUPRGHOVLVREYLRXVO\QRWFRUUHFW
0RUHRYHUWKHUHVXOWVLQWKHVHFRQGDQGWKLUGSDQHOVRI([KLELWGHPRQVWUDWHWKDWWKHVWDQGDUGHUURU
RIWKHDYHUDJHHIIHFWIURPP\\HDUE\\HDUPRGHOLVDFWXDOO\VPDOOHUWKDQWKDWRI3URI$UFLGLDFRQR¶V
SRROHGPRGHO YV 7KLVLVEHFDXVHP\\HDUE\\HDUPRGHOGRHVDEHWWHUMRERIH[SODLQLQJ
DGPLVVLRQVGHFLVLRQV7KXVFRQWUDU\WR3URI$UFLGLDFRQR¶VDVVHUWLRQP\PRGHOILW\HDUE\\HDUDQG
WKHQDYHUDJHGKDVJUHDWHUSUHFLVLRQ LHJUHDWHUVWDWLVWLFDOSRZHU LQHVWLPDWLQJWKHHIIHFWRI$VLDQ

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SRROHGHVWLPDWH,DYHUDJHWKHVL[\HDUE\\HDUHVWLPDWHVWRREWDLQDQDYHUDJHHIIHFWDFURVVDOOVL[\HDUVRIGDWD7KLV
DSSURDFKDOORZVPHWRXVHDOOWKHDYDLODEOH\HDUVRIGDWDEXWHVWLPDWHPRGHOVWKDWPRUHDFFXUDWHO\UHIOHFW+DUYDUG¶V
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DGGLWLRQDOWUDGHRIIZKLFKDIIHFWVWKHSUHFLVLRQRIWKHHVWLPDWHV7KLVUHODWHVWRZKLFKPHWKRGKDVPRUH³GHJUHHVRI
IUHHGRP´DQGZKLFKPHWKRGKDVDEHWWHUILW7KHGHJUHHVRIIUHHGRPUHIHUWRWKHWRWDOQXPEHURIREVHUYDWLRQVLQWKH
VDPSOHPLQXVWKHWRWDOQXPEHURISDUDPHWHUVEHLQJHVWLPDWHG0\PHWKRGRIDYHUDJLQJWKHHVWLPDWHVIURPWKH\HDUO\
PRGHOVXWLOL]HVWKHVDPHQXPEHURIREVHUYDWLRQVDV3URI$UFLGLDFRQR¶VEXWKDVPRUHSDUDPHWHUVEHFDXVH,HVWLPDWHD
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         
Estimating a model either pooled or year-by-year will produce extremely similar measures of
statistical precision




Source: Augmented Arcidiacono Data; College Board Cluster Data; U.S. Census Data

Note: Models are estimated on Prof. Arcidiacono’s expanded sample including athletes. The first panel shows standard errors for Prof.
Arcidiacono’s model estimated year-by-year. The overall standard error (0.15) is the standard error for the weighted average of the yearly
effects. The second panel shows the standard error for Prof. Arcidiacono’s pooled model. The third panel shows the overall standard error
for the weighted average of the yearly effects as estimated from the Card model.



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UHDVRQIRUHVWLPDWLQJWKHPRGHOVHSDUDWHO\IRUHDFK\HDU²WKHSRROHGPRGHOLPSRVHVWKHDVVXPSWLRQ
WKDW+DUYDUGSODFHVWKHVDPHYDOXHRQHDFKFKDUDFWHULVWLFDFURVVDOO\HDUV,QP\ILUVWUHSRUW,
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                    6HFRQGDFORVHO\UHODWHGSUREOHPZLWKWKHSRROHGPRGHOLVWKDWLW
                    LPSRVHVWKHDVVXPSWLRQWKDWHYHU\IDFWRULQWKHDGPLVVLRQVSURFHVVKDV
                    WKHVDPHHIIHFWIURP\HDUWR\HDU*LYHQWKDWWKHDSSOLFDQWSRROFKDQJHV
                    IURP\HDUWR\HDULWLVTXLWHSRVVLEOHWKDWWKHUHODWLYHDEXQGDQFHDQG


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RIHVWLPDWLQJHDFKPRGHOVHSDUDWHO\E\\HDUEHFDXVHLWLQYROYHVPRUHVXEMHFWLYHMXGJPHQW1RW
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DOOHJHGGLVSDULW\EHWZHHQ$VLDQ$PHULFDQDQG:KLWHDSSOLFDQWV

     3.4. Prof. Arcidiacono’s decision to exclude certain types of applicants from his model is inconsistent
     with how Harvard’s admissions process works, and is methodologically unsound

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+DUYDUG¶VIDFXOW\DQGVWDII²DSSOLFDQWV,UHIHUWRDV$/'&DSSOLFDQWV $WKOHWH/LQHDJH
'HDQ'LUHFWRUOLVW&KLOGUHQRIIDFXOW\DQGVWDII IRUEUHYLW\,QDGGLWLRQLQKLVLQLWLDOUHSRUWKH
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         3.4.1. Prof. Arcidiacono’s claim that ALDC candidates are part of a “special” admissions process,
         and, thus, do not compete with other candidates is not supported by the data, documents, or
         depositions

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                  FDQGLGDWHVZLWKSDUWLFXODUDWWULEXWHV VXFKDVOLQHDJHDSSOLFDQWVRU
                  UHFUXLWHGDWKOHWHV KDYHDKLJKHUOLNHOLKRRGRIDGPLVVLRQGRHVQRWPHDQ
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FRPSHOOHGWRUHDFKRXWDERXWWKHLPSRUWDQFHRIQH[WZHHN¶VDGPLVVLRQVPHHWLQJIRURXUKRFNH\SURJUDP,DPIXOO\
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SURILOHZKLFKPD\HQWDLOFRPSDULQJKHUWRRWKHUFDQGLGDWHVZKRSHUKDSVKDYHORZHUDFDGHPLF
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SDUWRIDQDSSOLFDQW¶VFDQGLGDF\DQGKHUUHPDLQLQJFKDUDFWHULVWLFVDUHFRQVLGHUHGLQOLJKWRIWKHPDQ\
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ALDC applicants have higher predicted probabilities of admission than non-ALDC applicants, even
without their ALDC “tip”




Source: Augmented Arcidiacono Data; College Board Cluster Data; U.S. Census Data

Note: Data are from applicants to the classes of 2014 – 2019 in Prof. Arcidiacono’s expanded sample including athletes. ALDC applicants’
predicted probability of admission is calculated removing the effect of being an ALDC applicant (i.e. removing the effect of being a
recruited athlete, on the Dean’s or Director’s list, a lineage applicant, or a child of Harvard faculty and staff).




            3.4.2. Prof. Arcidiacono’s claim that ALDC candidates should be excluded because there is no
            disparity in admissions decisions for such candidates is methodologically unsound

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ILQGLQJELDVLQWKHUHPDLQLQJGDWD7KLVGRHVQRWPHDQWKDWWKHUHis GLVFULPLQDWLRQLQWKRVHUHPDLQLQJ
VXEJURXSV²LWPHDQVRQO\WKDWWKHUHVHDUFKHUKDVVHOHFWLYHO\DQDO\]HGWKHGDWDWRILQGDIDYRUDEOH
UHVXOW7KDWLVZK\DVDJHQHUDOPDWWHUWKHPRVWUHOLDEOHPHWKRGRORJLFDODSSURDFKIRUWHVWLQJIRUD
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LQWHUDFWLRQWHUPVEHWZHHQWKHUDFHYDULDEOHVDQGWKHUHOHYDQWGXPP\YDULDEOHVIRUWKH$/'&
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DSSURDFKLVDQDOWHUQDWLYHZD\WRDGGUHVVKLVFRQFHUQWKDWVXFKFDQGLGDWHVVKRXOGQRWEHLQFOXGHGLQ
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WKDWHPSOR\VWKLVPHWKRGRORJ\,FRQWLQXHWRILQGQRHYLGHQFHRIELDVHYHQZLWKWKLVDSSURDFK




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GLPHQVLRQVDQGHYDOXDWLQJHDFKDSSOLFDWLRQZLWKLQWKHFRQWH[WRIWKHDSSOLFDQW¶VOLIHH[SHULHQFHVDQG
RSSRUWXQLWLHVWKHPRVWUHOLDEOHPRGHORI+DUYDUG¶VDGPLVVLRQVSURFHVVVKRXOGLQFOXGHDVPXFK
UHOHYDQWLQIRUPDWLRQDVSRVVLEOHDERXWVXFKGLVWLQJXLVKLQJH[FHOOHQFHVDQGFRQWH[WIDFWRUV7KLVLVWKH
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$GGLWLRQDOO\,VKRZWKDWIRUODUJHVXEJURXSVRIDSSOLFDQWV VSHFLILFDOO\IHPDOHDSSOLFDQWVDQG
DSSOLFDQWVIURP&DOLIRUQLD WKHUHLVHYLGHQFHRIDpositive WKRXJKVWDWLVWLFDOO\LQVLJQLILFDQW 
HVWLPDWHGHIIHFWRI$VLDQ$PHULFDQHWKQLFLW\VXJJHVWLQJWKDWWKHQHJDWLYHHIIHFWRI$VLDQ$PHULFDQ
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IODZHG²ERWKFRQFHSWXDOO\DQGLQLWVHPSLULFDOLPSOHPHQWDWLRQ

     4.1. My preferred regression model shows no evidence of bias against Asian-American applicants

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UDWLQJVYDULDEOHV LHWKHSURILOHUDWLQJVVFKRROVVXSSRUWUDWLQJVDQGDOXPQLLQWHUYLHZUDWLQJV 
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LQLWLDOUHSRUW7KXVIRUHDVHRIFRPSDULVRQ,XVHKLVDSSURDFKLQWKLVUHSRUW$FRPSDULVRQRIP\LQLWLDOUHSRUWUHVXOWVZLWK
P\UHVXOWVLQWKLVUHSRUWGHPRQVWUDWHVWKDWWKHILQGLQJVRIP\PRGHODUHTXDOLWDWLYHO\WKHVDPHZLWKKLVDSSURDFKYHUVXV
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WKDW²DVZLWKWKHHIIHFWVIRUHDFKLQGLYLGXDODGPLVVLRQFODVV²LVVWDWLVWLFDOO\LQGLVWLQJXLVKDEOHIURP
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Year-by-year logit models of admission show no consistent or statistically significant evidence of
bias against Asian-American applicants




Source: Augmented Arcidiacono Data; College Board Cluster Data; U.S. Census Data

Note: Table shows the average marginal effect of race on admission for Asian-American applicants relative to White applicants using Prof.
Arcidiacono’s expanded sample including athletes. * indicates significance at the 5% level. Marginal effects are reported as percentage
point values.



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Prof. Arcidiacono’s modeling decisions overstate the effect of Asian-American ethnicity on
admissions




Source: Augmented Arcidiacono Data; College Board Cluster Data; U.S. Census Data

Note: [1] Data are from Prof. Arcidiacono’s sample. Marginal effects are calculated relative to White applicants. * indicates significance at
the 5% level. Marginal effects are reported as percentage point values. [2] ALDC applicants include lineage applicants, children of Harvard
faculty and staff, recruited athletes, and applicants on the Dean or Director’s interest lists. Such applicants are added to the sample and
indicators for ALDC groups are added to the model. [3] Additional controls include measures of participation in extracurricular activities
and indicators for being born in the United States and having lived outside of the United States. [4] Includes interactions of female with
intended concentration and race, interactions of race with indicator for Early Action, and interactions of race with missing SAT 2 average,
missing alumni rating, and indicator for having a converted GPA of 35.



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PDGHWRWKHPRGHO LHWKHPRGHOLVHVWLPDWHGE\\HDU$/'&FDQGLGDWHVDUHDGGHGEDFNLQDQG
LQIRUPDWLRQRQWKHSHUVRQDOUDWLQJSDUHQWDORFFXSDWLRQLQWHQGHGFDUHHUDQGVWDIILQWHUYLHZDUH
LQFOXGHG URZRQZDUG WKHDOOHJHGELDVLVFORVHWR]HURDQGVWDWLVWLFDOO\LQVLJQLILFDQW:KLOH,
EHOLHYHWKDWDOORIWKHVHFKDQJHVWRWKHPRGHODUHQHFHVVDU\IRULWWREHDUHOLDEOHUHSUHVHQWDWLRQRIWKH
DGPLVVLRQVSURFHVV,KDYHDOVRFRQVLGHUHGZKHWKHUVWDUWLQJZLWKP\XSGDWHGPRGHODQ\RIP\NH\
ILQGLQJVDUHVHQVLWLYHWRWKHUHPDLQLQJPHWKRGRORJLFDOFKDQJHV3URI$UFLGLDFRQRDUJXHV,VKRXOG
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LQGLFDWRUHWF ZLWKWKHUDFHYDULDEOHV6SHFLILFDOO\KHVD\V³,WLVWKXVHVVHQWLDOWRHLWKHU  UHPRYH
WKHVH>$/'&@DSSOLFDQWVIURPWKHDQDO\VLVRU  DOORZIRUWKHSRVVLELOLW\WKDWWKHHIIHFWRIUDFHLV
GLIIHUHQWIRUWKHVHDSSOLFDQWV LHLQWHUDFWLQJWKHVHYDULDEOHVZLWKUDFH ´,KDYHGRQHDVKHVXJJHVWV
DQGHVWLPDWHGP\XSGDWHGPRGHOE\DOORZLQJWKHHIIHFWRIDQDSSOLFDQW¶V$/'&VWDWXVWRYDU\E\
UDFH LHLQFOXGHGLQWHUDFWLRQVRI$/'&VWDWXVZLWKUDFH DQG,ILQGWKDWP\UHVXOWVDUHQRWVHQVLWLYH
WRWKLVFKDQJH7KHDYHUDJHHIIHFWRYHUWKHVL[\HDUVLVXQFKDQJHG 6HH([KLELW 

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There is no consistent or statistically significant evidence of bias against Asian-American
applicants even when the effect of ALDC status is allowed to vary by race




Source: Augmented Arcidiacono Data; College Board Cluster Data; U.S. Census Data

Note: Table shows average marginal effect of race on admission for Asian-American applicants relative to White applicants using the
updated Card model with interactions of race and indicators for ALDC groups. * indicates significance at the 5% level. Marginal effects are
reported as percentage point values.



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6SHFLILFDOO\KHLVFRQFHUQHGWKDWP\PRGHOGRHVQRWDOORZWKHHIIHFWRIGLVDGYDQWDJHGVWDWXVWRYDU\


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+DUYDUGIDFXOW\DQGVWDIIDQGDSSOLFDQWVRQWKH'HDQ¶VRU'LUHFWRU¶VLQWHUHVWOLVWVKHFRQWLQXHVWRH[FOXGHUHFUXLWHG
DWKOHWHVIURPWKHVDPSOH$VQRWHGDERYHLWLVP\XQGHUVWDQGLQJWKDWUHFUXLWHGDWKOHWHVDUHSDUWRIWKHVDPHDGPLVVLRQV
SURFHVVDVDOORWKHUDSSOLFDQWV,WKHUHIRUHLQFOXGHUHFUXLWHGDWKOHWHVLQP\SUHIHUUHGPRGHO+RZHYHUEHFDXVH3URI
$UFLGLDFRQRSUHVHQWVDPRGHOWKDWH[FOXGHVUHFUXLWHGDWKOHWHV,DOVRHVWLPDWHP\PRGHOH[FOXGLQJWKHVHDSSOLFDQWVDQG
FRQILUPWKDWLWGRHVQRWDIIHFWP\ILQGLQJWKDWWKHUHLVQRHYLGHQFHRIELDVDJDLQVW$VLDQ$PHULFDQDSSOLFDQWV6HH
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ILQGWKDWP\FRQFOXVLRQ WKDWWKHUHLVQRHYLGHQFHRIELDVDJDLQVW$VLDQ$PHULFDQDSSOLFDQWV LVQRW
VHQVLWLYHWRWKLVFKDQJH$OWKRXJKWKHDYHUDJHPDUJLQDOHIIHFWDFURVVWKHVL[\HDUVEHFRPHVVOLJKWO\
PRUHQHJDWLYHLWLVVWLOOVWDWLVWLFDOO\LQGLVWLQJXLVKDEOHIURP]HURDQGWKHUHLVVWLOODPL[RISRVLWLYHDQG
QHJDWLYHHIIHFWVDFURVVWKHVL[\HDUV VHH([KLELW 

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There is no consistent or statistically significant evidence of bias against Asian-American
applicants even when the effect of disadvantaged status is allowed to vary by race




Source: Augmented Arcidiacono Data; College Board Cluster Data; U.S. Census Data

Note: Table shows the average marginal effect of race on admission for Asian-American applicants relative to White applicants using the
updated Card model with interaction of race and indicator for disadvantaged. * indicates significance at the 5% level. Marginal effects are
reported as percentage point values.



        7KLUG3URI$UFLGLDFRQRGLVDJUHHVZLWKKRZ,KDYHXVHGWKHDYDLODEOHH[WUDFXUULFXODU
DFWLYLW\LQIRUPDWLRQLQWKH+DUYDUGGDWDEDVH+HFRPSODLQVWKDWWZRRIP\PRGHOLQJGHFLVLRQV²
DJJUHJDWLQJWKHDFWLYLWLHVLQWRJURXSVDQGRPLWWLQJKRXUVVSHQWRQDFWLYLWLHVRWKHUWKDQZRUN²
FDXVHPHWRXQGHUVWDWHWKHHVWLPDWHGHIIHFWRI$VLDQ$PHULFDQHWKQLFLW\7KHYDULDEOHVKHXVHVLQ
SODFHRIPLQHKDYHWKHLURZQOLPLWDWLRQVKRZHYHU)RUH[DPSOH3URI$UFLGLDFRQRXVHVDFRDUVH
PHDVXUHRIKRXUVRISDUWLFLSDWLRQZKLFKIDLOVWRLGHQWLI\WKHVWXGHQWVPRVWFRPPLWWHGWRDSDUWLFXODU
DFWLYLW\DQGKLVPHDVXUHRI\HDUVRISDUWLFLSDWLRQLQDJLYHQDFWLYLW\JLYHVHTXDOZHLJKWWRDOO
LQVWDQFHVRISDUWLFLSDWLRQUHJDUGOHVVRIWKHVHULRXVQHVVRIWKHVWXGHQW¶VFRPPLWPHQW7KHVHIHDWXUHV
DSSHDUWRUHZDUGEUHDGWKRISDUWLFLSDWLRQVOLJKWO\PRUHWKDQGHSWK:KLOH,GLVDJUHHZLWKDQXPEHURI
3URI$UFLGLDFRQR¶VGHFLVLRQVDERXWKRZWRXVHWKHDYDLODEOHLQIRUPDWLRQDERXWDSSOLFDQWV¶

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  3URI$UFLGLDFRQRDOVRLQFOXGHVLQKLVSUHIHUUHGPRGHODQXPEHURIRWKHULQWHUDFWLRQYDULDEOHVVXFKDVDOORZLQJWKH
HIIHFWRIUDFHRULQWHQGHGFRQFHQWUDWLRQWRYDU\E\JHQGHURUDOORZLQJWKHHIIHFWRIKDYLQJDPLVVLQJDOXPQLLQWHUYLHZ
UDWLQJWRYDU\E\UDFH,GRQRWLQFOXGHWKHVHLQWHUDFWLRQWHUPVLQP\PRGHO$V,GLVFXVVHGLQP\LQLWLDOUHSRUWWKHFKRLFH
WRLQFOXGHLQWHUDFWLRQVVKRXOGEHLQIRUPHGE\DFOHDUHFRQRPLFWKHRU\RUPHWKRGRORJLFDOJRDOVLQFHWKHUHDUHKXQGUHGVRI
SRWHQWLDOLQWHUDFWLRQVRQHFRXOGDGGWRWKHDGPLVVLRQVPRGHO &DUG5HSRUWS 
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YDULDEOHVDQGVKRZWKDW,VWLOOILQGQRHYLGHQFHRIELDVDJDLQVW$VLDQ$PHULFDQDSSOLFDQWV 6HH
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There is no consistent or statistically significant evidence of bias against Asian-American
applicants even when Prof. Arcidiacono’s preferred measures of extracurricular activity
participation are used




Source: Augmented Arcidiacono Data; College Board Cluster Data; U.S. Census Data

Note: Table shows the average marginal effect of race on admission for Asian-American applicants relative to White applicants using the
updated Card model with Prof. Arcidiacono’s preferred measures of extracurricular activity participation. * indicates significance at the 5%
level. Marginal effects are reported as percentage point values.



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H[FOXGHKRXUVVSHQWRQRWKHUDFWLYLWLHVEHFDXVHZRUNDFWLYLWLHV³DUHRQO\WKHHLJKWKPRVWSRSXODU
DFWLYLW\OLVWHGIRUZKLWHV´DQGHOHYDWLQJZRUNDERYHRWKHUH[WUDFXUULFXODUDFWLYLWLHV³GLVWRUWVWKH
DQDO\VLV´VLQFH:KLWHDSSOLFDQWVZRUNPRUHKRXUVWKDQ$VLDQ$PHULFDQDSSOLFDQWV,LQFOXGHGWKLV
SDUWLFXODUPHDVXUHEHFDXVHWKHQXPEHURIKRXUVDVWXGHQWZRUNVLQDMRELVDVWUDLJKWIRUZDUGPHDVXUH
RIDVWXGHQW¶VVRFLRHFRQRPLFVWDWXVDV,KDYHSUHYLRXVO\GLVFXVVHGDQGWKHUHDUHOLPLWHGLQGLYLGXDO
VSHFLILFPHDVXUHVRIVRFLRHFRQRPLFVWDWXVDYDLODEOHLQWKHGDWDEDVH&UXFLDOO\3URI$UFLGLDFRQR¶V
SUHIHUUHGPHDVXUHVRIKRXUVVSHQWZRUNLQJ ZKHWKHUDERYHRUEHORZPHGLDQKRXUV FDQQRWLGHQWLI\
IXOO\WKHGHJUHHWRZKLFKWKHUHLVYDULDWLRQDPRQJDSSOLFDQWVLQKRXUVZRUNHGDWDMRE

       )RXUWKDVGLVFXVVHGLQ6HFWLRQDERYH3URI$UFLGLDFRQRFULWLFL]HVP\PRGHO
EHFDXVHLWLQFOXGHVSDUHQWDORFFXSDWLRQYDULDEOHVWKDWKHFRQVLGHUV³XQUHOLDEOH´SULPDULO\EHFDXVH
WKH\YDU\IURPRQH\HDUWRWKHQH[W$OWKRXJKP\\HDUE\\HDUPRGHODGGUHVVHVKLVFRQFHUQ,
KDYHDOVRFRQGXFWHGDVHQVLWLYLW\ZKHUH,FODVVLI\SDUHQW¶VRFFXSDWLRQLQWRDFRPELQHG³PLVVLQJRU

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GXHWRWKHLUIOXFWXDWLRQVRYHUWLPH 2WKHU+RPHPDNHU8QHPSOR\HG/RZ6NLOODQG6HOI
(PSOR\HG $JDLQDVGHPRQVWUDWHGLQ([KLELWP\UHVXOWVDUHQRWDWDOOVHQVLWLYHWRWKLVGHFLVLRQ
DQGP\FRQFOXVLRQWKDWWKHUHLVQRHYLGHQFHRIELDVDJDLQVW$VLDQ$PHULFDQDSSOLFDQWVLV
XQFKDQJHG

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There is no consistent or statistically significant evidence of bias against Asian-American
applicants even when I modify my parental occupation variables to address Prof. Arcidiacono’s
critique




Source: Augmented Arcidiacono Data; College Board Cluster Data; U.S. Census Data

Note: Table shows the average marginal effect of race on admission for Asian-American applicants relative to White applicants using the
updated Card model with modifications to parental occupation controls, grouping ‘Laborer (Unskilled)’, ‘Low Skill’, ‘Self-Employed’,
‘Unemployed’, ‘Homemaker’, and ‘Other’ as one occupation category. * indicates significance at the 5% level. Marginal effects are reported
as percentage point values.



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PRUHWHFKQLFDOFULWLTXHDERXWKRZ,DJJUHJDWHGRFFXSDWLRQDOFDWHJRULHV
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There is no consistent or statistically significant evidence of bias against Asian-American
applicants even if staff interview ratings are excluded from the model




Source: Augmented Arcidiacono Data; College Board Cluster Data; U.S. Census Data

Note: Table shows average marginal effect of race on admission for Asian-American applicants relative to White applicants using the
updated Card model removing the indicator for receiving a staff interview rating. * indicates significance at the 5% level. Marginal effects
are reported as percentage point values.



     4.2. Analysis of key subgroups of the data provides further evidence that there is no bias in
     Harvard’s admissions process

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HIIHFWRI$VLDQ$PHULFDQHWKQLFLW\IRUWZRNH\VXEJURXSVRI$VLDQ$PHULFDQDSSOLFDQWVIHPDOH
DSSOLFDQWVDQGDSSOLFDQWVIURP&DOLIRUQLDGRFNHWV 5HFDOOWKDWWKH$GPLVVLRQV&RPPLWWHHGLYLGHV
+DUYDUGDSSOLFDQWVLQWRGRFNHWVEDVHGRQWKHJHRJUDSKLFUHJLRQRIHDFKDSSOLFDQW¶VKLJKVFKRRO ,Q
WKDWUHSRUW,H[SODLQHGWKDWDQDO\VLVRIVXEJURXSVRIDSSOLFDQWVLVDZHOODFFHSWHGPHWKRGIRUKHOSLQJ
DVVHVVZKHWKHUDQDYHUDJHXQH[SODLQHGJDSEHWZHHQWZRJURXSVRIDSSOLFDQWVLVFDXVHGE\
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                    DVVHVVZKHWKHULWLVUREXVWDQGFRQVLVWHQWDFURVVVXEJURXSVDQGWLPH
                    SHULRGVLQWKHGDWD,IGLVFULPLQDWLRQDJDLQVW$VLDQ$PHULFDQDSSOLFDQWV
                    ZHUHWKHFDXVHRIWKHUDFLDOGLVSDULW\LQDGPLVVLRQUDWHVRQHZRXOG
                    H[SHFWWRVHHDV\VWHPDWLFDQGUREXVWUDFLDOGLIIHUHQFHLQDGPLVVLRQUDWHV
                    DFURVVDOOUHOHYDQWVXEJURXSVDQGWLPHSHULRGV%\FRQWUDVWLIWKHJDS
                    LQVWHDGUHIOHFWVGLIIHUHQFHVDFURVVUDFHLQIDFWRUVWKDW+DUYDUGFRQVLGHUV
                    ZKHQPDNLQJDGPLVVLRQVGHFLVLRQV²EXWWKDWDUHPLVVLQJIURPWKH
                    PRGHO²LWLVPXFKPRUHOLNHO\WKDWWKHJDSZLOOYDU\DFURVVVXEJURXSV

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FULWLFLVPVRIP\PRGHO6HFRQGKHVWDWHVWKDW,KDYHIDLOHGWRVKRZWKDWWKHVHVXEJURXSVDUH
³VWDWLVWLFDOO\GLIIHUHQWIURP>P\@RWKHUILQGLQJV´7KLUGKHVWDWHVWKDWKLVFRQFHUQVZLWKWKHUDWLQJ
FRPELQDWLRQV,XVHLQP\PDLQPRGHODUHH[DFHUEDWHGZKHQ,HVWLPDWHP\DQDO\VLVDWWKHVXEJURXS
OHYHO,QWKHUHPDLQGHURIWKLVVHFWLRQ,H[SODLQZK\WKHVHFULWLTXHVDUHIODZHGDQGZK\P\NH\
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$UFLGLDFRQR¶VFULWLFLVPVRIP\PDLQPRGHO$VH[SODLQHGP\PRGHOPRUHDFFXUDWHO\UHIOHFWVWKH
SURFHVV+DUYDUGDFWXDOO\XVHVWRVHOHFWDPRQJDSSOLFDQWV0\PRGHOGRHVQRWILOWHURXWDQ\DSSOLFDQWV
LQRUGHUWRREWDLQDSDUWLFXODUUHVXOW0\PRGHOLVDOVROHVVVXEMHFWWRWKHRPLWWHGYDULDEOHELDV
HQGHPLFLQ3URI$UFLGLDFRQR¶VDQDO\VLVDQGLWSURSHUO\FRQVLGHUVWKHIXOOHVWSRVVLEOHVHWRIFULWHULD
+DUYDUGXVHVZKHQVHOHFWLQJVWXGHQWV

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GLIIHUHQFHVEHWZHHQWKLVVXEJURXSDQGWKHRYHUDOOPDLQPRGHO²PLVVHVWKHSRLQWRIWKHDQDO\VLV7KH
JRDORIWKLVDQDO\VLVLVWRKHOSGLVWLQJXLVKEHWZHHQDK\SRWKHVLVRIELDVDQGDK\SRWKHVLVRI
XQPHDVXUHGGLIIHUHQFHV,I+DUYDUGZHUHLQIDFWELDVHGLQLWVGHFLVLRQV,ZRXOGQRWH[SHFWWRVHHD
VPDOOpositive WKRXJKVWDWLVWLFDOO\LQVLJQLILFDQW HVWLPDWHGHIIHFWRI$VLDQ$PHULFDQHWKQLFLW\LQWZR
RIWKHODUJHVWVXEJURXSVRI$VLDQ$PHULFDQDSSOLFDQWV DFFRXQWLQJIRUQHDUO\WZRWKLUGVRI$VLDQ
$PHULFDQDSSOLFDQWV ,ZRXOGLQVWHDGH[SHFWWRVHHDUREXVWSDWWHUQRIQHJDWLYHELDVDFURVVPRVW
$VLDQ$PHULFDQVXEJURXSV7KXVWKHSDWWHUQV,REVHUYHLQP\VXEJURXSDQDO\VLVDUHPRUHFRQVLVWHQW
ZLWKWKHIDFWWKDWGLIIHUHQWJURXSVRIDSSOLFDQWVKDYHGLIIHUHQWXQREVHUYHGFKDUDFWHULVWLFVWKDQZLWKD
WKHRU\RIGLVFULPLQDWLRQLQZKLFKWKHDGPLVVLRQVFRPPLWWHHWDUJHWVLWVDQLPXVWRDQDUELWUDU\ DQG
UHODWLYHO\VPDOO VXEJURXSRI$VLDQ$PHULFDQDSSOLFDQWV

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WKHVHUHVXOWVDUHUREXVWWR3URI$UFLGLDFRQR¶VFRQFHUQV

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The estimated effect of Asian-American ethnicity is positive (though statistically insignificant) for
Asian-American women




Source: Augmented Arcidiacono Data; College Board Cluster Data; U.S. Census Data

Note: Table shows the average marginal effect of race on admission for Asian-American applicants relative to White applicants using the
updated Card model on the sample of female applicants. * indicates significance at the 5% level. Marginal effects are reported as
percentage point values.




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$VLDQ$PHULFDQHWKQLFLW\ IRUIHPDOHDSSOLFDQWVDQGDSSOLFDQWVIURP&DOLIRUQLDZLWKLQWKHVDPSOH3URI$UFLGLDFRQR
SUHIHUV H[FOXGLQJDSSOLFDQWVZKRDUHOLQHDJHUHFUXLWHGDWKOHWHVFKLOGUHQRI+DUYDUGIDFXOW\VWDIIRURQWKH'HDQ¶VRU
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The estimated effect of Asian-American ethnicity is positive (though statistically insignificant) for
Asian-American applicants from California




Source: Augmented Arcidiacono Data; College Board Cluster Data; U.S. Census Data

Note: Table shows the average marginal effect of race on admission for Asian-American applicants relative to White applicants using the
updated Card model on the sample of applicants applying from California dockets. * indicates significance at the 5% level. Marginal efects
are reported as percentage point values.



        $VGLVFXVVHGDERYHLQ6HFWLRQ3URI$UFLGLDFRQR¶VUHEXWWDOUHSRUWSURSRVHVDQHZ
WKHRU\WKDW+DUYDUG¶VDOOHJHGGLVFULPLQDWLRQDJDLQVW$VLDQ$PHULFDQDSSOLFDQWVGRHVQRWDSSO\WRWKH
$/'&DSSOLFDQWVKHFODLPVKDYHDGLIIHUHQWDGPLVVLRQVSURFHVVEHFDXVHWKHUHLVQRQHJDWLYHJDSLQ
DGPLVVLRQUDWHVEHWZHHQ:KLWHDQG$VLDQ$PHULFDQDSSOLFDQWVLQWKRVHJURXSV,IRQHWDNHVVHULRXVO\
3URI$UFLGLDFRQR¶VQHZFODLPWKDW+DUYDUGVRPHKRZGLVFULPLQDWHVRQO\DJDLQVWVRPHVXEJURXSVRI
$VLDQ$PHULFDQDSSOLFDQWVP\DQDO\VLVDERYHVKRZVWKDWDSSOLFDQWVIURP&DOLIRUQLDDQGIHPDOH
DSSOLFDQWVDUHDOVRQRWGLVFULPLQDWHGDJDLQVW6XFKDSSOLFDQWVUHSUHVHQWQHDUO\WZRWKLUGV  RIDOO
GRPHVWLF$VLDQ$PHULFDQDSSOLFDQWVWR+DUYDUGRYHUWKHVL[FODVVHVIURPWKURXJK3URI
$UFLGLDFRQRGRHVQRWH[SODLQKRZRUZK\+DUYDUGZRXOGGLVFULPLQDWHRQO\DJDLQVW$VLDQ$PHULFDQ
PHQIURPVWDWHVRWKHUWKDQ&DOLIRUQLDDQGLWZRXOGVHHPWREHQRQVHQVLFDOIRU+DUYDUGWRUXQDFRVWO\
DQGKLJKO\FRPSOH[DGPLVVLRQVSURFHVVDQGRQO\GLVFULPLQDWHDJDLQVW$VLDQ$PHULFDQDSSOLFDQWV
IURPVRPHVWDWHV²H[FOXGLQJWKRVHIURPWKHVWDWHZLWKWKHODUJHVWIUDFWLRQRI$VLDQ$PHULFDQ
DSSOLFDQWV$PRUHVHQVLEOHLQWHUSUHWDWLRQRIWKHGLIIHUHQFHVDFURVVVXEJURXSVLQWKHHIIHFWRI$VLDQ
$PHULFDQHWKQLFLW\LVWKDWWKHUHDUHXQREVHUYHGGLIIHUHQFHVEHWZHHQYDULRXVVXEJURXSVRIFDQGLGDWHV
WKDWFDXVHWKHGLVSDULW\WREHSRVLWLYHIRUVRPHQHJDWLYHIRURWKHUVDQGVWDWLVWLFDOO\LQGLVWLQJXLVKDEOH
IURP]HURDVDZKROH

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DUHHQWLUHO\LQFRQVLVWHQWZLWKV\VWHPDWLFGLVFULPLQDWLRQDJDLQVW$VLDQ$PHULFDQDSSOLFDQWV6))$

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SDWWHUQV:LWKRXWDQ\H[SODQDWLRQRUWKHRU\IRUZK\VXFKDSDWWHUQRIGLVFULPLQDWLRQZRXOGH[LVWWKH
IDFWWKDWVRPDQ\VXEJURXSVRI$VLDQ$PHULFDQDSSOLFDQWVVKRZQRHYLGHQFHRIELDVLVVWURQJ
HYLGHQFHLQVXSSRUWRIP\EURDGHUFODLPWKDWWKHVPDOOGLIIHUHQFHVLQDGPLVVLRQEHWZHHQ$VLDQ
$PHULFDQDSSOLFDQWVDQG:KLWHDSSOLFDQWVDUHEHVWLQWHUSUHWHGDVGLIIHUHQFHVEHWZHHQWKHWZRJURXSV
RIDSSOLFDQWVLQFKDUDFWHULVWLFVWKDWDUHQRWSHUIHFWO\PHDVXUHGE\WKHDGPLVVLRQVGDWDUDWKHUWKDQE\
UDFLDOELDVDJDLQVW$VLDQ$PHULFDQDSSOLFDQWV

      4.3. Prof. Arcidiacono’s new allegation of bias against dockets with larger shares of Asian-American
      applicants lacks any causal credibility

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DOOHJHGO\LPSRVHVUDFLDO³SHQDOWLHV´+HFODLPVWKDW+DUYDUG³FRXOGDOVRLPSRVHUDFLDOSUHIHUHQFHVRU
SHQDOWLHVWKURXJKLQGLUHFWFKDQQHOVVXFKDVJHRJUDSKLFSUHIHUHQFHVEDVHGRQWKHGHPRJUDSKLFVRIWKH
WDUJHWHGDUHDV´,QPDNLQJWKLVFODLP3URI$UFLGLDFRQRSUHVHQWVQRGRFXPHQWDU\HYLGHQFHRIVXFK
EHKDYLRUE\+DUYDUG1RQHWKHOHVVKHSUHVHQWVDQDQDO\VLVWKDWSXUSRUWVWRVKRZWKDW+DUYDUGLV
ELDVHGDJDLQVWGRFNHWVZLWKDODUJHUVKDUHRI$VLDQ$PHULFDQDSSOLFDQWV6SHFLILFDOO\KHDOOHJHVWKDW
+DUYDUGSHQDOL]HVDSSOLFDQWVRIallUDFHVUHJDUGOHVVRIRWKHUTXDOLILFDWLRQVDQGRUOLIHH[SHULHQFHV
VLPSO\EHFDXVHWKH\FRPHIURPGRFNHWVWKDWKDSSHQWRKDYHKLJKHUVKDUHVRI$VLDQ$PHULFDQ
DSSOLFDQWV7KHUHDUHVLJQLILFDQWSUREOHPVZLWKWKLVDUJXPHQW

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&DOLIRUQLDGRFNHWV GLVFXVVHGLQWKHSUHYLRXVVHFWLRQ DUHWKHGRPHVWLFGRFNHWVZLWKWKHWKUHHODUJHVW
VKDUHVRI$VLDQ$PHULFDQDSSOLFDQWVLQWKHVDPSOH7KHVHGRFNHWVFRQWDLQRYHUDSSOLFDQWV
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DSSOLFDQWV7KHDSSDUHQWORJLFKHUHLVWKDWUDWKHUWKDQLPSRVHDGLUHFWSHQDOW\RQ$VLDQ$PHULFDQ
DSSOLFDQWV+DUYDUGLVSHQDOL]LQJODUJHVZDWKVRILWVDSSOLFDQWSRROVLPSO\EHFDXVHWKH\DUHIURPDQ
DUHDZLWKDKLJKVKDUHRI$VLDQ$PHULFDQDSSOLFDQWV7KLVLVDQLOOIRXQGHGFODLPEDVHGRQDQ
XQXVXDOWKHRU\RIGLVFULPLQDWLRQ$V,ZLOOGLVFXVVLQPRUHGHWDLOEHORZLWLVSDUWLFXODUO\XQXVXDO
EHFDXVHWKHHVWLPDWHGHIIHFWRIHWKQLFLW\IRU$VLDQ$PHULFDQDSSOLFDQWVIURPWKH&DOLIRUQLDGRFNHWV
LVpositive WKRXJKVWDWLVWLFDOO\LQVLJQLILFDQW :K\ZRXOG+DUYDUGDGPLW$VLDQ$PHULFDQDSSOLFDQWV
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FKDUDFWHULVWLFVDQGWKHQDWWKHVDPHWLPHSHQDOL]HDSSOLFDQWVRIallUDFHVRQWKHVHGRFNHWVLQDQ
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FROOHFWLQJWKHFRHIILFLHQWVIRUHDFKRIWKHVHSDUDWHGRFNHWVIURPKLVDGPLVVLRQVPRGHO7KHVH
FRHIILFLHQWVUHSUHVHQWWKHDYHUDJHHIIHFWRIEHLQJIURPDJLYHQGRFNHWRQDQDSSOLFDQW¶VSUREDELOLW\RI
DGPLVVLRQDIWHUFRQWUROOLQJIRURWKHUIDFWRUVLQWKHDGPLVVLRQVPRGHO ZLWKLQDJLYHQ\HDU 7KH
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KLJKVFKRROVDQGWKXVPD\KDYHGLIIHUHQWOHYHOVRISUHSDUHGQHVV7KRVHGLIIHUHQFHVZRXOGEH
FDSWXUHGE\WKHGRFNHWFRHIILFLHQWVEHFDXVH³SUHSDUHGQHVV´LVQRWDYDULDEOHGLUHFWO\DFFRXQWHGIRULQ
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WKHVKDUHRIWKHGRFNHWWKDWLV$VLDQ$PHULFDQDQGILQGVDQHJDWLYHFRUUHODWLRQ%DVHGRQWKLV
DQDO\VLVDORQHKHWKHQDVVHUWVWKDWWKLVFRUUHODWLRQVKRZVDcausalUHODWLRQVKLSEHWZHHQDGRFNHW¶V
DGPLVVLRQUDWHDQGWKHVKDUHRI$VLDQ$PHULFDQDSSOLFDQWVRQWKHGRFNHW$FDXVDOUHODWLRQVKLSRI
WKLVVRUWZRXOGUHIOHFWDGLVFULPLQDWLRQVFKHPHLQZKLFK+DUYDUGSHQDOL]HVZKROHGRFNHWVVRWKDWLW
FDQLQGLUHFWO\SHQDOL]H$VLDQ$PHULFDQDSSOLFDQWV

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specific characteristics7KHGLIIHUHQFHVEHWZHHQGRFNHWVPHDVXUHGE\WKHGRFNHWIL[HGHIIHFWVFRXOG
EHGXHWRDQ\QXPEHURIWKLQJVXQREVHUYHGPHDVXUHVRIVFKRROFRPSRVLWLRQVRFLRHFRQRPLFVRU
HYHQJHRJUDSKLFSUR[LPLW\WR+DUYDUG3URI$UFLGLDFRQR¶VVLPSOHFRUUHODWLRQDQDO\VLVGRHVQRWDOORZ
KLPWRGLVFHUQZKHWKHUWKHGLIIHUHQWDGPLVVLRQUDWHVDFURVVGRFNHWVDUHGXHWRWKHVKDUHRI$VLDQ
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DSSOLFDQWVRQDGRFNHWFDXVHV+DUYDUGWRGLVFULPLQDWHDJDLQVWHYHU\RQHLQWKDWGRFNHW,QWKHVHFRQG
URZXVLQJWKHH[DFWVDPHDSSURDFK,VKRZWKDW+DUYDUGKDVDQHYHQPRUHLQWHQVH³ELDV´DJDLQVW
GRFNHWVZLWKDKLJKVKDUHRIDSSOLFDQWVZKRUHFHLYHDJXLGDQFHFRXQVHORUUDWLQJRIRU,QRWKHU
ZRUGVWDNLQJ3URI$UFLGLDFRQR¶VDQDO\VLVVHULRXVO\RQHZRXOGEHIRUFHGWRFRQFOXGHWKDW+DUYDUG
GLVFULPLQDWHVDJDLQVWVWXGHQWVZLWKVWURQJUDWLQJVIURPJXLGDQFHFRXQVHORUVE\ORZHULQJWKH
DGPLVVLRQUDWHRQGRFNHWVZKHUHWKH\DUHPRVWFRPPRQ2IFRXUVHWKLVLVQRWWUXH7KHRQO\
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UDWLQJDQG$VLDQ$PHULFDQHWKQLFLW\7KLVLV\HWDQRWKHUH[DPSOHRIDFRPPRQSDWWHUQLQ3URI
$UFLGLDFRQR¶VHPSLULFDODQDO\VLV²LPSOHPHQWLQJDQDO\VHVWKDWGRQRWFRQWUROIRUUHOHYDQWIDFWRUVDQG
WKHQLQWHUSUHWLQJWKHUHVXOWVDVHYLGHQFHRIELDVDJDLQVW$VLDQ$PHULFDQDSSOLFDQWV

         
Simple changes to Prof. Arcidiacono’s analysis of docket-level bias show that his allegations are not
credible




Source: Augmented Arcidiacono Data; College Board Cluster Data; U.S. Census Data

Note: Docket-year fixed effects are obtained from Prof. Arcidiacono’s preferred admissions model estimated using applicants to the classes
of 2014 – 2019 who are in his expanded sample excluding athletes. Regressions of docket-year fixed effects on shares also contain year
fixed effects. * indicates significance at the 5% level.



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DSSOLFDQWVIURPVSHFLILFGRFNHWVZKHUHWKH\DUHPRVWKLJKO\FRQFHQWUDWHGDPXFKPRUHSODXVLEOH
VFHQDULRZRXOGEHWKDW+DUYDUGZRXOG³UDLVHWKHEDU´DELWKLJKHUIRUonly WKH$VLDQ$PHULFDQ
DSSOLFDQWVIURPWKRVHGRFNHWV²UDWKHUWKDQLPSRVLQJDSHQDOW\RQWKHPDMRULW\RIDSSOLFDQWVZKRDUH
QRW$VLDQ$PHULFDQLQWKRVHGRFNHWV,QIDFWWKLVLVDWKHRU\WKDW,H[SORUHGLQP\ILUVWUHSRUWDQG
DJDLQLQ6HFWLRQRIWKLVUHSRUW7KHSURSHUZD\WRWHVWVXFKDWKHRU\LVWRHVWLPDWHWKHIXOO
DGPLVVLRQVPRGHO FRQWUROOLQJIRUDVPXFKLQIRUPDWLRQDVSRVVLEOH RQDSSOLFDQWVIURPVXFKGRFNHWV
DQGWKHQWHVWZKHWKHUWKHUHLVDQ\HYLGHQFHRIDODUJHUGLVSDULW\EHWZHHQ:KLWHDQG$VLDQ$PHULFDQ
DSSOLFDQWVLQWKHGRFNHWVZKHUH$VLDQ$PHULFDQDSSOLFDQWVDUHPRUHFRQFHQWUDWHG$V,VKRZHGLQ
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DSSOLFDQWV\HWVLPXOWDQHRXVO\WUHDW$VLDQ$PHULFDQDSSOLFDQWVin those same docketsDELWEHWWHUWKDQ
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      4.4. Other technical criticisms of my model do not change my findings

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WKDWGRQRWDIIHFWP\FRQFOXVLRQV)RUH[DPSOHKHFULWLFL]HVP\GHFLVLRQWRLQFOXGHDOODSSOLFDQWV
 LQFOXGLQJWKRVHIRUZKRPDGPLVVLRQRUUHMHFWLRQLVSHUIHFWO\SUHGLFWHG LQP\DYHUDJHPDUJLQDO
HIIHFWFDOFXODWLRQDQGP\GHFLVLRQWRPRGHOSURILOHUDWLQJVXVLQJYDULDEOHVWKDWUHIOHFWVSHFLILF
FRPELQDWLRQVRIWKHIRXUSURILOHUDWLQJVDVRSSRVHGWRPRGHOLQJWKHHIIHFWRIHDFKSURILOHUDWLQJ
VHSDUDWHO\,QWKLVVHFWLRQ,DGGUHVVWKHVHFULWLFLVPV

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RYHUallGRPHVWLFDSSOLFDQWV6SHFLILFDOO\KHDUJXHVWKDW,VKRXOGH[FOXGHIURPP\FDOFXODWLRQ
DSSOLFDQWVZKRDUHQRWFRPSHWLWLYHLHWKRVHZKRKDYHDPDUJLQDOHIIHFWRIUDFHWKDWLV]HURGXHWR
WKHIDFWWKDWWKHLUUHMHFWLRQLVSHUIHFWO\SUHGLFWHGE\RQHRIWKHYDULDEOHVLQWKHPRGHO+HDUJXHV
WKDWLQFOXGLQJVXFKDSSOLFDQWVLVPLVOHDGLQJDQGFDXVHVPHWR³GLOXWHWKHHVWLPDWHVRISUHIHUHQFHVE\
LQFOXGLQJPDQ\DSSOLFDQWVZKRVHFKDUDFWHULVWLFVDUHVXFKWKDWUHMHFWLRQLVDVVXUHG´+HIXUWKHU
VWDWHVWKDW³>D@FRQVHUYDWLYHSRVLWLRQZRXOGEHWRIRFXVWKHWHVWLQJIRUUDFLDOSUHIHUHQFHVRUSHQDOWLHV
RQDOORIWKRVHDSSOLFDQWVZKRDUHQRWLPPHGLDWHO\UXOHGRXW²ZKLFKZRXOGPHDQUHPRYLQJSHUIHFW
SUHGLFWLRQV´:KLOHWKLVLVDPLQRUSRLQWWKHUHDUHDQXPEHURISUREOHPVZLWK3URI$UFLGLDFRQR¶V
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RI$VLDQ$PHULFDQHWKQLFLW\LQP\XSGDWHGPRGHO$VVKRZQDERYHLQ([KLELWWKHHIIHFWUHPDLQV
WKHVDPHZKHQ,DFFRXQWIRUSHUIHFWO\SUHGLFWHGDSSOLFDQWVLQP\PDUJLQDOHIIHFWFDOFXODWLRQ

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 DQGFRQWLQXHWRGRLQWKLVUHSRUW LVexactlyZKDWKHVD\V,VKRXOGGR$OWKRXJKWKHDYHUDJHPDUJLQDO
HIIHFWVUHSRUWHGLQP\LQLWLDOUHSRUWUHIOHFWDQDYHUDJHWKDWLQFOXGHVDOODSSOLFDQWVWKHVWDWLVWLFDOWHVW,
FRQGXFWWRGHWHUPLQHZKHWKHUWKHHIIHFWLVVWDWLVWLFDOO\LQGLVWLQJXLVKDEOHIURP]HURLVEDVHGonly upon
applicants who are not perfectly predictedLHWKHDSSOLFDQWV3URI$UFLGLDFRQRVD\VWKHWHVWVKRXOG
EHEDVHGRQ7KLVPHDQVWKDWWKHUHVXOWVRIP\VWDWLVWLFDOWHVWDUHWKHVDPHZKHWKHURUQRW,LQFOXGH
SHRSOHZKRDUHSHUIHFWO\SUHGLFWHGLQWKHFDOFXODWLRQRIP\DYHUDJHPDUJLQDOHIIHFW$GGLWLRQDOO\DV
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DSSOLFDQWVZLWKDQDFDGHPLFUDWLQJRILQWKDW\HDUZRXOGEH³SHUIHFWO\SUHGLFWHG´DQGWKXVWKHPDUJLQDOHIIHFWRIWKHLU
HWKQLFLW\ ZKHWKHULWEH$VLDQ$PHULFDQRUVRPHWKLQJHOVH ZRXOGEH]HUR
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UHMHFWLRQLVSHUIHFWO\SUHGLFWHG EXWDOVRthe most competitive applicants WKRVHZKRVHDGPLVVLRQLV
SHUIHFWO\SUHGLFWHG :KLOHWKHUHDUHIDUIHZHUDSSOLFDQWVZKRDUHSHUIHFWO\SUHGLFWHGWREHDGPLWWHG
FRQWUDU\WR3URI$UFLGLDFRQR¶VFODLPP\DSSURDFKZDVQRWRQHVLGHGLQWKHVHQVHWKDWLWRQO\
LQFOXGHGXQFRPSHWLWLYHDSSOLFDQWV,LQFOXGHGERWKWKHPRVWFRPSHWLWLYHDQGWKHOHDVWFRPSHWLWLYH
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SURILOHUDWLQJVLQP\\HDUE\\HDUPRGHOV+HDUJXHVWKDWP\DSSURDFK³ZRUNVWRFRQFHDOWKHWUXH
HIIHFWRIUDFLDOSUHIHUHQFHV´\HWKLVRZQDQDO\VLVVKRZVWKDWXVLQJFRPELQDWLRQVRIUDWLQJVDV
FRQWUROYDULDEOHVFKDQJHVWKHDYHUDJHPDUJLQDOHIIHFWRI$VLDQ$PHULFDQHWKQLFLW\E\RQO\
SHUFHQWDJHSRLQWVUHODWLYHWRKLVPHWKRG ZKHQXVLQJKLVPRGHOZLWKWKHSHUVRQDOUDWLQJZKLFKDV
GLVFXVVHGLQ6HFWLRQRPLWVDQXPEHURINH\YDULDEOHV $V,H[SODLQHGLQP\LQLWLDOUHSRUW,XVH
WKHVHUDWLQJVFRPELQDWLRQVYDULDEOHVLQP\\HDUE\\HDUPRGHOVQRWWR³FRQFHDOWKHWUXHHIIHFWRI
UDFLDOSUHIHUHQFHV´EXWEHFDXVHWKHUHLVQRWHQRXJKGDWDWRHVWLPDWHVHSDUDWHO\WKHHIIHFWRIVSHFLILF
UDWLQJVWKDWDUHYHU\UDUHLQWKHGDWDGXHWROLPLWHGVDPSOHVL]H HJSHUVRQDOUDWLQJVRI DQGWR
DOORZP\PRGHOWRDFFRXQWIRUDQ\DGGLWLRQDOZHLJKW+DUYDUGSODFHVRQVSHFLILFFRPELQDWLRQVRI
UDWLQJV7RHQVXUHWKDWWKLVGHFLVLRQGLGQRWLPSDFWP\ILQGLQJV,DOVRFRQGXFWHGDVHQVLWLYLW\
DQDO\VLVLQP\LQLWLDOUHSRUWZKHUH,UDQDSRROHGPRGHOWZRZD\V²XVLQJUDWLQJVFRPELQDWLRQVDQG
XVLQJ3URI$UFLGLDFRQR¶VSUHIHUUHGUDWLQJVYDULDEOHV²DQGVKRZHGWKDWWKHUHVXOWVZHUHWKHVDPH

        )LQDOO\DVGLVFXVVHGLQ6HFWLRQGHVSLWHKLVFULWLFLVPVRIP\XVHRIUDWLQJV
FRPELQDWLRQVDVFRQWUROYDULDEOHV3URI$UFLGLDFRQRFKDQJHGKLVRZQUDWLQJVYDULDEOHVLQKLVQHZ
UHSRUWWRDOORZWKHPWRDFFRXQWIRUVSHFLILFFRPELQDWLRQVRIUDWLQJVMXVWDV,GLGLQP\RULJLQDO
PRGHO$VQRWHGDERYHJLYHQWKLVFKDQJH,KDYHDGRSWHGKLVUDWLQJVYDULDEOHVIRUDOORIWKH
UHJUHVVLRQVLQWKLVUHSRUWWRHOLPLQDWHDQ\IXUWKHUFODLPVWKDWWKRVHYDULDEOHVDUHWKHFDXVHRIWKH
GLIIHUHQWFRQFOXVLRQVZHUHDFK7KH\DUHQRW




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VLJQLILFDQWHIIHFWRQWKHSUREDELOLW\RIDGPLVVLRQIRUVRPHDSSOLFDQWVWKHGDWDDOVRVKRZWKDW²
FRQVLVWHQWZLWK+DUYDUG¶VZKROHSHUVRQDGPLVVLRQVSURFHVV²HDFKFDQGLGDWHZKRLVDGPLWWHGWR
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FRQVLVWHQWZLWKUDFHEHLQJD³GHWHUPLQDWLYH´IDFWRULQDGPLVVLRQV

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KDYHDUHODWLYHO\ODUJHHIIHFWRQDGPLVVLRQVIRUWKHVXEVHWRIDSSOLFDQWVZKRDUHKLJKO\
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H[SODQDWRU\SRZHUWKDQRWKHUNH\YDULDEOHVLQWKHIXOOUHJUHVVLRQPRGHO F WKHPDUJLQDOHIIHFWRI
UDFHLVYHU\VPDOOIRUDOPRVWDOODSSOLFDQWVDQG G YDULDEOHVRWKHUWKDQUDFHFDQKDYHDODUJH RUHYHQ
ODUJHU HIIHFWRQDGPLVVLRQVIRULQGLYLGXDODSSOLFDQWV$OORIWKHVHSDWWHUQVDUHFRQVLVWHQWZLWKWKHIDFW
WKDWWREHDGPLWWHGWR+DUYDUGDSSOLFDQWVPXVWKDYHmultipleDUHDVRIVWUHQJWKDQGUDFHLVQRWD
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        5.1. Race alone is uninformative in Harvard’s decision process

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DGPLVVLRQVSURFHVVKHOSHGH[SODLQ+DUYDUG¶VDGPLVVLRQVGHFLVLRQV6SHFLILFDOO\,VKRZHGWKDWD
PRGHOWKDWFRQVLGHUHGRQO\UDFHKDGDOPRVWQRH[SODQDWRU\SRZHU²D3VHXGR56TXDUHGRIMXVW
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ZHUHPXFKPRUHSRZHUIXODQGPRGHOVWKDWLQFOXGHRQO\VWXGHQWSURILOHUDWLQJVZHUHHYHQPRUH
SRZHUIXO 3VHXGR56TXDUHGHTXDOWR :KDWWKHVHDQDO\VHVHVWDEOLVKLVWKDWUDFHDORQHGRHV
QRWGHWHUPLQHZKHWKHURUQRWDQDSSOLFDQWLVDGPLWWHGDQGQXPHURXVRWKHUFKDUDFWHULVWLFVRQWKHLU
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we account for their other qualificationsand/or life experiences+RZHYHUDV,H[SODLQHGLQP\ILUVW
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7KHUHVXOWVRIWKLVH[HUFLVHDUHXQDPELJXRXV8QVXUSULVLQJO\WKHUHPRYDORIUDFHKDVWKHOHDVWHIIHFW
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GURSRIRQO\7XUQLQJRIIRWKHUIDFWRUVVXFKDVWKHDFDGHPLFSHUVRQDORUH[WUDFXUULFXODU
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Race explains far less about admissions decisions than other key factors such as ratings




Source: Augmented Arcidiacono Data; College Board Cluster Data; U.S. Census Data

Note: Data are from applicants to the classes of 2014 – 2019 in Prof. Arcidiacono’s expanded sample including athletes. Predicted
probabilities are computed seperately each year, from which the pooled Pseudo R-Squared values are computed.



        5.2. The fact that race has a relatively large effect on the probability of admissions for some
        candidates cannot be taken as evidence that race is “determinative”

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HYLGHQFHWKDWUDFHLVGHWHUPLQDWLYHHYHQIRUWKHP$V,GLVFXVVEHORZLWVKRXOGQRW7KHUHDVRQLV
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manyGLVWLQJXLVKLQJFKDUDFWHULVWLFV ZKHWKHUUDFHRUDQRWKHUWUDLW ZLOOSURGXFHDPRUHSRZHUIXO


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IRUVHYHUDOQRQUDFLDOFKDUDFWHULVWLFVLQFOXGLQJEHLQJDOLQHDJHDSSOLFDQWRUUHFHLYLQJDWRSSURILOH
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The effect of race follows the same pattern across deciles as other characteristics in Harvard’s
admissions process




Source: Augmented Arcidiacono Data; College Board Cluster Data; U.S. Census Data

Note: Data are from applicants to the classes of 2014 – 2019 in Prof. Arcidiacono’s expanded sample including athletes. Deciles are
constructed by year, across the full sample, based on the predicted probabilities of admission after removing the effect of the given
characteristic. Marginal effects are computed for applicants with the given characteristic relative to the baseline (i.e. White, non-lineage,
academic rating of 3, extracurricular rating of 3, and personal rating of 3). Marginal effects are reported as percentage point values. “-”
indicates that there are no applicants with a given characteristic in a given decile.



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WKDW+DUYDUGYDOXHV WKH³WLS´IRU$IULFDQ$PHULFDQUDFHRUIRUEHLQJDOLQHDJHDSSOLFDQWRUIRU
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DFDGHPLFRUH[WUDFXUULFXODUUDWLQJLVERWKODUJHUDQGPRUHZLGHVSUHDGDFURVVWKHIXOOGLVWULEXWLRQRI
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The effect of race is smaller than that of ratings for African-American applicants




Source: Augmented Arcidiacono Data; College Board Cluster Data; U.S. Census Data

Note: Data are from applicants to the classes of 2014 – 2019 in Prof. Arcidiacono’s expanded sample including athletes. Deciles are
constructed by year, across the full sample, based on the predicted probabilities of admission after removing the effect of race. All ratings
include the four profile ratings, teacher and guidance counselor ratings, and alumni ratings. Marginal effects are computed for African-
American applicants relative to the baseline (i.e. White, and ratings of 3 for applicants with ratings of 1 and 2). Marginal effects are
reported as percentage point values.




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IDFWWKDWWKHGLIIHUHQFHEHWZHHQWKHDGPLVVLRQUDWHIRUVLQJOHUDFH$IULFDQ$PHULFDQDSSOLFDQWVDQG
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RIILFHUVDWSHHULQVWLWXWLRQVZKRSDUWLFLSDWHLQSDUWLFXODUFURVVLQVWLWXWLRQDOPHHWLQJV GLVFXVVHG
EHORZ $V,H[SODLQEHORZKLVDUJXPHQWFRQWLQXHVWRUHVWRQDVHOHFWLYHUHDGLQJRIWKHDYDLODEOH
GRFXPHQWVDQGDSSHDUVWREHDQDWWHPSWWRMXVWLI\H[SRVWKLVDOOHJHGILQGLQJRI³PDQLSXODWLRQ´LQD
SDUWLFXODUVHWRI\HDUVIRUDSDUWLFXODUUDFLDOJURXS

        6HFRQGLWLVLPSRUWDQWWRXQGHUVWDQGWKDWWKHSDWWHUQ3URI$UFLGLDFRQRLGHQWLILHVDV
HYLGHQFHRIPDQLSXODWLRQFDQEHHDVLO\H[SODLQHGE\UDQGRPFKDQFH*LYHQWKDW+DUYDUGKDVDWOHDVW
WKUHHRSHUDWLYHGHILQLWLRQVRIUDFH 1HZ0HWKRGRORJ\2OG0HWKRGRORJ\,3('6 DQGVHYHUDOUDFLDO
JURXSVXQGHUHDFKGHILQLWLRQILQGLQJWKUHH\HDUVLQDURZLQZKLFKRQHUDFLDOJURXS¶VDGPLVVLRQUDWH
LVFORVHWRWKHRYHUDOODGPLVVLRQUDWHLVQRWDVXQOLNHO\DV3URI$UFLGLDFRQRVXJJHVWV<HW3URI
$UFLGLDFRQRWDNHVWKLVH[SHFWHGSDWWHUQLQWKHGDWDDWWHPSWVWRILWFHUWDLQIDFWVDURXQGLWDQGWKHQ
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$IULFDQ$PHULFDQDGPLWWHGVWXGHQWVIHOOVWDUWLQJZLWKWKHFODVVLVQRWVXSSRUWHGE\KLVRZQ
DQDO\VLV$V,VKRZEHORZKHPDNHVDVWDWLVWLFDOHUURUWKDWZKHQFRUUHFWHGXQGRHVKLVUHVXOWV

      6.1. The record does not support Prof. Arcidiacono’s claim of a floor on single-race African-
      American admissions starting with the class of 2017

        ,QP\LQLWLDOUHSRUW,LGHQWLILHGVHYHUDOUHDVRQVZK\3URI$UFLGLDFRQR¶VFODLPWKDW
+DUYDUGEHJDQWRPDQLSXODWHWKH$IULFDQ$PHULFDQDGPLVVLRQUDWHZLWKWKHFODVVRIGLGQRW
PDNHVHQVH6SHFLILFDOO\,H[SODLQHGKRZ+DUYDUGDGRSWHGWKH,3('6PHWKRGRORJ\IRUIHGHUDO
UHSRUWLQJWKUHH\HDUVbeforeWKHDOOHJHGIORRUZDVLPSOHPHQWHGDQGWKDWWKHGRFXPHQWV3URI
$UFLGLDFRQRFLWHGGLGQRWGHPRQVWUDWHSDUWLFXODUFRQFHUQIURP+DUYDUGDERXWSXEOLFSHUFHSWLRQVRI
WKHVLQJOHUDFH$IULFDQ$PHULFDQDGPLVVLRQUDWHVWDUWLQJLQ WKHFODVVRIDGPLVVLRQV
F\FOH ,QGHHGWKHUHFRUGVKRZVWKDW+DUYDUGGRHVQRWHYHQXVH,3('6ZKHQUHSRUWLQJVWDWLVWLFVRQ
UDFHWRWKHSUHVVDQGSXEOLF8VLQJ+DUYDUG¶VSUHIHUUHGDQGPRVWFRPPRQO\XVHGPHWKRGRORJ\IRU
FODVVLI\LQJUDFH,GHPRQVWUDWHGWKDWWKHUDFLDOFRPSRVLWLRQRIWKH+DUYDUGFODVVGRHVIOXFWXDWH
VRPHZKDW\HDUWR\HDU,DOVRVKRZHGWKDWLQFRQVLVWHQWZLWKDIORRURQWKHUDWHRIDGPLVVLRQVWKH
UHODWLYHTXDOLW\RI$IULFDQ$PHULFDQDGPLWWHGVWXGHQWVGLGQRWIDOOVWDUWLQJZLWKWKHFODVVRI

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DQGXQGLVSXWHG²WKDW+DUYDUGZDVSXUSRVHO\WDNLQJVWHSVWRHQVXUHWKDWWKHDGPLVVLRQUDWHRIVLQJOH
UDFH$IULFDQ$PHULFDQDSSOLFDQWVDSSUR[LPDWHGRUH[FHHGHGWKHRYHUDOODGPLVVLRQUDWHRIRWKHU
GRPHVWLFDSSOLFDQWV´,QDGGLWLRQKHPRGLILHVKLVVWRU\IRUZK\+DUYDUGZRXOGFKRRVHWR
PDQLSXODWHWKHVHDGPLVVLRQUDWHVVXJJHVWLQJWKDWSHUKDSV+DUYDUG¶VSDUWLFLSDWLRQLQDGPLVVLRQV
LQGXVWU\JURXSPHHWLQJVIRU&2)+(DQG$%$)$2,/66SUHFLSLWDWHGWKHDOOHJHGIORRURQ
DGPLVVLRQ3URI$UFLGLDFRQRGRHVQRWRIIHUDQ\HYLGHQFHRQWKHVHSRLQWVUHO\LQJLQVWHDGRQ
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SDWWHUQRIWKHFODLPVLQKLVILUVWUHSRUWZKHUHKHPRWLYDWHGKLVDQDO\VLVZLWKWKHXQVXEVWDQWLDWHG
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GDWDRQUDFHDQGHWKQLFLW\´+$59±DW+$597KLVPHPRGLVFXVVHVKRZGHPRJUDSKLFGDWDLV
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DQLQFHQWLYHIRU+DUYDUGWRLQWURGXFHDIORRURQ$IULFDQ$PHULFDQDGPLVVLRQV%XWKHRIIHUVQR
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HYLGHQFHIXUWKHUVKRZVWKDW5RXQG5RELQVZHUHDZD\IRUXQLYHUVLWLHVWRGLVVHPLQDWHKHOSIXO
LQIRUPDWLRQRQVXFFHVVIXOUHFUXLWLQJWDFWLFVOLNHZKLFKSDUWLFXODUFLWLHVVFKRROVDQGFRPPXQLW\
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5RELQPHHWLQJV"$5RXQG5RELQLVDVHSDUDWH²LWLVDSDUWRIRXUPHHWLQJVZKHUHZHVKDUHHQUROOPHQWDQGDSSOLFDWLRQ
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GHWHUPLQHGE\RXUFRQVWLWXWLRQSURYLGLQJDFFHVVDQGVKDULQJEHVWSUDFWLFHVDFURVVRXULQVWLWXWLRQVWRHQVXUHHTXLW\DQG
LQFOXVLRQRIXQGHUIRUKLVWRULFDOO\XQGHUUHSUHVHQWHGJURXSVLQKLJKHUHGXFDWLRQ´ S ³7KHPLVVLRQRI
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DVZHOODVSURYLGHDVSDFHIRUWKRVHZKRVHUYHZLWKLQWKRVHDGPLVVLRQVRIILFHVWRKDYHDVSDFHWRVKDUHRIWKHLU
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VWUDWHJ\LQWHUPVRIEULQJLQJLQJURXSWUDYHOZLWKRWKHUVFKRROVRUKLWWLQJDFHUWDLQFLW\DQGFRPPXQLW\EDVHG
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DOVRLQFOXGHWKRVHLQWKHLUVWUDWHJLHVDVZHOO,I,IRXQGDVFKRROWKDWZDVGRLQJJUHDWZRUN,ZRXOGZDQWWRVKDUHWKDWZLWK
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      6.2. The pattern that Prof. Arcidiacono claims as evidence of manipulation is not as unlikely as he
      suggests

         *LYHQWKHODFNRIDFOHDULQFHQWLYHRUPRWLYDWLRQIRU+DUYDUGWRPDQLSXODWHDGPLVVLRQ
UDWHVDEDVLFWKUHVKROGTXHVWLRQIRU3URI$UFLGLDFRQR¶VFODLPLVDUHWKHDOOHJHG³PDQLSXODWHG´
SDWWHUQVLQWKHGDWDVXIILFLHQWO\UDUHWKDWWKH\FDQQRWEHH[SODLQHGE\UDQGRPFKDQFH"$V,GLVFXVV
EHORZ3URI$UFLGLDFRQR¶VFODLPGRHVQRWVXUSDVVWKLVEDVLFWKUHVKROG

        )LUVWLWLVLPSRUWDQWWRQRWHWKDWWKHPRUHRXWFRPHVDQGGDWDSRLQWVWKDWFDQEHH[DPLQHG
LQDVHDUFKIRUHYLGHQFHRIDQDOOHJHGIORRURQDGPLVVLRQVWKHJUHDWHUWKHSUREDELOLW\RIILQGLQJVXFK
DSDWWHUQMXVWE\FKDQFH,QGHHGWKLVIXQGDPHQWDOREVHUYDWLRQLVWKHEDVLVIRUZLGHVSUHDGFRQFHUQVLQ
WKHUHVHDUFKFRPPXQLW\RYHU³GDWDPLQLQJ´3URI$UFLGLDFRQRKLPVHOIDFNQRZOHGJHVWKLVIDFW
QRWLQJWKDWWKHDUUD\RIRXWFRPHVRQHFRXOGVHDUFKRYHUWRILQGDOOHJHGHYLGHQFHRIDTXRWDLVYDVW
³>7@KHUHDUHXQGRXEWHGO\PDQ\ZD\V+DUYDUGFRXOGLPSRVHUDFLDOIORRUV7KH\FRXOGLPSRVHDIORRU
EDVHGRQWKHH[SHFWHGQXPEHURIDGPLWVWKHVKDUHRIDGPLWVRIDSDUWLFXODUUDFHRUWKHUHODWLYH
DFFHSWDQFHUDWHVRISDUWLFXODUUDFHV$OWHUQDWLYHO\+DUYDUGFRXOGLPSRVHDIORRUEDVHGRQWKH
H[SHFWHGQXPEHURIHQUROOHHVRIDSDUWLFXODUUDFH)XUWKHUPRUH+DUYDUGFRXOGGRWKLVXVLQJDYDULHW\
RIGLIIHUHQWPHDVXUHVRIUDFH´7KDW3URI$UFLGLDFRQRIRXQGDSDWWHUQFRQVLVWHQWZLWKRQHRImany
SURVSHFWLYHIORRUVLVQRWSDUWLFXODUO\VXUSULVLQJ

        6HFRQGWKHVSHFLILFSDWWHUQ3URI$UFLGLDFRQRKRPHVLQRQLVQRWDVXQOLNHO\DVKH
VXJJHVWV3URI$UFLGLDFRQRFRPSXWHVDYHU\VSHFLILFQXPEHULQKLVLQLWLDOUHSRUWWKHSUREDELOLW\WKDW
WKHVLQJOHUDFH$IULFDQ$PHULFDQDGPLVVLRQUDWHPDWFKHGRYHUDOODGPLVVLRQUDWHIRUWKHFODVVHVRI
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LVDSUREDELOLW\WKDWWKHFRUUHVSRQGHQFHEHWZHHQDGPLVVLRQUDWHVEHWZHHQDQG
KDSSHQHGE\FKDQFH,WLVLPSRUWDQWWRUHPHPEHUWKDWWKHDYDLODEOHDGPLVVLRQVGDWDWKDW3URI
$UFLGLDFRQRDQDO\]HVLQFOXGHVVL[\HDUVRIGDWDDWOHDVWWKUHHRSHUDWLYHGHILQLWLRQVRIUDFH 1HZ
0HWKRGRORJ\2OG0HWKRGRORJ\,3('6 DQGVHYHUDOUDFLDOJURXSVXQGHUHDFKGHILQLWLRQ*LYHQ
WKHVHVL[\HDUVRIGDWDDQGWKUHHGHILQLWLRQVRIUDFHWKHUHLVQRWKLQJVXUSULVLQJDERXWILQGLQJWKUHH
\HDUVLQDURZLQZKLFKRQHUDFLDOJURXS¶VDGPLVVLRQUDWHLVFORVHWRWKHRYHUDOODGPLVVLRQUDWH


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    )RUH[DPSOHVHH*DUUHW&KULVWHQVHQDQG(GZDUG0LJXHO³7UDQVSDUHQF\5HSURGXFLELOLW\DQGWKH&UHGLELOLW\RI
(FRQRPLFV5HVHDUFK´1%(5:RUNLQJ3DSHU'HFHPEHUSS±
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HYLGHQFHRIDQDOOHJHGTXRWD3URI$UFLGLDFRQR¶VHVWLPDWHRILVOLNHO\WRYDVWO\XQGHUVWDWHWKH
SUREDELOLW\RIILQGLQJVXFKDFRLQFLGHQFHLQWKHGDWD)RUH[DPSOHLPDJLQHWKDW3URI$UFLGLDFRQR
ZHUHVLPSO\ORRNLQJIRUDVWUHWFKRIWKUHH\HDUVEHWZHHQDQGLQZKLFKWKHDGPLVVLRQUDWH
IRUDQ\SDUWLFXODUUDFLDOJURXSPDWFKHGWKHDGPLVVLRQUDWHIRUDOORWKHUJURXSVXVLQJHLWKHU,3('6WKH
1HZ0HWKRGRORJ\RUWKH2OG0HWKRGRORJ\7KHUHDUHHLJKWUDFLDOFDWHJRULHVXQGHUWKH1HZ
0HWKRGRORJ\HLJKWXQGHUWKH,3('6PHWKRGRORJ\DQGDWOHDVWVHYHQXQGHUWKH2OG0HWKRGRORJ\
IRUDWRWDORIJURXSV:LWKUDFLDOJURXSVDQGIRXUSRVVLEOHWKUHH\HDUVWUHWFKHVWRVHDUFKRYHU
3URI$UFLGLDFRQRKDVRSSRUWXQLWLHV PXOWLSOLHGE\IRXU WRILQGWKHSDWWHUQRILQWHUHVW$VVXPH
IRUWKHVDNHRIVLPSOLFLW\WKDW3URI$UFLGLDFRQR¶VFDOFXODWLRQLVFRUUHFWDQGDVVXPHWKDWIRUDQ\
JLYHQUDFLDOJURXSDQGWKUHH\HDUVWUHWFKWKHUHLVDFKDQFHWKDWWKDWJURXS¶VDYHUDJHDGPLVVLRQ
UDWHVPDWFKWKHDGPLVVLRQUDWHIRURWKHUDSSOLFDQWV%HFDXVHWKHUHDUHFRPELQDWLRQVWRFKHFN
QRWMXVWRQHWKHFKDQFHVRIVHHLQJHYLGHQFHRIDQDOOHJHGTXRWDDUHDFWXDOO\PXFKKLJKHUWKDQ
,QGHHGZLWKRSWLRQVWRVHDUFKRYHUWKHSUREDELOLW\RIVHHLQJDQDOOHJHGO\³VXVSLFLRXV´WKUHH\HDU
VWUHWFKVLPSO\E\FKDQFHLVDERXW WKDWLVRQHPLQXVWRWKHQGSRZHU ,QRWKHU
ZRUGVWKHSUREDELOLW\WKDW3URI$UFLGLDFRQRZRXOGILQGHYLGHQFHRIKLVSDUWLFXODUW\SHRIIORRULV
OLNHO\PXFKKLJKHUWKDQWKHWKUHVKROGW\SLFDOO\XVHGWRUHMHFWWKDWDQHYHQWRFFXUUHGE\FKDQFH
)XUWKHUPRUHDV,QRWHGDERYHLQSDUDJUDSKWKLVLVRQO\RQHRImanyW\SHVRIIORRUVWKDW3URI
$UFLGLDFRQRVWDWHVKHFRXOGKDYHVHDUFKHGRYHU&RPELQHGZLWKWKHODFNRIDQ\FUHGLEOHGRFXPHQWDU\
HYLGHQFHGLVFXVVHGDERYHDPRUHUHDVRQDEOHLQWHUSUHWDWLRQRIWKHSDWWHUQVLQWKHGDWDLVWKDWWKH\DUH
GXHVLPSO\WRFKDQFH

      6.3. The relative quality of single-race African-American admitted students did not fall starting with
      the class of 2017, further undermining the idea of a floor on their admission rate

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LWZRXOGYHU\OLNHO\JHQHUDWHDGHFOLQHLQWKHUHODWLYHTXDOLW\RI$IULFDQ$PHULFDQDGPLWWHGVWXGHQWV
DVFRPSDUHGWRRWKHUDGPLWWHGVWXGHQWV7KHGDWDUHIOHFWQRVXFKGHFOLQHDV,VKRZHGLQP\ILUVW

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    7KHUDFLDOJURXSVDUHDVIROORZV1HZ0HWKRGRORJ\:KLWH$VLDQ%ODFN+LVSDQLF LQFOXGLQJ0H[LFDQDQG3XHUWR
5LFDQ 1DWLYH$PHULFDQ1DWLYH+DZDLLDQPXOWLUDFLDODQGUDFHXQNQRZQ,3('6:KLWH$VLDQ%ODFN+LVSDQLF
 ,QFOXGLQJ0H[LFDQVDQG3XHUWR5LFDQV 1DWLYH$PHULFDQV1DWLYH+DZDLLDQVPXOWLUDFLDODQGUDFHXQNQRZQ2OG
0HWKRGRORJ\:KLWH$VLDQ%ODFN+LVSDQLF LQFOXGLQJ0H[LFDQDQG3XHUWR5LFDQ 1DWLYH$PHULFDQ LQFOXGLQJ
+DZDLLDQ 2WKHU8QNQRZQ6HHIRUH[DPSOH³(WKQLFLW\%DFNJURXQGV±&ODVVHVRI±´+$59
³$SSOLFDQWV$GPLWVDQG0DWULFXODQWV±2OG0HWKRGRORJ\1/1$´+$59±DW+$59
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    7KHSUREDELOLW\FRXOGYDU\EXWIRULOOXVWUDWLYHSXUSRVHV,DVVXPHLWLVIL[HGDWIRUDOOSHUPXWDWLRQV
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    7KHFDOFXODWLRQLV  A    




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        ,QKLVUHEXWWDO3URI$UFLGLDFRQRUHVSRQGVWRWKLVDQDO\VLVE\SUHVHQWLQJHYLGHQFHWKDWKH
FODLPVVKRZVDVWDWLVWLFDOO\VLJQLILFDQWGHFUHDVHLQWKHUHODWLYH$FDGHPLF,QGH[RIVLQJOHUDFH
$IULFDQ$PHULFDQDGPLWWHGVWXGHQWVDVFRPSDUHGWRPXOWLUDFLDO$IULFDQ$PHULFDQDGPLWWHG
VWXGHQWV3URI$UFLGLDFRQRUHIHUVWRWKLVUHODWLYHFKDQJHLQWKH$FDGHPLF,QGH[DVWKH³GRXEOH
GLIIHUHQFH´ZKLFKKHUHSRUWVDVVWDWLVWLFDOO\VLJQLILFDQWLQKLV7DEOH1+HWKHQLQWHUSUHWVWKLV
³GRXEOHGLIIHUHQFH´DVHYLGHQFHWKDWWKHUHODWLYHTXDOLW\RIVLQJOHUDFH$IULFDQ$PHULFDQDGPLWWHG
VWXGHQWVIHOODIWHUFRQVLVWHQWZLWKDIORRURQVLQJOHUDFH$IULFDQ$PHULFDQDGPLVVLRQV+HDOVR
QRWHVWKDWWKHUHLVDQDOOHJHGO\VLJQLILFDQWLQFUHDVHLQWKHUHODWLYHDGPLVVLRQUDWHRIVLQJOHUDFH
$IULFDQ$PHULFDQDSSOLFDQWVYHUVXVPXOWLUDFLDO$IULFDQ$PHULFDQDSSOLFDQWVEHIRUHDQGDIWHU
 ZKLFKKHDJDLQUHIHUVWRDVWKH³GRXEOHGLIIHUHQFH´LQKLVWDEOH1 

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UHYHUVHVKLVNH\ILQGLQJ6SHFLILFDOO\KLVFDOFXODWLRQVRIWKHVWDWLVWLFDOVLJQLILFDQFHRIWKH³GRXEOH
GLIIHUHQFHV´LQKLVWDEOHV1DQG1DUHLPSOHPHQWHGLQFRUUHFWO\UHVXOWLQJLQVWDQGDUGHUURUVWKDW
DUHWRRVPDOO,QRWKHUZRUGVKHRYHUVWDWHVWKHSUHFLVLRQRIKLVHVWLPDWHVZKLFKPDNHVKLVUHVXOWV
ORRNVWDWLVWLFDOO\VLJQLILFDQWZKHQWKH\DUHQRW VHH$SSHQGL[% 2QFH,FRUUHFWWKLVHUURUWKH
³GRXEOHGLIIHUHQFHV´UHSRUWHGLQWDEOHV1DQG1DUHQRWVWDWLVWLFDOO\VLJQLILFDQWDWWKHOHYHO
 ([KLELW ,QRWKHUZRUGVZKHQ3URI$UFLGLDFRQR¶VRZQDQDO\VLVLVGRQHFRUUHFWO\WKHUHLVQR
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$PHULFDQDGPLWWHGVWXGHQWVEHIRUHDQGDIWHUQRULVWKHUHDVWDWLVWLFDOO\VLJQLILFDQWFKDQJHLQWKH
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EHIRUHDQGDIWHU

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QRWIDOODVFRPSDUHGWRWKDWRIPXOWLUDFLDO$IULFDQ$PHULFDQDGPLWWHGVWXGHQWVRQDPRUH
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PRGHO,UHPRYHWKHHIIHFWRIUDFHZKHQFRPSXWLQJWKHDGPLVVLRQVLQGH[)RUHDFKFKDUDFWHULVWLF,
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RIVLQJOHUDFH$IULFDQ$PHULFDQDGPLWWHGVWXGHQWVIHOO

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 UHPRYLQJWKHHIIHFWRIUDFH WKHUHODWLYHVWUHQJWKRIVLQJOHUDFH$IULFDQ$PHULFDQDGPLWWHGVWXGHQWV
GLGQRWIDOOUHODWLYHWRWKHVWUHQJWKRIPXOWLUDFLDO$IULFDQ$PHULFDQDGPLWWHGVWXGHQWVDIWHU
NoneRIWKHGLIIHUHQFHLQGLIIHUHQFHHVWLPDWHVLQ([KLELWLVVWDWLVWLFDOO\VLJQLILFDQW7KLVLVKLJKO\
LQFRQVLVWHQWZLWKWKHUHEHLQJDIORRURQWKHDGPLVVLRQRIVLQJOHUDFH$IULFDQ$PHULFDQVWXGHQWV




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The relative quality of single-race African-American admitted students did not fall in 2017

                                                                  African-American
                                                                 Admitted Students
                                                            Single-Race      Multi-Race                   Difference [1]
                  Admission Rate [2]
               1. Average 2014 ʹ 2016                               6%                    10%                   -3% *
               2. Average 2017 ʹ 2019                               6%                     8%                   -2% *
               3. Difference-in-Difference                                                                       2%
                  Average Academic Index [2][3]
               4. Average 2014 ʹ 2016                             0.20                   0.19                  0.01
               5. Average 2017 ʹ 2019                             0.23                   0.34                 -0.12 *
               6. Difference-in-Difference                                                                    -0.13
                  Fraction with Academic Rating of 1 or 2 [2]
               5. Average 2014 ʹ 2016                   53%                              48%                     5%
               6. Average 2017 ʹ 2019                   55%                              57%                    -2%
               7. Difference-in-Difference                                                                      -7%
                 Fraction with Extracurricular Rating of 1 or 2 [2]
              8. Average 2014 ʹ 2016                   47%                                52%                   -5%
              9. Average 2017 ʹ 2019                   48%                                49%                   -1%
             10. Difference-in-Difference                                                                        4%
                  Fraction with Personal Rating of 1 or 2 [2]
              11. Average 2014 ʹ 2016                    74%                              76%                   -2%
              12. Average 2017 ʹ 2019                    74%                              72%                    2%
              13. Difference-in-Difference                                                                       4%
                  Fraction with Athletic Rating of 1 or 2 [2]
              14. Average 2014 ʹ 2016                     20%                            24%                    -5%
              15. Average 2017 ʹ 2019                     22%                            28%                    -6%
              16. Difference-in-Difference                                                                      -1%
                 Average Admissions Index [4]
             17. Average 2014 ʹ 2016                              0.24                   0.31                 -0.07 *
             18. Average 2017 ʹ 2019                              0.26                   0.32                 -0.06 *
             19. Difference-in-Difference                                                                      0.01


Source: Augmented Arcidiacono Data; College Board Cluster Data; U.S. Census Data

Note: [1] * indicates statistical significance at the 5% level. [2] Consistent with Prof. Arcidiacono's analyses, data are from domestic
admitted applicants, including prior admitted applicants and excluding deferred admitted applicants. [3] Academic Index values are in
standard deviation units. Average Academic Index calculations exclude students with GPA flags. [4] Data are from admitted applicants in
Prof. Arcidiacono’s expanded sample including athletes (my preferred year-by-year regression model sample). The admissions index is
constructed using applicants' predicted probability of admission after removing the effect of race.




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      7.1. The academic literature establishes that race-neutral alternatives diminish selective universities’
      ability to select on quality

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        7.2. Mr. Kahlenberg’s new simulations confirm that the substitution of race-neutral alternatives for
        Harvard’s race-conscious admissions process would change the characteristics of the class and
        compromise its quality

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            7.2.1. Mr. Kahlenberg’s criticisms of my simulations

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         7.2.2. The results of Mr. Kahlenberg’s new simulations support the conclusions of my first report

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Kahlenberg’s Simulation 6 and 7: Impact on class characteristics

                                                       Predicted Class Without Consideration of Race and Factors that
                                                                   Allegedly Advantage White Applicants
                                                     Card’s Simulation              Kahlenberg’s                Kahlenberg’s
                                                      (4x SES Boost)                Simulation 6                Simulation 7
                                          Actual
                                         Admitted   Predicted                   Predicted                   Predicted
                                          Class       Value      % Change         Value     % Change          Value     % Change
          Outcome Measures                  [A]        [B]      ([B]-[A])/[A]      [C]      ([C]-[A])/[A]      [D]      ([D]-[A])/[A]

          Race
     1.   White                             676        589          -13%           541        -20%             561         -17%
     2.   Asian-American                    402        508         +26%            523        +30%             521        +30%
     3.   Hispanic or Other                 233        293         +26%            330        +42%             313        +34%
     4.   African-American                  234        163         -30%            164        -30%             160        -32%
     5.   Race Missing                      134        127           -6%            121        -10%            123          -8%
          Academic
     6.   Average Composite SAT Score      2244       2189          -2%           2173         -3%            2180         -3%
     7.   Average Composite ACT Score       33.1      32.7          -1%           32.5         -2%             32.5        -2%
     8.   Average Converted GPA             77.0       77.1       +0.1%           77.0      +0.02%             77.0     +0.02%
     9.   Average Academic Index            228        225          -1%            225          -1%            225          -1%
          Fraction with Profile Rating of 1 or 2
    10.   Academic                          76%        66%         -13%           61%          -19%           63%          -17%
    11.   Extracurricular                   62%        57%           -9%          54%          -13%           55%          -12%
    12.   Personal                           71%       64%          -11%          62%          -13%           63%           -11%
    13.   Athletic                          27%        18%         -33%           20%          -26%           21%          -22%
        Applicant Characteristics
    14. Number of Lineage Students          259         86         -67%             61         -76%             81         -69%
        Number of Double Lineage
    15.                                      72          19         -73%            13         -81%             18         -75%
        Students
    16. Number of Recruited Athletes        180         88          -51%           144         -20%            159         -11%
        Number of Children of Harvard
    17.                                      44          17         -61%            12         -74%             16         -64%
        Faculty and Staff

    18.

    19. Number of Female Students           839        851          +1%            858         +2%             851          +1%
          Concentration
    20.   Social Sciences                   25%        24%          -5%           24%           -4%           24%           -2%
    21.   Humanities                        15%        13%          -9%           12%          -15%           12%         -14%
    22.   Biological Sciences               21%        23%         +11%           24%         +12%            24%         +12%
    23.   Physical Science                   7%         8%         +6%             7%           -5%            7%           -5%
    24.   Engineering                       13%        13%         +5%            14%         +14%            14%          +8%
    25.   Computer Science                   6%         6%          -7%            6%           -4%            6%          -6%
    26.   Mathematics                        6%         7%         +3%             6%           +1%            6%        +0.5%
    27.   Unspecified                        7%         6%          -9%            6%           -6%            7%          -3%
          Geography
    28.   Number Rural                       59         87         +48%             87        +47%              82        +39%
    29.   Number in Northeast               694        604          -13%           615         -11%            630          -9%
    30.   Number in Midwest                 207        217          +5%            164         -21%            170         -18%
    31.   Number in South                   379        407           +7%           392         +3%             391          +3%
    32.   Number in West                    399        451         +13%            509        +27%             488        +22%


Source: Augmented Arcidiacono Data; College Board Cluster Data; U.S. Census Data; Kahlenberg Production


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Note: My simulation (“Card’s Simulation (4x SES Boost)”) consists of applicants to the class of 2019 in Prof. Arcidiacono’s expanded
sample including athletes, who are in my preferred year-by-year regression model from my affirmative report. The simulation eliminates
consideration of race, lineage status, recruited-athlete status, whether an applicant’s parents are Harvard faculty and staff, whether the
applicant appears on the Dean’s or Director’s interest list, and the proportion of the applicant’s high school and neighborhood that is
African-American, Hispanic, and White. In addition, recruited athletes are reassigned to rating combinations in the regression sample that
contain the next highest athletic rating. Applicants with certain socioeconomic characteristics are given a low-SES boost by adding a value
to their admissions index. The value is equal to 2 multiplied by the number of characteristics an applicant displays out of the following:
disadvantaged, requested a fee waiver, first generation college student, neighborhood median income less than or equal to $65,000.
Kahlenberg’s simulation 6 retains the same sample and regression model from my simulation. Simulation 6 eliminates consideration of
the same characteristics as my simulation except for recruited-athlete status. Simulation 6 also eliminates consideration of Early Action
status. Applicants with certain socioeconomic characteristics are given a low-SES boost by adding a value to their admissions index. The
value is equal to 1.6 multiplied by the number of characteristics an applicant displays out of the following: disadvantaged, requested a fee
waiver, first generation college student, applicant obtains a neighborhood SES index score in the bottom third of the distribution,
applicant obtains a high school SES index score in the bottom third of the distribution. The neighborhood and high school SES indices are
constructed by equally-weighting three standardized factors: parental income, parental education, and percentage of families speaking a
language other than English at home. Kahlenberg’s simulation 7 is the same as simulation 6 except that it retains consideration of Early
Action status.



      7.3. Other race-neutral alternatives are unlikely to generate diversity without changing class
      characteristics and compromising class quality

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           7.3.1. Increasing financial aid

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            7.3.2. Increasing recruiting

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           7.3.3. Increasing transfer admissions

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            7.3.4. Eliminating deferred admission

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           7.3.5. Place-based admissions policies

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      7.4. Conclusion

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      8.1. Documents Relied Upon

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    +$59±$SSOLFDWLRQILOH
    +$59±$SSOLFDWLRQILOH
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    
    2WKHU'DWDDQG'DWD'RFXPHQWDWLRQ
    &ROOHJH%RDUG³&ROOHJH%RXQG6HQLRUV´7RWDO*URXS3URILOH5HSRUWSDYDLODEOHDW
    KWWSVUHVHDUFKFROOHJHERDUGRUJSURJUDPVVDWGDWDDUFKLYHGFEVHQLRUVDFFHVVHG'HFHPEHU
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    &ROOHJH%RDUG³&ROOHJH%RXQG6HQLRUV´7RWDO*URXS3URILOH5HSRUWSDYDLODEOHDW
    KWWSVUHVHDUFKFROOHJHERDUGRUJSURJUDPVVDWGDWDDUFKLYHGFEVHQLRUVDFFHVVHG'HFHPEHU
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    &ROOHJH%RDUG³&ROOHJH%RXQG6HQLRUV´7RWDO*URXS3URILOH5HSRUW6HSWHPEHU
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    &ROOHJH%RDUG³&ROOHJH%RXQG6HQLRUV´7RWDO*URXS3URILOH5HSRUW2FWREHUS
    DYDLODEOHDWKWWSVUHVHDUFKFROOHJHERDUGRUJSURJUDPVVDWGDWDDUFKLYHGFEVHQLRUVDFFHVVHG
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    &ROOHJH%RDUG³&ROOHJH%RXQG6HQLRUV´7RWDO*URXS3URILOH5HSRUW6HSWHPEHU
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    DFFHVVHG'HFHPEHU
    &ROOHJH%RDUG³'HVFULSWRU3/86&OXVWHU'HVFULSWLRQ*XLGH´DYDLODEOHDW
    KWWSPHGLDFROOHJHERDUGFRPGLJLWDO6HUYLFHVSGIPLVFHOODQHRXV&OXVWHU'HVFULSWLRQ*XLGHSGI
    DFFHVVHG'HFHPEHU
    &ROOHJH%RDUG³6HJPHQW$QDO\VLV6HUYLFH7DJJLQJ+LVWRULFDO$QDO\VLV2XWSXW)LOH´DYDLODEOHDW
    KWWSPHGLDFROOHJHERDUGFRPP666PHGLDSGIVHJPHQWDQDO\VLVWDJJLQJRXWSXWILOHVHSSGI
    DFFHVVHG'HFHPEHU
    &ROOHJH%RDUG³6HJPHQW$QDO\VLV6HUYLFH$Q(GXFDWLRQDOO\5HOHYDQW*HRGHPRJUDSKLF7DJJLQJ
    6HUYLFH´DYDLODEOHDWKWWSPHGLDFROOHJHERDUGFRPP666PHGLDSGIVHJPHQWDQDO\VLVVHUYLFH
    RYHUYLHZSGIDFFHVVHG'HFHPEHU
    &ROOHJH%RDUG6HJPHQW$QDO\VLV6HUYLFH$SSOLFDQWOHYHOGDWD ³&ROOHJH%RDUG&OXVWHU'DWD´ 
    1DWLRQDO&HQWHUIRU(GXFDWLRQ6WDWLVWLFV³1XPEHURIHGXFDWLRQDOLQVWLWXWLRQVE\OHYHODQGFRQWURO
    RILQVWLWXWLRQ6HOHFWHG\HDUVWKURXJK´'LJHVWRI(GXFDWLRQ6WDWLVWLFV
    'HFHPEHU
    8QLWHG6WDWHV%XUHDXRI/DERU6WDWLVWLFV³62&8VHU*XLGH´)HEUXDU\DYDLODEOHDW
    KWWSVZZZEOVJRYVRFVRFBBXVHUBJXLGHSGIDFFHVVHG'HFHPEHU
    8QLWHG6WDWHV%XUHDXRI/DERU6WDWLVWLFV³6WDQGDUG2FFXSDWLRQDO&ODVVLILFDWLRQ´-DQXDU\
    DYDLODEOHDWKWWSVZZZEOVJRYVRFVRFBVWUXFWXUHBSGIDFFHVVHG'HFHPEHU
    8QLWHG6WDWHV&HQVXV%XUHDX³$16,&RGHVIRU3ODFHV´
    8QLWHG6WDWHV&HQVXV%XUHDX³),36&RGHVIRU&RXQWLHVDQG&RXQW\(TXLYDOHQW(QWLWLHV´
    8QLWHG6WDWHV&HQVXV%XUHDX³&RUHEDVHGVWDWLVWLFDODUHDV &%6$V PHWURSROLWDQGLYLVLRQVDQG
    FRPELQHGVWDWLVWLFDODUHDV &6$V ´-XO\


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    8QLWHG6WDWHV&HQVXV%XUHDX&XUUHQW3RSXODWLRQ6XUYH\$QQXDO6RFLDODQG(FRQRPLF
    6XSSOHPHQW+,1&6HOHFWHG&KDUDFWHULVWLFVRI+RXVHKROGVE\7RWDO0RQH\,QFRPHDYDLODEOH
    DWKWWSVZZZFHQVXVJRYGDWDWDEOHVWLPHVHULHVGHPRLQFRPHSRYHUW\FSVKLQFKLQFKWPO
    DFFHVVHG'HFHPEHU
    8QLWHG6WDWHV&HQVXV%XUHDX&HQVXVUHJLRQVDQG'LYLVLRQVLQWKH8QLWHG6WDWHVDYDLODEOHDW
    KWWSVZZZFHQVXVJRYJHRSGIVPDSVGDWDPDSVUHIHUHQFHXVBUHJGLYSGIDFFHVVHG'HFHPEHU
    
    8QLWHG6WDWHV&HQVXV%XUHDX³=,3&RGH7DEXODWLRQ$UHDV´86*D]HWWHHU)LOHVDYDLODEOH
    DWKWWSVZZZFHQVXVJRYJHRPDSVGDWDGDWDJD]HWWHHUKWPODFFHVVHG'HFHPEHU
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    $OORWKHUGRFXPHQWVFLWHGLQWKLVUHSRUWDQGLQP\LQLWLDOUHSRUW
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      9.1. Appendix B.1 Constructing categories for parental occupations

        3DUHQWRFFXSDWLRQVDUHVWRUHGLQDILHOGLQWKH1(92GDWDEDVH7KLVILHOGXVHVWZR
GLVWLQFWVHWVRIRFFXSDWLRQDOFRGHVDQGWKHSUHYDOHQFHRIHLWKHUVHWRIFRGHVFKDQJHVRYHUWLPHPRVW
QRWDEO\EHWZHHQDQGZKHQWKHVHFRQGVHWRIFRGHVLVILUVWLQWURGXFHG,KDUPRQL]HWKHWZR
VHWVRIFRGHVE\PDSSLQJWKHPWRWKH%XUHDXRI/DERU6WDWLVWLFV¶RFFXSDWLRQDOFDWHJRULHVZKLFKDUH
VWDQGDUGRFFXSDWLRQDOFDWHJRULHVXVHGLQWKHODERUHFRQRPLFVOLWHUDWXUH3URI$UFLGLDFRQRDOVR
WDNHVLVVXHZLWKWKHZD\,DJJUHJDWHRFFXSDWLRQDOFDWHJRULHVWRFUHDWHLQGLFDWRUYDULDEOHVLQP\
UHJUHVVLRQ+LVFULWLTXHLVYDJXHLWLVOLPLWHGWRDIRRWQRWHWKDWVWDWHVP\WUDQVODWLRQLV³LQFRUUHFW´DQG
LVVXSSRUWHGRQO\E\RQHH[DPSOHKHGLVDJUHHVZLWK

        7RKDUPRQL]HWKHWZRVHWVRIRFFXSDWLRQDOFRGHV+DUYDUGXVHGZLWKLQHDFK\HDU,FUHDWH
DPDSSLQJEHWZHHQWKHVHFRGHVDQGWKH%XUHDXRI/DERU6WDWLVWLFV¶RFFXSDWLRQDOFRGHV7KLVDOVR
DOORZVPHWRDJJUHJDWHRFFXSDWLRQVWKDWWKH%/6FRQVLGHUVVLPLODULQWR³%/6PDMRUJURXSV´,
FRPELQHVRPHRIWKHVHJURXSVLQRUGHUWRFUHDWHDPHDQLQJIXOEXWSDUVLPRQLRXVVHWRIRFFXSDWLRQDO
YDULDEOHV,DOVRVSOLWVRPH³PDMRUJURXSV´WRFUHDWHFDWHJRULHVWKDWPRUHDFFXUDWHO\UHIOHFWSDUHQWV¶
VRFLRHFRQRPLFVWDWXVHJ,VSOLWGRFWRUVIURPQXUVHVZKRZRXOGRWKHUZLVHUHPDLQWRJHWKHULQWKH
³KHDOWKFDUHSUDFWLWLRQHUV´FDWHJRU\7KHFRPSOHWHPDSSLQJLVVKRZQDWWKHHQGRIWKLVVHFWLRQLQ
([KLELW

       3URI$UFLGLDFRQRFULWLTXHVP\PDSSLQJE\SRLQWLQJWRRQHH[DPSOHRIDQDSSOLFDQW
ZKRPKHEHOLHYHVZDVPLVFRGHG+HZULWHVWKDWIRUWKLVDSSOLFDQW³+DQGZULWWHQQRWHV>RQWKH
DSSOLFDQW¶VVXPPDU\VKHHW@VKRZWKHRFFXSDWLRQVDVµFDUHJLYHU¶DQGµQHZVSDSHUGHOLYHU\PDQ¶<HW
3URIHVVRU&DUG¶VFODVVLILFDWLRQVFKHPHUHVXOWVLQWKLVDSSOLFDQWEHLQJFRGHGDVµ6NLOOHG7UDGHV,QFO
&RQVWUXFWLRQ¶´

            )LUVWLWLVLPSRUWDQWWRQRWHWKDWKDQGZULWWHQQRWHVRQVXPPDU\VKHHWVDUHQRWDYDLODEOH
LQ+DUYDUG¶VGDWDDQGWKDW+DUYDUGRQO\SURGXFHGVXPPDU\VKHHWVIRUVHYHUDOKXQGUHGRXWRIPRUH
WKDQDKXQGUHGWKRXVDQGDSSOLFDQWV0\DQDO\VLVRIRFFXSDWLRQVLVEDVHGRQWKHPRVWFRPSUHKHQVLYH
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    'DURQ$FHPRJOXDQG'DYLG$XWRU³6NLOOV7DVNVDQG7HFKQRORJLHV,PSOLFDWLRQVIRU(PSOR\PHQWDQG(DUQLQJV´LQ
Handbook of Labor Economics, Volume 4AHG2UOH\$VKHQIHOWHUDQG'DYLG&DUG 6DQ'LHJR&$1RUWK+ROODQG
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KWWSVXVDLSXPVRUJXVDYROLLFVVRFFXSVKWPODFFHVVHG)HEUXDU\$ODQ6%OLQGHUDQG$ODQ%.UXHJHU
³$OWHUQDWLYH0HDVXUHVRI2IIVKRUDELOLW\$6XUYH\$SSURDFK´Journal of Labor Economics  SS6±6
DWSS6±6'DYLG+$XWRUDQG0LFKDHO-+DQGHO³3XWWLQJ7DVNVWRWKH7HVW+XPDQ&DSLWDO-RE7DVNVDQG
:DJHV´Journal of Labor Economics  SS6±6DWS6
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    $UFLGLDFRQR5HEXWWDOSIRRWQRWH

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GDWDDWKDQG²WKHYDULDEOHVFRGHGLQ+DUYDUG¶VGDWDEDVH

        ,QWKHH[DPSOHDWKDQG+DUYDUG¶VGDWDOLVWVWKHDSSOLFDQW¶VSDUHQWVDV³ODERUHUV
XQVNLOOHG´,PDSSHG³ODERUHUVXQVNLOOHG´LQWRWKH%/6FDWHJRU\WKDWFRYHUVFRQVWUXFWLRQZRUNHUVDV
ODERUHUVWUDGLWLRQDOO\ZRUNHGLQWKLVILHOG%HFDXVHFRQVWUXFWLRQLVDPL[RIXQVNLOOHGODERUHUVDQG
PRUHVNLOOHGWUDGHVSHRSOH,DOVRFRPELQHGFRQVWUXFWLRQZLWKWKH%/6JURXSIRUVNLOOHGWUDGHV7KLV
\LHOGVDQRFFXSDWLRQDOFDWHJRU\WKDWFRQVLVWVRIXQVNLOOHGODERUHUVFRQVWUXFWLRQZRUNHUVDQG
WUDGHVSHRSOH:KLOHWKLVVFKHPHPD\QRWFDSWXUHWKHJUDQXODULW\RI³QHZVSDSHUGHOLYHU\PDQ´LWGRHV
FDSWXUHVRPHWKLQJVHQVLEOHDQGSHUWLQHQWDERXWVWDWXVDQGFODVV

       %HFDXVHWKHGDWDDUHVRPHZKDWFRPSOH[DQGUHTXLUHKDUPRQL]DWLRQ3URI$UFLGLDFRQR
ZRXOGKDYHXVWRVVWKLVLQIRUPDWLRQRXWHQWLUHO\,GLVDJUHH,XVHWKHVHQVLEOHPDSSLQJUHSRUWHG
EHORZWRFUHDWHSDUVLPRQLRXVEXWPHDQLQJIXORFFXSDWLRQDOFDWHJRULHVWKDWUHIOHFWLQIRUPDWLRQVDOLHQW
WRDGPLVVLRQVRIILFHUV,WKHQLQFOXGHWKHVHLQP\\HDUE\\HDUPRGHO

        :KLOHP\SUHIHUUHGFDWHJRUL]DWLRQLVUHOLDEOHP\UHVXOWVDUHUREXVWWRDOWHUQDWLYH
RFFXSDWLRQDOFDWHJRUL]DWLRQVWKDWDUHUHDVRQDEOHDQGWKDWIXOO\DGGUHVV3URI$UFLGLDFRQR¶VFULWLTXHV,
UHHVWLPDWHP\PRGHOXVLQJWKHIROORZLQJFKDQJHVWRRFFXSDWLRQDOFDWHJRULHVVHSDUDWHO\DQGDWWKH
VDPHWLPH

             &UHDWLQJD³ORZVNLOO´JURXSWKDWFRQVLVWVRISDUHQWVFRGHGDV³ODERUHU
               XQVNLOOHG´DQG³ORZVNLOO´,QP\SUHIHUUHGFODVVLILFDWLRQSDUHQWVFRGHG
               DV³ODERUHUXQVNLOOHG´ZHUHJURXSHGZLWKFRQVWUXFWLRQZRUNHUVDQG
               VNLOOHGWUDGHVPHQ
             &RPELQLQJSDUHQWVFRGHGDVKRPHPDNHUVVHOIHPSOR\HGRWKHUDQG
               XQHPSOR\HGLQWRRQHFDWHJRU\

       0\UHVXOWVDUHUREXVWWRWKLVFKDQJH([KLELWUHSRUWVWKHPDUJLQDOHIIHFWRIEHLQJ
$VLDQ$PHULFDQIRUWKHVHPRGHOV7KHHIIHFWRIEHLQJ$VLDQ$PHULFDQUHPDLQVLQVLJQLILFDQW RQ
DYHUDJHDQGLQHDFKRIWKHVL[\HDUV 




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My results are robust to changes in occupational classifications




Source: Augmented Arcidiacono Data; College Board Cluster Data; U.S. Census Data

Note: Table shows the average marginal effect of race on admission for Asian-American applicants relative to White applicants using Prof.
Arcidiacono’s previously defined expanded sample. * indicates significance at the 5% level. Marginal effects are reporteed as percentage
point values.



       
Construction of occupational categories


                                  BLS Major
                                   or Minor         BLS, "99-XXXX", and "00-XXXX"
    Card Category                   Group                       Codes                                      “2010-XX” Codes
                                                Includes 99-0004, Undecided; 99-0002
    0   Other                    -              and 00-0003, Retired; 99-0003 and 00-              -
                                                0004, Other; or missing
                                                                                                   Includes 2010-21, Homemaker
    1   Homemaker                -              Includes 00-0001, Homemaker
                                                                                                   (full-time)
                                                Includes 99-0001 and 00-0002,
    2   Unemployed               -                                                                 -
                                                Unemployed; 99-0005, Disabled
        Skilled Trades                                                                             Includes 2010-42, Skilled
                                                Includes 47, Construction and Extraction;
        Incl.                                                                                      Trades; 2010-44, Semi-Skilled
    3                            47, 49, 51     49, Installation, Maintenance and Repair;
        Construction and                                                                           Worker; 2010-43, Laborer
                                                51, Production
        Extraction                                                                                 (unskilled)
                                                Includes 35, Food Preparation and
                                                Serving; 53, Transportation and Material
                                 35, 53,
        Low Skill                               Moving; 37, Building and Grounds                   Includes 2010-15,
    4                            37, 45, 31,
        Occupations                             Cleaning and Maintenance; 45, Farming,             Conservationist or Forester
                                 39
                                                Fishing and Forestry; 31, Healthcare
                                                Support; 39, Personal Care and Service
                                                                                                   Includes 2010-07, Business
    5   Self-Employed            -
                                                                                                   Owner or Proprietor




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                               BLS
                              Major
                                or
                              Minor        BLS, "99-XXXX", and "00-XXXX"
    Card Category             Group        Codes                                         “2010-XX” Codes
                                                                                         Includes 2010-06, Business
         Business                          Includes 11-1, Top Executives; 11-2           Executive (management,
         Executive           11-1, 11-2,   Advertising, Marketing, Promotions,           administrator); 2010-20, Foreign
    6
         (management,        11-3          Public Relations, and Sales Managers; 11-3,   Service Worker (including
         administrator)                    Operations Specialties Managers               diplomat); 2010-32,
                                                                                         Policymaker/Government
         Other
                                                                                         Includes 2010-34, School
         Management
                                           Includes 11-9, Other Management               Principal or Superintendent;
    7    Occupations         11-9
                                           Occupations                                   2010-12, College Administrator
         (Excl. Business
                                                                                         or Staff
         Execs)
         Business and
         Financial                         Includes 13, Business and Financial           Includes 2010-01, Accountant or
    8                        13
         Operations                        Operations                                    Actuary
         Occupations
         Computer and
                                                                                         Includes 2010-14, Computer
    9    Mathematical        15            Includes 15, Computer and Mathematical
                                                                                         Programmer or Analyst
         Occupations

         Architecture and                                                                Includes 2010-18, Engineer;
    10   Engineering         17            Includes 17, Architecture and Engineering     2010-03, Architect or Urban
         Occupations                                                                     Planner
         Life, Physical,
                                                                                         Includes 2010-35, Scientific
         and Social                        Includes 19, Life, Physical, and Social
    11                       19                                                          Researcher; 2010-11, Clinical
         Science                           Science
                                                                                         Psychologist
         Occupations
         Counselors,                                                                     Includes 2010-09, Clergy
         Social Workers,                                                                 (minister, priest); 2010-10,
         and Other                         Includes 21, Community and Social             Clergy (other religious); 2010-33,
    12                       21
         Community and                     Services Occupations                          School Counselor; 2010-36,
         Social Service                                                                  Social, Welfare, or Recreation
         Specialists                                                                     Worker
         Lawyers, Judges,
                                           Includes 23-1, Lawyers, Judges, and           Includes 2010-25, Lawyer
    13   and Related         23-1
                                           Related Workers                               (attorney) or Judge
         Workers
         Postsecondary                                                                   Includes 2010-13, College
    14                       25-1          Includes 25-1, Postsecondary Teachers
         Teachers                                                                        Teacher

         Pre-K through                     Includes 25-2, Preschool, Primary,
         Grade 12                          Secondary, and Special Education School       Includes 2010-38, Teacher or
                             25-2, 25-
         Educational                       Teachers; 25-3, Other Teachers and            Administrator (elementary);
    15                       3, 25-4,
         Instruction and                   Instructors; 25-4, Librarians, Curators,      2010-39, Teacher or
                             25-9
         Library                           and Archivists; 25-9, Other Education,        Administrator (secondary)
         Occupations                       Training, and Library Occupations
         Entertainers and
                                                                                         Includes 2010-02, Actor or
         Performers,                       Includes 27-2, Entertainers and
    16                       27-2                                                        Entertainer; 2010-27, Musician
         Sports and                        Performers, Sports and Related Workers
                                                                                         (performer, composer)
         Related Workers
                                           Includes 27-1, Art and Design Workers; 27-    Includes 2010-04, Artist; 2010-
         Arts, Design, and   27-1, 27-     3, Media and Communication Workers;           22, Interior Decorator (including
    17
         Media Workers       3, 27-4       27-4, Media and Communication                 designer); 2010-41, Writer or
                                           Equipment Workers                             Journalist



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                                     BLS
                                    Major
                                      or
                                    Minor       BLS, "99-XXXX", and "00-XXXX"
    Card Category                  Group        Codes                                               “2010-XX” Codes
                                  29-1
                                  (excludin     Includes 29-1, Health Diagnosing and
          Health                  g 29-         Treating Practitioners, except for 29-1070,         Includes 2010-16, Dentist
          Diagnosing and          1070, 29-     Physician Assistants; 29-1140, Registered           (including orthodontist); 2010-
    18
          Treating                1140, 29-     Nurses; 29-1150, Nurse Anesthetists; 29-            31, Physician; 2010-37, Therapist
          Practitioners           1150, 29-     1160, Nurse Midwives; and 29-1170, Nurse            (physical, occupational, speech)
                                  1160, 29-     Practitioners
                                  1170)
                                  29-2, 29-     Includes 29-2, Health Technologists and
                                  9, 29-        Technicians; 29-9, Other Healthcare
          Other Healthcare        1070, 29-     Practitioners and Technical Occupations;
                                                                                                    Includes 2010-28, Nurse; 2010-
    19    Occupations Incl.       1140, 29-     29-1070, Physician Assistants; 29-1140,
                                                                                                    23, Lab Technician or Hygienist
          Nurses                  1150, 29-     Registered Nurses; 29-1150, Nurse
                                  1160, 29-     Anesthetists; 29-1160, Nurse Midwives;
                                  1170          and 29-1170, Nurse Practitioners

          Protective Service                    Includes 33, Protective Service                     Includes 2010-24, Law
    20                            33
          Occupations                           Occupations                                         Enforcement Officer

          Sales and Related                                                                         Includes 2010-08, Business
    21                            41            Includes 41, Sales and Related Occupations
          Occupations                                                                               Salesperson or Buyer
          Office and
                                                Includes 43, Office and Administrative
          Administrative                                                                            Includes 2010-05, Business
    22                            43, 23-2      Support Occupations; and 23-2, Legal
          Support                                                                                   (clerical)
                                                Support Workers
          Occupations
          Military Specific                                                                         Includes 2010-26, Military
    23                            55            Includes 55, Military Specific Occupations
          Occupations                                                                               service (career)


Source: Augmented Arcidiacono Data

Note: BLS, “99-XXXX”, and “00-XXXX” codes are used by applicants to the classes of 2014 – 2019, and is the only code used by applicants
to the class of 2014. "2010-XXXX” codes are used by applicants to the classes of 2015 – 2019, and are used by the majority of applicants to
the classes of 2015 – 2019.



         9.2. Appendix B.2: Error in Prof. Arcidiacono’s difference-in-difference estimates

        ,Q7DEOH1RIKLVUHEXWWDO3URI$UFLGLDFRQRPDNHVDFULWLFDOHUURULQFDOFXODWLQJWKH
VWDQGDUGHUURURID³GRXEOHGLIIHUHQFH´5HFDOOWKDWWKHVWDQGDUGHUURULVDPHDVXUHRIWKHSUHFLVLRQRI
DQHVWLPDWH²DVPDOOHUVWDQGDUGHUURUPHDQVWKHHVWLPDWHLVPRUHSUHFLVH LHPRUHFHUWDLQ DQGD
ODUJHUVWDQGDUGHUURUPHDQVWKHHVWLPDWHLVOHVVSUHFLVH LHPRUHXQFHUWDLQ 7KLVPLVWDNHOHDGV3URI
$UFLGLDFRQRWRHUURQHRXVO\FRQFOXGHWKDWWKHUHZDVDFKDQJHLQWKHGLIIHUHQFHLQWKHDFDGHPLFLQGLFHV
DQGWKHDGPLVVLRQUDWHVIRUVLQJOHDQGPXOWLUDFLDO$IULFDQ$PHULFDQVWXGHQWVEHWZHHQWKHFODVVHVRI
±DQGWKHFODVVHVRI±,QWKLVVHFWLRQ,RXWOLQHWKHWHFKQLFDOQDWXUHRI3URI
$UFLGLDFRQR¶VPLVWDNHDQGGHVFULEHKRZWKLVPLVWDNHOHDGV3URI$UFLGLDFRQRWRPDNHDVVHUWLRQVWKH
GDWDGRHVQRWVXSSRUW


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       7KHNH\HUURULQWKHFDOFXODWLRQWDNHVSODFHZKHQ3URI$UFLGLDFRQRSHUIRUPVWKH
IROORZLQJVWHS

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      ‫ݏ‬Ǥ ݁Ǥ ሺ݀‫݈ܾ݁ݑ݋‬Ǥ ݂݂݀݅ா௥௥௢௥ ሻ ൌ ඨቈ                                          ቉ ൅ቈ                             ቉
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        ,QWKLVIRUPXOD‫ݏ‬Ǥ ݁Ǥ ሺܽ‫݃ݒ‬Ǥ ݂݂݀݅ଶ଴ଵସିଶ଴ଵ଺ ሻLVWKHVWDQGDUGHUURURQWKHGLIIHUHQFHLQJURXS
PHDQVIURPWR6LPLODUO\‫ݏ‬Ǥ ݁Ǥ ሺܽ‫݃ݒ‬Ǥ ݂݂݀݅ଶ଴ଵ଻ିଶ଴ଵଽ ሻLVWKHVWDQGDUGHUURURQWKHGLIIHUHQFH
LQJURXSPHDQVIURPWR%RWKRIWKHVHYDOXHVDUHFRUUHFWO\FDOFXODWHGLQ3URI
$UFLGLDFRQR¶VUHSRUW3URI$UFLGLDFRQRHUUVKRZHYHUZKHQKHGLYLGHVHDFKRIWKHVHSDUDWHVWDQGDUG
HUURUVE\WZRLQWKLVVWHS7KLVLVWKHDSSURDFKWRFDOFXODWLQJWKHVWDQGDUGHUURURIDQDYHUDJHUDWKHU
WKDQWKHVWDQGDUGHUURURIDGLIIHUHQFH

         7KHFRUUHFWDSSURDFKZRXOGKDYHEHHQWRXVHWKHIRUPXODWRFDOFXODWHWKHGLVWULEXWLRQRI
DOLQHDUFRPELQDWLRQRIQRUPDOO\GLVWULEXWLRQUDQGRPYDULDEOHV7KHSURSHUDSSOLFDWLRQRIWKHIRUPXOD
LQWKLVLQVWDQFHLV

         ‫ݏ‬Ǥ ݁Ǥ ሺ݀‫݈ܾ݁ݑ݋‬Ǥ ݂݂݀݅஼௢௥௥௘௖௧௘ௗ ሻ ൌ ඥ‫ݏ‬Ǥ ݁Ǥ ሺܽ‫݃ݒ‬Ǥ ݂݂݀݅ଶ଴ଵସିଶ଴ଵ଺ ሻଶ ൅ ‫ݏ‬Ǥ ݁Ǥ ሺܽ‫݃ݒ‬Ǥ ݂݂݀݅ଶ଴ଵ଻ିଶ଴ଵଽ ሻଶ 

       $VVKRZQ3URI$UFLGLDFRQR¶VPLVWDNHKDVWKHHIIHFWRIPDNLQJKLVHVWLPDWHVDSSHDU
WZLFHDVSUHFLVHDVWKHGDWDFDQDFWXDOO\VXSSRUW$IWHUFRUUHFWLQJWKLVHUURU3URI$UFLGLDFRQR¶V
FRQFOXVLRQVFDQQRORQJHUEHVXSSRUWHG

      9.3. Appendix B.3: Using absolute deviation to measure the importance of unobserved
      characteristics is appropriate

        ,QWKLVDSSHQGL[,GLVFXVVDWHFKQLFDOGLIIHUHQFHEHWZHHQKRZ3URI$UFLGLDFRQRDQG,
DFFRXQWIRUWKHUHODWLYHLPSRUWDQFHRI³XQREVHUYHGIDFWRUV´,QVHFWLRQRIP\RULJLQDOUHSRUWP\
DSSURDFKIRUHVWLPDWLQJWKLVZDVVWUDLJKWIRUZDUG,XVHGWKH³DEVROXWHGHYLDWLRQ´ZKLFKLVWKH
DEVROXWHYDOXHRIWKHGLIIHUHQFHEHWZHHQDQDSSOLFDQW¶VSUHGLFWHGSUREDELOLW\RIDGPLVVLRQDFFRUGLQJ
WRWKHPRGHODQGWKHDSSOLFDQW¶VDGPLVVLRQVGHFLVLRQ)RUH[DPSOHLIWKHPRGHOVDLGDJLYHQ
DSSOLFDQWKDGDFKDQFHRIDGPLVVLRQDQGWKDWDSSOLFDQWZDVDFWXDOO\DGPLWWHGXQREVHUYHG
IDFWRUVZRXOGH[SODLQRIWKHDGPLVVLRQVGHFLVLRQDQGWKXVWKHDEVROXWHGHYLDWLRQZRXOGEH
,ILQVWHDGWKDWDSSOLFDQWZHUHDFWXDOO\GHQLHGDGPLVVLRQWKHQXQREVHUYHGIDFWRUVZRXOGH[SODLQ
RIWKHGHFLVLRQDQGWKXVWKHDEVROXWHGHYLDWLRQZRXOGEH%\FRPSDULQJWKHDYHUDJHPDUJLQDO
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
  3URI$UFLGLDFRQRDOVRPDNHVDQDGGLWLRQDOVPDOOHUPLVWDNHE\IDLOLQJWRZHLJKWGLIIHUHQW\HDUVLQWKHGDWDE\WKH
FRUUHFWQXPEHURIREVHUYDWLRQVWKDW,KDYHFRUUHFWHG$VWKLVLVOHVVFRQVHTXHQWLDOWKDQWKHNH\PLVWDNHRXWOLQHGDERYH,
GRQRWGHWDLOWKHHIIHFWVRIWKDWPLVWDNHKHUH

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HIIHFWRIUDFHWRWKHDEVROXWHGHYLDWLRQZHFDQOHDUQDERXWWKHUHODWLYHLPSRUWDQFHRIUDFHDV
FRPSDUHGWRWKHLPSRUWDQFHRIXQREVHUYHGIDFWRUV

        7KLVLV,EHOLHYHWKHPRVWFOHDUDQGVWUDLJKWIRUZDUGZD\WRFRQGXFWWKLVW\SHRIDQDO\VLV
7KDWLVLQDVVHVVLQJZKHWKHUUDFHLVGHWHUPLQDWLYHUDFHVKRXOGEHFRPSDUHGWRDOORIWKHRWKHUIDFWRUV
WKDWGHWHUPLQHDGPLVVLRQERWKWKRVHREVHUYHGDQGWKRVHWKDWDUHQ¶WREVHUYHGDQGWKHVHIDFWRUV
VKRXOGEHFRQWH[WXDOL]HGLQWHUPVRIKRZPXFKRIWKHDGPLVVLRQVGHFLVLRQWKH\H[SODLQ3URIHVVRU
$UFLGLDFRQRUDLVHVDWHFKQLFDOREMHFWLRQWRP\DSSURDFK+HVWDWHVWKDWWKHUROHRIXQREVHUYHG
IDFWRUVFDQRQO\EHSURSHUO\DVVHVVHGE\ORRNLQJDWWKHEDFNJURXQGPDFKLQHU\RIWKHORJLWPRGHO
UDWKHUWKDQWKHSUREDELOLW\RIDGPLVVLRQSURGXFHGE\WKHPRGHO+LVREMHFWLRQUHOLHVRQWKHIDFWWKDW
ZHERWKXVHDORJLVWLFPRGHODQGWKLVPRGHOXWLOL]HVDQXQVHHQ³ODWHQW´YDULDEOHZKLFKDOORZVXVWR
HVWLPDWHWKHSUREDELOLWLHVDQGPDUJLQDOHIIHFWVZHXVHLQRXUUHSRUWV6SHFLILFDOO\WKHODWHQWYDULDEOH
HVWLPDWHVDQLQGH[RI³DGPLVVLRQVWUHQJWK´IRUHDFKDSSOLFDQWWKDWYDULHVIURPQHJDWLYHLQILQLW\WR
SRVLWLYHLQILQLW\7KLVODWHQWYDULDEOHLVWKHQPDSSHGLQWRSUREDELOLWLHVZKLFKQHFHVVDULO\PXVWEH
EHWZHHQDQGWKURXJKWKHORJLVWLFIXQFWLRQ+LJKHUDGPLVVLRQVWUHQJWKWUDQVODWHVWRDKLJKHU
SUREDELOLW\RIDGPLVVLRQEXWWKHSUREDELOLW\RIDGPLVVLRQFDQQHYHUJREHORZRUDERYH

        ,GLVDJUHHZLWK3URI$UFLGLDFRQR¶VFKDUDFWHUL]DWLRQRIP\DSSURDFK0\DSSURDFKLV
EDVHGRQFRPPRQO\DFFHSWHGPHWKRGVLVPRUHWUDQVSDUHQWDQGZRUNVGLUHFWO\ZLWKWKHREMHFWRI
LQWHUHVWLQWKLVVHWWLQJ WKDWLVWKHSUREDELOLW\RIDGPLVVLRQ :KLOHWKHUHDUHPDQ\ZD\VLQZKLFKLWLV
KHOSIXOWRKDYHDQXQGHUVWDQGLQJRIWKHLQQHUZRUNLQJVRIWKHORJLWPRGHOWKHODWHQWYDULDEOHWKDW
XQGHUOLHVWKHORJLWPRGHOLVDWRROZKLFKLVPHDQWWRLQIRUPXVRIWKHUHDOZRUOGUDWKHUWKDQDQREMHFW
RILQWHUHVWLQDQGRILWVHOI3URI$UFLGLDFRQRHUUVLQIDLOLQJWRFRQVLGHUWKHSUDFWLFDODVSHFWVRIWKH
SUREOHPDQGLQVWHDGWDNHVWKHPDFKLQHU\RIWKHPRGHOWRROLWHUDOO\

        7KHDEVROXWHGHYLDWLRQ,FDOFXODWHLQP\UHSRUWLVUHIHUUHGWRLQWKHHFRQRPLFVOLWHUDWXUH
DVD³JHQHUDOL]HGUHVLGXDO´7KHVHUHVLGXDOVDUHZLGHO\XVHGLQHFRQRPHWULFVDQGLQIDFWRQH
SRSXODUDSSURDFKLVEDVHGRQWKLVPHDVXUH3URIHVVRU$UFLGLDFRQRKLPVHOIKDVUHOLHGXSRQWKLV
DSSURDFKLQKLVRZQDFDGHPLFZRUN7KHOLWHUDWXUHGHVFULEHVWKHVHYDOXHVDVKDYLQJDQXPEHURI
XVHIXOSURSHUWLHVHYHQEH\RQGWKRVH,GHVFULEHDERYH7KH\DUH³JHQHUDOL]HG´LQWKHVHQVHWKDWWKH
LQIRUPDWLRQWKH\FRQYH\GRHVQRWGHSHQGRQWKHUHVHDUFKHU¶VPRGHOLQJDVVXPSWLRQ)RUH[DPSOH
ZHUH3URI$UFLGLDFRQRWRKDYHFKRVHQDVOLJKWO\GLIIHUHQWPRGHO IRUH[DPSOHWKHOLQHDUSUREDELOLW\
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    -DPHV-+HFNPDQ³6DPSOH6HOHFWLRQ%LDVDVD6SHFLILFDWLRQ(UURU´Econometrica  SS±
7HFKQLFDOO\WKLVSDSHUXVHVDSURELWPRGHOZKLFKLVVOLJKWO\GLIIHUHQWWKDQWKHORJLWPRGHOV3URI$UFLGLDFRQRDQG,XVH
LQRXUUHSRUWV7KHSULQFLSOHLVWKHVDPHKRZHYHU
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    3HWHU$UFLGLDFRQR-DQH&RROH\DQG$QGUHZ+XVVH\³7KH(FRQRPLF5HWXUQVWRDQ0%$´International Economic
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PHDVXUHWKHLPSRUWDQFHRIXQREVHUYHGIDFWRUV




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      10.1. List of variables included in model of admission

                                                                                   Constructed         Card      Card
                                                                                         by           Initial   Updated
    Variable Name          Variable Description                                     Arcidiacono       Model      Model
                                                                                                                
    Race Variables                                                                                               

                           Mutually exclusive race categories, based on
                           ethnic_group_cde field with categories: “White,”
    race                   “Black,” “Hispanic, Mexican, or Puerto Rican,”              3                          
                           “Asian,” “Native American,” “Hawaiian or Pacific
                           Islander,” “Race Missing.”
                           Mutually exclusive race categories, based on
                           ethnic_group_cde field with categories: “White,”
    racecoll               “Black,” “Hispanic and Other,” “Asian,” “Race                                3         3
                           Missing.” “Other” includes Mexican, Puerto Rican,
                           Native American, Hawaiian, and Pacific Islander.
                                                                                                                




    Base Controls                                                                                                 
                           Harvard class to which applicant applies: 2014 to
    year                                                                               3               3         3
                           2019.
                           Indicator for whether applicant indicated “Female”
    female                                                                             3               3         3
                           in a sex code entry field.
                           Indicator for whether applicant was flagged by
    disadvantaged          admissions staff, based on application, as likely           3               3         3
                           socioeconomically disadvantaged or HFAI eligible.
    fgcl                   Indicator for first generation college applicant.           3               3         3
    earlyDecision          Indicator for Early Action applicant.                       3               3         3
    athlete                Indicator for athletic profile rating of 1.                 3               3         3
                           Indicator for whether at least one of applicant’s
    legacy                                                                             3               3         3
                           parents attended Harvard.
                           Indicator for whether both of applicant’s parents
    double_legacy                                                                      3               3         3
                           attended Harvard.
                           Indicator for whether applicant is child of Harvard
    faculty_or_staff_kid                                                               3               3         3
                           faculty and staff.
                           Indicator for whether applicant is on Dean’s or
    deanDirectorPref                                                                   3               3         3
                           Director’s interest lists.
                           Indicator for whether applicant requested a fee
    waiver_tot                                                                         3               3         3
                           waiver.
                           Indicator for whether applicant applied for
    finaid                                                                             3               3         3
                           financial aid
                           Categories for mother’s level of education: “Less
    meduc                  than college,” “College graduate,” “Master’s,”              3               3         3
                           “MD/JD/PhD,” “Missing.”
                           Categories for father’s level of education: “Less
    feduc                  than college,” “College graduate,” “Master’s,”              3               3         3
                           “MD/JD/PhD,” “Missing.”
                           Categories for applicant’s intended major: “Social
                           sciences,” “Humanities,” “Biological sciences,”
    intendedMajor                                                                      3               3         3
                           “Physical sciences,” “Engineering,” “Mathematics,”
                           “Computer Sciences,” “Unspecified.”
    docketFE               Docket to which applicant’s high school is assigned.        3               3         3


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    Variable Name        Variable Description                                    Arcidiacono       model      model
                                                                                                               
    Academic Variables
    SACTmath_std       Normalized ACT/SAT math score.                                3              3         3
    SACTverb_std         Normalized ACT/SAT verbal score.                            3              3         3
    SAT2avg_std          Normalized average SAT II subject test score.               3              3         3
    gpa_converted_std    Normalized converted GPA.                                   3              3         3
    academic_index_std   Normalized Academic Index.                                  3              3         3
                         Normalized Academic Index quadratic multiplied
    academic_index2p     by indicator for positive normalized academic               3              3         3
                         index.
                         Normalized Academic Index quadratic multiplied
    academic_index2m     by indicator for negative normalized Academic               3              3         3
                         Index.
    flaggpa              Indicator for converted GPA equal to 35.                    3              3         3
    m_SAT2avg            Indicator for missing average SAT II score.                 3              3         3
                                                                                                            
                                                                                                               
    Ratings Variables
                         Combinations of athletic, personal, extracurricular,
                         and academic ratings. Each profile rating has
                         categories: 1, 2, 3, 4, 5, or 6. Exact combinations
                         are determined at the applicant level (e.g. any
                         applicant who received four ratings of 3 would have                                     
    APEA_combos                                                                                      3
                         the exact combination 3333). Combinations that
                         appear in the sample at least 100 times have their
                         own control group. The remainder of combinations
                         are combined with the control group with the
                         closest admission rate.
                         Combinations of school support ratings, assigned
                         by Admissions Committee, based on two teacher
                         recommendations. Each teacher rating has
                         categories: 1, 2, 3, 4, 5, and Missing. Combinations
                         are determined at the applicant level (e.g. any
    teach_combos         applicant who received ratings of 1 and 2 would                             3          
                         have the combination 12). Combinations that
                         appear in the sample at least 100 times have their
                         own control group. The remainder of combinations
                         are combined with the control group with the
                         closest admission rate.
                         School support rating, assigned by Admissions
                         Committee, based on applicant’s recommendation
    counslor_rat_abbr                                                                3              3         3
                         from guidance counselor. Categories: 1, 2, 3, 4, 5,
                         and Missing.
                         Combinations of alumni interview overall and
                         personal ratings. Each alumni interview rating has
                         categories: 1, 2, 3, 4, 5 or 6, and Missing.
                         Combinations are determined at the applicant level
                         (e.g. any applicant who received an overall rating of
    alum_combos          1 and a personal rating of 2 would have the                                 3          
                         combination 12). Combinations that appear in the
                         sample at least 100 times have their own control
                         group. The remainder of combinations are
                         combined with the control group with the closest
                         admission rate.



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                           Variable Description
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                                                                                                       model      model
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                                                                                                                  
    Ratings Variables (Continued)
                         Academic profile rating with categories:
    academic_rat_abbr                                                                   3                         3
                         1, 2, 3, 4, 5 and 6.
                         Personal profile rating with categories:
    personal_rat_abbr                                                                   3                         3
                         1, 2, 3, 4, 5 and 6.
                           Extracurricular profile rating with categories:
    xtracurr_rat_abbr                                                                   3                         3
                           1, 2, 3, 4, 5 and 6.
                           Athletic profile rating with categories:
    athletic_rat_abbr                                                                   3                         3
                           1, 2, 3, 4, 5 and 6.
                           Alumni interview personal rating with categories: 1,
    alum1_rat_abbr                                                                      3                         3
                           2, 3, 4, 5 or 6, and Missing.
                           Alumni interview overall rating with categories:
    alum2_rat_abbr                                                                      3                         3
                           1, 2, 3, 4, 5 or 6, and Missing.
    m_alum_rat             Indicator for missing alumni interviewer ratings.            3                         3
                           Indicators for having ratings of 2 or better for each
    rat2_*                 pair of profile ratings (e.g. academic and personal,         3                         3
                           athletic and extracurricular, etc.).
                           School support rating, assigned by Admissions
                           Committee, based on applicant’s recommendation
    teacher1_rat_abbr                                                                   3                         3
                           from Teacher 1. Categories: 1, 2, 3, 4, 5, and
                           Missing.
                           School support rating, assigned by Admissions
                           Committee, based on applicant’s recommendation
    teacher2_rat_abbr                                                                   3                         3
                           from Teacher 2. Categories: 1, 2, 3, 4, 5, and
                           Missing.
                           Count of alumni interview ratings (personal and
    alum_twos                                                                           3                         3
                           overall) of 2 or better.
                           Count of school support ratings (teacher 1, teacher
    school_twos                                                                         3                         3
                           2, and guidance counselor) of 2 or better.
                                                                                                                   

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    Variable Name        Variable Description                                         Arcidiacono       model      model
    Contextual Factors                                                                                             

    father_occ_cat       Mother’s occupation category                                                     3         3
    mother_occ_cat       Father’s occupation category                                                     3         3
                         Indicator for whether father is marked as deceased;
    father_deceased_yn                                                                                    3         3
                         defaulted to false for missing entries.
                         Indicator for whether mother is marked as
    mother_deceased_yn                                                                                    3         3
                         deceased; defaulted to false for missing entries.
                         Indicator for whether at least one parent attended
    parent_ivy           an Ivy League school (not counting Ivy sister                                    3         3
                         schools); defaulted to false for missing entries
                         Indicator for whether applicant’s high school
                         county is not in a Metropolitan or Micropolitan
    rural                                                                                                 3         3
                         Statistical Area; for applicants missing high school
                         city field, permanent address city is used.
                         Intended career indicated by applicant, from a
    intendedCareer       choice of 15 career categories, "Other,"                                         3         3
                         "Undecided," or "Unknown."
    school_type          School type (public, private, Catholic, or missing)                              3         3
                         Indicator for whether at least one of applicant’s
    legacy_grad                                                                                           3         3
                         parents went to Harvard Graduate School.
                         Indicator for whether applicant is a United States
    perm_res                                                                                              3         3
                         permanent resident.
                         Total hours of work reported in activity
    total_work                                                                                            3         3
                         description.
                         Indicators for applicant’s primary extracurricular
                         activities (collapsed into the following groups: (1)
                         Varsity, JV, or Club athletics; (2) Computer,
                         Speech and Debate, Journalism, Science, Math,
                         Robotics, or Academic; (3) Volunteer or Religious;
                         (4) Environmental, Family, LGBT, School spirit, or
    primcoll_*           Other; (5) Dance, Drama, or Vocal music; (6)                                     3         3
                         Instrumental music; (7) Politics; (8) Work; (9)
                         Career; (10) Cultural, Foreign exchange, or Foreign
                         language; (11) Missing; and (12) Junior ROTC). A
                         primary activity is defined as an activity the
                         applicant lists in the first or second activity field of
                         her application.
                         Indicator for whether applicant received a staff
    r_staff_yn                                                                                            3         3
                         interview rating.
                         Indicator for whether applicant was born outside of
    born_USA                                                                                              3         3
                         United States.
                         Indicator for whether applicant lived outside of
    outside_US_yn                                                                                         3         3
                         United States.


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    Variable Name            Variable Description                                 Arcidiacono       model          model
                                                                                                                       
    High School Characteristics                                                                     
                                                                                                                       
    The College Board aggregates applicant-level data to the high school level, based on student’s AICODE. All high school
    variables are interacted with the SAT state indicator unless denoted with †.
                             Indicator for whether applicant’s state has more
                             SAT takers than ACT takers that applied to
    sat_state                Harvard (a student is marked as an SAT/ACT taker                           3            3
                             if the corresponding composite score is available
                             for that student).
                             Average score on the math section of the SAT I for
    hs_sat_math                                                                                         3            3
                             all students at applicant’s high school.
                            Average score on the verbal section of the SAT for
    hs_sat_cr                                                                                         3            3
                            all students at applicant’s high school.
                            Average score on the writing section of the SAT for
    hs_sat_w                                                                                          3            3
                            all students at applicant’s high school.
                            Percent of students at applicant’s high school who
    hs_english                                                                                        3            3
                            report that they speak only English.
                            Percent of students at applicant’s high school who
    hs_app_outofstate                                                                                 3            3
                            applied to an out of state college.
                            Average # of AP tests taken by students at
    hs_avg_num_ap                                                                                     3            3
                            applicant’s high school.
                            Percent of students at applicant’s high school who
    hs_fin_aid                                                                                        3            3
                            require financial aid for college.
                            Average # of honors courses taken by students at
    hs_avg_hon                                                                                        3            3
                            applicant’s high school.
                            Percent of students at applicant’s high school who
    hs_parent_ed            reported that no parent had education beyond high                         3            3
                            school.
                            Average number of scores sends for students at
    hs_avg_sat_sends                                                                                  3            3
                            applicant’s high school.
                            Average rate of admission for colleges receiving
    hs_coll_admit_rate      score sends from students at applicant’s high                             3            3
                            school.
                            ACS-based percent of students at applicant’s high
    hs_black†                                                                                         3            3
                            school who are Black.
                            ACS-based percent of students at applicant’s high
    hs_white†                                                                                         3            3
                            school who are White.
                            ACS-based percent of students at applicant’s high
    hs_hispanic†                                                                                      3            3
                            school who are Hispanic.
                            ACS-based median family income of students at
    hs_med_income†                                                                                    3            3
                            applicant’s high school.
                            ACS-based percent of students at applicant’s high
    hs_pov_line†                                                                                      3            3
                            school who are below the poverty line.
                            ACS-based median value of home for students at
    hs_house_val†           applicant’s high school, as a percentage of average                       3            3
                            state value.

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    Variable Name                  Variable Description                           Arcidiacono     model        model
    Neighborhood Characteristics                                                                               
    The College Board aggregates applicant-level data to the educational neighborhood (one or more contiguous census
    tracts). All neighborhood variables are interacted with the SAT state indicator unless denoted with †.
                              Average score on the math section of the SAT for all
    n_sat_math                                                                                           3        3
                              students in applicant’s neighborhood.
                            Average score on the verbal section of the SAT for
    n_sat_cr                                                                                       3            3
                            all students in applicant’s neighborhood.
                            Average score on the writing section of the SAT for
    n_sat_w                                                                                        3            3
                            all students in applicant’s neighborhood.
                            Percent of students in applicant’s neighborhood
    n_english                                                                                      3            3
                            who report that they only speak English.
                            Percent of students in applicant’s neighborhood
    n_app_outofstate                                                                               3            3
                            who applied to an out of state college.
                            Average # of AP tests taken by students in
    n_avg_num_ap                                                                                   3            3
                            applicant’s neighborhood.
                            Percent of students in applicant’s neighborhood
    n_fin_aid                                                                                      3            3
                            who require financial aid for college.
                            Average # of honors courses taken by students in
    n_avg_hon                                                                                      3            3
                            applicant’s neighborhood.
                            Percent of students in applicant’s neighborhood
    n_parent_ed             who reported that no parent had education beyond                       3            3
                            high school.
                            Average number of score sends for students in
    n_avg_sat_sends                                                                                3            3
                            applicant’s neighborhood.
                            Average rate of admissions for colleges receiving
    n_coll_admit_rate       score sends from students in applicant’s                               3            3
                            neighborhood.
                            ACS-based percent of students in applicant’s
    n_black†                                                                                       3            3
                            neighborhood who are Black.
                            ACS-based percent of students in applicant’s
    n_white†                                                                                       3            3
                            neighborhood who are White.
                            ACS-based percent of students in applicant’s
    n_hispanic†                                                                                    3            3
                            neighborhood who are Hispanic.
                            ACS-based median family income of students in
    n_med_income_imp†       applicant’s neighborhood, missing values filled                        3            3
                            with mean.
                            ACS-based percent of students in applicant’s
    n_pov_line_imp†         neighborhood who are below the poverty line,                           3            3
                            missing values filled with mean.
                            ACS-based median value of home for students in
                            applicant’s neighborhood, as a percentage of
    n_house_val_imp†                                                                               3            3
                            average state value, missing values filled with
                            mean.
                                                                                                                

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    Variable Name                 Variable Description                               Arcidiacono         model         model
                                        




                              Indicator for missing neighborhood poverty line
    m_n_pov_line†                                                                                           3            3
                              variable.
                              Indicator for missing neighborhood median income
    m_n_med_income†                                                                                         3            3
                              variable.
                              Indicator for missing neighborhood house value
    m_n_house_val†                                                                                          3            3
                              variable.

    Note: I assign parents to be mothers or fathers using the father/mother_type variables for years before 2017, and the
    parent1/2_type variables from 2017 and on due to data availability. I assign parents to be “mother figures” (e.g., “mother”,
    “aunt”) or “father figures” (e.g., “father”, “grandfather”) using the variables father/mother_type for years before 2017, and
    using parent1/2_type from 2017 and on due to data availability. When the parental type variable is gender neutral (e.g.,
    “guardian”), I use gender information from the parent1/2_gender variable in my assignment.


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